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  PLAINTIFF EXHIBIT 1
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1                UNITED STATES DISTRICT COURT
2              FOR THE DISTRICT OF MASSACHUSETTS
3    Civil Action No. 4:20-cv-40060-DHH
4    - - - - - - - - - - - - - - - - - - - -x
5    DR. ASHU GARG,
6                         Plaintiff,
 7        v.
 8   VHS ACQUISITION SUBSIDIARY NO. 7
 9   d/b/a SAINT VINCENT HOSPITAL, DAVID
10   BADER, JOHN MUKAI, and DOUGLAS BURD,
11                        Defendants.
12   - - - - - - - - - - - - - - - - - - - -x
13
14               DEPOSITION OF DR. ASHU GARG
15   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
16                       One Boston Place
17                   Boston, Massachusetts
18                       February 14, 2022
19                   9:07 a.m. to 6:26 p.m.
20
21   Daria L. Romano, RPR, CRR, and Notary Public
22
23
24
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                                                                          2
1    APPEARANCES:
2
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20
21
22   ALSO PRESENT:
23   David Bader
24
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     Dr. Ashu Garg vs                                                               Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
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4      By Ms. Saunders                                  5
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     Dr. Ashu Garg vs                                                               Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
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                                                                          12
 1   a significant error when those were reviewed
 2   by other people.
 3        Q.     Okay.    And why are you suing
 4   Dr. Mukai?
 5        A.     Because he made -- he shouted at me,
6    "You're fucking 40 years old and you are
7    trying to learn radiology now?"              First he
 8   asked my age before starting -- before
 9   shouting and then he say that, "You're fucking
10   40 years old and you are trying to learn
11   radiology now?"
12        Q.     So you're suing him for that comment?
13        A.     That comment as well as I -- during
14   my first night float, I read a study.                That
15   study was hard because that was without
16   contrast, the study, and I called Dr. Milliam
17   Kataoka.     That study was -- I consulted
18   Milliam Kataoka and I -- exactly what she told
19   me, I wrote in that study, and I got
20   significant mistake by Mukai for that study.
21        Q.     And what are you hoping to gain
22   through this lawsuit?
23        A.     Justice.
24        Q.     And what would justice look like to
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 8 of 242




                                                                          30
 1   program" --
 2        A.     Correct.
 3        Q.     -- "at SVH was wrongful"?
 4        A.     Yes.
 5        Q.     Okay.    And did you review this before
 6   this was submitted on your behalf?
 7        A.     Yes.
 8        Q.     Okay.
 9        A.     I reviewed, but somehow this thing,
10   PGY4, maybe -- I don't remember how it
11   happened, this mistake.
12        Q.     Because you believed that at this
13   time, you were in the PGY5 program?
14        A.     I was in the PGY5 program.
15        Q.     I'm sorry.      You believed you were a
16   PGY5?
17        A.     Yes.
18        Q.     Okay.    And when did you start
19   becoming a PGY5?
20        A.     July 1, 2017.       It was posted by
21   hospital roster, by the program, at SVH.
22        Q.     Okay.
23                   MS. SAUNDERS:       And then -- so I
24   was going to mark the very first tab, tab 1,
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                                                                          43
 1        Q.     You can answer.
 2        A.     Retaliation is a continuation of
 3   something when -- when somebody's -- retaliate
 4   means, like, retaliate, right?
 5        Q.     You have a retaliation claim in this
 6   case.
 7        A.     Yes.
 8        Q.     What does it mean to you?
 9        A.     Because I made the complaint of age
10   discrimination in -- to Dr. Bader, so that's
11   why he -- he retaliate.
12        Q.     Okay.    So that's one.
13        A.     Mm-hmm.     Yes.
14        Q.     So how do you explain the -- how does
15   the University of Oklahoma breaching the
16   confidentiality clause in the settlement
17   agreement -- how did that play any part in
18   Saint Vincent Hospital's decision to terminate
19   you from the radiology residency program?
20                   MS. GOYAL:      Objection.       Asked and
21   answered.
22               You can answer.
23                   THE WITNESS:       I can --
24                   MS. GOYAL:      You can answer again.
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 10 of 242




                                                                           49
 1   mean Dr. Bader?
 2         A.    Yes.
3          Q.    So do you think Dr. Bader --
4          A.    You have to ask this question to
5    Bader, not me, which carries most -- why you
6    terminated him wrongfully.
7          Q.    Do you believe that Dr. Bader is the
8    only person that was involved in the decision
9    to terminate you from the Saint Vincent
10   radiology residency program?
11         A.    Only person?        Yeah.    Based on
12   document, yes.
13         Q.    So it was his decision alone?
14         A.    Yes.
15         Q.    So what about the review process that
16   you went through at the hospital?               You had it
17   reviewed by Yuka Marie Vinagre, by Jeff Welch,
18   and also by a faculty review committee.
19               Do you remember that?
20         A.    That was all influenced by Bader.
21         Q.    So he controlled all of them?
22         A.    Yes.
23         Q.    Okay.
24         A.    Because he -- initially he said that,
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                                                                           55
 1   settlement agreement.           Why I'm going to reveal
 2   that thing?        I'm still bound to that
 3   confidentiality.         I'm not going to tell you
 4   anything about that --
 5         Q.    Okay.     So you also --
 6         A.    -- from my end.
 7         Q.    You also didn't reveal that you had
 8   complained to Dr. Bader about discrimination.
 9   The only thing you talked about was the fact
10   that Dr. Mukai had made a comment to you on
11   one occasion about your age.
12         A.    Yes.     So the reason for that is, I
13   want to prove it objectively.             So when Burd
14   gave me the R4 rating for a study where he
15   was -- himself was not sure whether there will
16   be a true finding that -- that should be
17   attended.
18               And on -- at number 7, in terms of
19   the priority when you are to inform a
20   physician on floor or hospitalist on floor
21   that something is critical, then it should be
22   your number one finding, then comes less
23   important thing, less critical thing.
24               And he put everything on number 7.
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                                                                           65
 1   them, why didn't you sue them?
 2                     MS. GOYAL:     Objection.
 3         A.    Because they were influenced by
 4   Dr. Bader.
 5         Q.    Each and every one of them?
 6         A.    Correct, because they -- they are
 7   subordinates to Dr. Bader.            They were under
 8   him.
 9         Q.    And is that your belief with regard
10   to Mr. Welch?        You think he was subordinate to
11   Dr. Bader?
12         A.    No.
13         Q.    Well, how did Dr. Bader influence
14   Mr. Welch?
15         A.    Ask Bader.
16         Q.    You have no information?
17         A.    I -- I saw him staying after that
18   meeting with him.         I saw him staying after
19   meeting with Vinagre, him.            So I don't know.
20   You have to ask Bader.
21         Q.    So you have no -- you don't know what
22   was discussed at either one of those meetings
23   that you just testified about?
24                    MS. GOYAL:      I'm a little confused
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 13 of 242




                                                                           66
 1   in terms of which meetings with whom.                So if
 2   we could try and use the proper names, I think
 3   it would be helpful for the record.
 4                    MS. SAUNDERS:       Okay.
 5   BY MS. SAUNDERS:
 6         Q.    So your testimony is that -- that the
 7   reason that you believe that Dr. Bader
 8   influenced Dr. Vinagre and Jeff Welch was
 9   because you saw Dr. Bader having private
10   meetings with each one of those individuals
11   after the appeal meetings that you had with
12   them; is that right?
13         A.    Correct.
14         Q.    Okay.     So you're talking about two
15   separate meetings.         So it's starting first
16   with Dr. Vinagre.
17               You had a meeting with Dr. Vinagre
18   about your appeal, correct?
19         A.    Yes.
20         Q.    And then after that meeting, you saw
21   Dr. Bader talking to Dr. Vinagre, correct?
22         A.    Yes.
23         Q.    And what did they discuss?
24         A.    I don't know.
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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                     67
 1            Q.       And --
 2            A.       They were not discussing it in front
 3     of me but far, a little bit far from me.
 4            Q.       Okay.       And then you had a meeting
 5     with Mr. Welch, correct?
 6            A.       Correct.
7             Q.       And then after that meeting, you saw
8      Mr. Welch talking to Dr. Bader, correct?
9             A.       Yes.
10            Q.       And what did they discuss?
11            A.       I don't know.
12            Q.       Besides the fact that you saw
13     Dr. Bader speaking privately with each one of
14     those individuals, Dr. Vinagre and Mr. Welch,
15     do you have any other reason to believe that
16     Dr. Bader improperly influenced either one of
17     them?
18            A.       Yes.
19            Q.       And what is it --
20            A.       I met Dr. Vinagre earlier, before the
21     Stage Three appeal meeting, and she told me
22     that once the decision by the program director
23     is made, then usually the program has to
24     decide whatever the end result will be,

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                     68
 1     whether it's going to be terminated or whether
 2     it will be.           So she said that.            And I think
 3     this is documented as well.
 4            Q.       So she said that -- so what did you
 5     interpret that to mean in terms of her
 6     authority with regard to the --
 7            A.       So she --
 8            Q.       -- Step Three appeal?
 9            A.       Say it again?
10                          MS. SAUNDERS:         Can you repeat it.
11                          (Record read)
12            A.       She was relying on Bader for making
13     the decision.
14            Q.       So you understood her to be saying to
15     you that she was relying on Dr. Bader to make
16     her decision?
17            A.       Correct.
18            Q.       And how about with -- anything else
19     with regard to why you think that Dr. Vinagre
20     was improperly influenced by Dr. Bader?
21            A.       Improperly influenced?               You use the
22     word improperly influenced?
23            Q.       I did use the word improperly
24     influenced.           Can you answer the question with

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                     69
 1     that word in it?
 2            A.       Can you repeat the whole question
3      again?
4             Q.       Oh, sure, yes.            I can keep asking
5      questions all day.                So --
 6                          MS. GOYAL:          Excuse me, Diane.
7      He's answering the questions to the best of
8      his ability.            Let the record reflect that I
 9     sense a little bit of hostility based on
10     nothing.         He's answering every single question
11     you're asking, even when you're asking repeat
12     questions.           So I would ask you to be more
13     professional about your approach to the
14     witness.
15     BY MS. SAUNDERS:
16            Q.       Dr. Garg, do you believe that
17     Dr. Bader influenced Dr. Vinagre?
18            A.       Yes.
19            Q.       And you testified that the basis for
20     that belief is, number one, you saw him having
21     a private meeting with Dr. Vinagre and, number
22     two, Dr. Vinagre made a comment to you about
23     Dr. Bader being -- that she needs to rely on
24     his decision; is that right?

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                     70
 1            A.       Yes.
 2            Q.       Besides those two things, is there
 3     any other reason why you believe Dr. Bader
 4     influenced Dr. Vinagre's decision?
 5            A.       You have to ask that question to
 6     Bader.
 7            Q.       I'm asking the question to you, your
 8     belief.
 9                     Is there anything besides those two
10     things that form the basis for your belief
11     that Dr. Bader influenced Dr. Vinagre?
12            A.       She -- I had that small meeting with
13     Vinagre and in front of Dr. Bader.                       She didn't
14     know the full details what exactly -- what is
15     going on, like all the details, so she was,
16     like, on Bader, because she -- she was not my
17     attending.           She was, I think, intensivist or
18     critical care doctor there.                   So I was not
19     working with her.                She has no idea about my
20     performance or what is going -- what is
21     happening with me.
22                     So that -- that meeting was for -- a
23     very brief meeting, that Stage Three appeal
24     meeting.         She didn't have full idea about what

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                     71
 1     exactly, so she was relying upon Bader.                          And
 2     before that meeting, I met Vinagre in person.
 3     She said that once the program decide the
 4     resident's termination, then the hospital will
 5     go with it.
 6            Q.       And besides what you've already
 7     testified to, are there any other reasons why
 8     you believe that Dr. Bader influenced
 9     Dr. Vinagre's decision on your Step Three
10     appeal?
11            A.       She was not working with me.                  She
12     don't know -- I am not internal medicine
13     resident.          I was a radiology resident.                 I
14     don't have any encounters with her, any common
15     patients.          She don't have -- she does not have
16     any idea about me.
17            Q.       Anything else?
18            A.       Anything else?           Zero credit, she
19     wrote in her letter, zero credits.
20            Q.       And why does that make you think that
21     Dr. Bader influenced her, that she wrote that?
22            A.       Because when I did my interventional
23     radiology with Dr. Berberian, Gregory
24     Berberian, he told me that I'm passed.                         I did

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                                                                           77
 1   breaks.
 2                    THE WITNESS:       Okay.
 3   BY MS. SAUNDERS:
 4         Q.    So I'm going to assume that you
 5   understand you're still under oath.                Correct?
 6         A.    Mm-hmm.
 7         Q.    Okay.     So you're under oath all day
 8   until you're done and leave.
 9               Do you understand that?
10         A.    Yes.
11         Q.    Okay.
12                    MS. SAUNDERS:       So can you repeat
13   back the question, please.
14                    (Record read)
15         A.    Okay.     So before Stage Two appeal
16   meeting, I met Bader in his office.                He said
17   that he is going to send an e-mail with all
18   the details, what this appeal meeting is
19   about, how -- what their roles are, everything
20   in detail, to those faculty members.                Then he
21   said that the faculty should be there.
22               And the time which was given to me
23   for the faculty meeting was -- I was there at
24   the time and faculty was there at the time,
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                                                                           78
 1   then Bader came.         He asked that was
 2   unexpectedly -- he asked unexpectedly to leave
 3   the room.
 4         Q.     He being Bader?
 5         A.     Bader, yes.      Bader asked me
 6   unexpectedly.        I was not expecting that I have
 7   to leave the room, because that was my start
 8   time of -- of my meeting with the faculty
 9   members.
10                And then he also -- and also he
11   ask -- then I waited outside for 20 minutes --
12   about 20 minutes, half an hour, approximately,
13   at least 20 minutes.          So then they call me
14   back.      So it is pretty obvious.          All the
15   details he told me that he's going to send
16   when I met him in person -- he also ask me
17   which faculty members I want to choose, if
18   that faculty members are okay or not.                He
19   suggested some names, then I said, "Okay."
20               The meeting was supposed to start
21   exactly at the time when I was there.                It was
22   unexpected that I have to go out.               And it was
23   unexpected that -- spending so much time with
24   the faculty members, though he told faculty
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                                                                           80
 1   e-mail?
 2         A.    No, to all faculty members who will
3    be hearing my Stage Two appeal meeting.
4          Q.    Okay.     So he's -- so the reason why
5    you think he influenced them was because you
6    believe he sent that e-mail.
7                     MS. GOYAL:      Objection.
8          Q.    Is that right?        Is that what you're
9    saying?
10         A.    Yes.
11         Q.    And because he had a meeting with
12   them at the time that you were supposed to
13   start your meeting?
14         A.    They were already -- they are
15   subordinate to Bader.
16         Q.    What do you mean, they're
17   subordinate?
18         A.    They are working under Bader.              Bader
19   can do whatever they can do with the faculty
20   members.
21         Q.    Why do you believe that they were
22   working under Bader?
23         A.    Because he's the chairman, and he is
24   also the program director.
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                                                                           81
 1         Q.    The chairman of what?
 2         A.    Radiology program at Saint Vincent
 3   Hospital.
 4         Q.    The chairman of the medical -- of the
 5   department?
 6         A.    Yes, radiology department.
 7         Q.    Okay.     And as the chairman of the
 8   department, is that a medical staff role?
 9         A.    Can you say it again?
10         Q.    I asked, was that a medical staff
11   role or is that -- do you believe that that's
12   an employment role?
13         A.    I don't know what kind of contact --
14   he himself with the SVH, what kind of contract
15   the faculty had with the program.               I don't
16   know how susceptible they are.
17         Q.    Okay.     But you believe that they
18   report to him?
19         A.    Yes.
20         Q.    Okay.     So besides the fact that they
21   report to him and that Dr. Bader said he was
22   going to send this e-mail to them and the fact
23   that Dr. Bader had a meeting with them for 20
24   minutes at the time that you were supposed to
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                                                                           125
 1         Q.    And what influence do you believe
 2   Dr. Mukai had about the decision to dismiss
 3   you from the program?           Dr. Bader's decision to
 4   dismiss you from the program in June of 2017,
 5   what role did Dr. Mukai play?
 6         A.    He's a senior radiologist in the
 7   program for many years as compared to the
 8   newcomer, new, younger faculty members, and he
 9   sit next to Bader in the working station, and
10   also their offices are closed in the back.                  So
11   I don't know how much work influence he did.
12   Ask -- it will be better asked with Dr. Mukai.
13         Q.    So, again, I'm asking about what your
14   belief is and what evidence you have.                Okay?
15               So do you have any evidence, sitting
16   here today -- other than the fact that you
17   know that he was a senior radiologist and had
18   an office close to Dr. Bader, do you have any
19   evidence that Dr. Mukai had any influence over
20   Dr. Bader's decision to dismiss you from the
21   program in June of 2017?
22         A.    I don't know.
23         Q.    You don't -- you don't know whether
24   you have any evidence or not?
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                                                                           126
 1         A.    I don't know.
2          Q.    Do you -- strike that.
3                Do you believe that Dr. Mukai
4    encouraged Dr. Bader to dismiss you from the
5    program?
6          A.    Maybe.
7          Q.    And why do you believe that?
8          A.    Because he -- he made this statement,
9    and also he -- and this is the big thing.                  My
10   first night float, I dictated the study
11   according to the instructions from Kataoka.
12   Exactly what she told me, I dictated the same
13   thing, and he gave me -- significant miss to
14   me.    And so that is -- that is he don't like
15   me.
16         Q.    Anything else?
17         A.    Those are enough, I think.
18         Q.    But sitting here today, there isn't
19   anything else that you -- that you believe
20   that you're just not testifying to?
21         A.    He also wrote, "He's not ready for
22   third year."       And I was already working as a
23   third year.
24         Q.    And Dr. Mukai rated you as very good
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                                                                           128
 1   evaluation before it will be deleted.
 2         Q.    Did Dr. Mukai complete the evaluation
 3   after your attorney sent in an appeal letter?
 4         A.    Yes.
 5         Q.    And when you say, "evaluation," do
 6   you mean performance evaluation?
 7         A.    Yeah.     For the whole year, yeah.
 8         Q.    Performance evaluation?
 9         A.    Yes, performance evaluation for the
10   whole year.
11         Q.    Okay.     And you had access to those
12   performance evaluations?
13         A.    I don't have the access to the
14   performance --
15         Q.    Then how could you have looked at it
16   and saw?
17         A.    There were only a few -- few
18   performance evaluations there.              I was not able
19   to see my prior -- that was -- that was not
20   available in that system.
21         Q.    But you said you were able to see the
22   one that Dr. Mukai completed for you in
23   July 2017.
24         A.    Yeah, I -- there was, I think, one
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                                                                           129
 1   more also there, but I didn't see the previous
 2   ones.
 3         Q.    So your testimony is that in -- that
 4   in July 2017, later in July, because this
 5   would have been after your attorney submitted
 6   the appeal letter, you were able to see
 7   evaluations on the MyEvaluations system; is
 8   that right?
 9         A.    Not all.
10         Q.    But you were able to see some,
11   correct?
12         A.    Yeah, those were recently submitted,
13   because they were under still review or
14   something, so the message was coming that they
15   were not uploaded.
16         Q.    So which ones were you able to see
17   besides the one of Dr. Mukai's?
18         A.    Mukai I remember, but I don't
19   remember the other one.           I think there was one
20   other one also, probably.            And it is
21   documented there.
22         Q.    What is documented?
23         A.    His evaluation.
24         Q.    Mukai's evaluation?
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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                   130
 1            A.       Yeah, Mukai's evaluation, end of
 2     year.
 3            Q.       So when you sent an e-mail to
 4     Dr. Bader in May and complained about
 5     Dr. Burd, why didn't you mention this
 6     conversation that you had with Dr. Mukai where
 7     he --
 8            A.       As I told you earlier, I want to
 9     bring that issue, discrimination thing,
10     objectively.            So that reading and the grading
11     given by Burd was objective.                    That's why I
12     bring Burd issue.                And I was expecting that
13     those things will be corrected by Dr. Bader in
14     the department and not to go into this HR
15     route or this termination or even not take a
16     different route from here, but it went in that
17     route.
18                     Instead of having -- sitting to
19     discuss with Burd and go over the study, or
20     other attendings, I offered that I want to sit
21     for this reading.                He never did that.           But he
22     asked me, "Let bring the HR."                    Why bring the
23     HR?
24            Q.       He being Dr. Bader?

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                   131
 1            A.       Yes.      I asked whether to sit on the
 2     next -- next week and to go over that study.
 3            Q.       So going back to Dr. Mukai, why
 4     didn't you complain to human resources about
 5     Dr. Mukai --
 6            A.       I don't --
 7            Q.       -- making the comment to you about
 8     you're fucking 40 years old and trying to
 9     learn radiology?
10            A.       Because I don't want to get into
11     trouble unnecessarily if -- I want to keep my
12     residency.           I want to continue as a resident.
13     And as I told you earlier also, if I have
14     finished my residency from SVH, then I will
15     not even have told anybody about that.
16            Q.       And you -- and you didn't tell anyone
17     about that conversation with Dr. Mukai, you
18     said earlier?
19            A.       Yes.
20            Q.       Okay.       So the first time that was
21     raised was by your attorney during the appeal
22     process?
23            A.       Correct.
24            Q.       Okay.       And you believe that there

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                                                                           148
 1         A.    The reading was incorrect.
 2         Q.    If the reading's correct, it doesn't
 3   get a grading; is that true?
 4         A.    Yes, mm-hmm.
 5         Q.    Okay.     So -- and if it does get a
 6   grading, where is that grading kept?
 7         A.    In the computer system.
 8         Q.    Okay.     And would you have access to
 9   his gradings?
10         A.    I don't have access, but when I
11   reviewed his study because the nurse called me
12   from the floor --
13         Q.    I understand that you thought it was
14   incorrect, but what I'm saying is -- I'm
15   asking you about the grading by the attending
16   where they would list it as R1, R2, R3, R4.
17               How do you know that it wasn't
18   identified as an error by them on -- at one of
19   those levels?
20         A.    For this particular study, it was --
21         Q.    Yes, that's what we're talking about,
22   that one study.
23         A.    Yeah, that one study.           Because there
24   was no -- they put it, this study is R1, this
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                                                                           181
 1         Q.    You can answer.
 2         A.    Can you repeat the question so that
 3   we will clarify?
 4                    MS. SAUNDERS:       Can you repeat the
 5   question.
 6                    (Record read)
 7                    MS. GOYAL:      Objection.
 8   BY MS. SAUNDERS:
 9         Q.    You can answer.
10         A.    Feedback, I only met Dr. Bader after
11   first -- for this concern thing that is a
12   problem once or twice; once after immediate
13   night float, and he said that, "Your speed was
14   slightly slow."        And then after that, I met
15   him first warning letter in February.                So that
16   first warning letter, I was surprised that so
17   many dates were there.           Initially I was --
18   initially he gave me a letter which has
19   multiple errors in it.
20         Q.    Okay.     So that's not -- you're just
21   talking.      This is not what I asked you about
22   at all.     I didn't ask you about your
23   conversations with Dr. Bader about --
24         A.    So I'm talking about --
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                                                                           195
 1   discrimination.        So -- but I said it subtly,
 2   but he immediately -- already he has in back
 3   of his mind from Oklahoma information that now
 4   this -- he complained about age
 5   discrimination, so then he -- his -- now the
 6   mind shifted all towards how to kick out this
 7   resident rather than --
 8         Q.    That's what you think.
 9         A.    -- rather than resolving this reread
10   grade and go over with Dr. Burd and have a
11   conference, because I offered him to go over
12   with these rereads in my petition also, "Garg
13   offered to meet with Dr. Bader to review the
14   readings."
15               I didn't go with the age
16   discrimination thing.           I asked for -- offered
17   to meet with Dr. Bader to review the reading,
18   actual reading, so that things can resolve
19   and -- but this was the objective thing, so
20   that's why I brought it.
21         Q.    Well, don't you think that it -- that
22   it could have been possible that Dr. Bader
23   would read this and think that you were
24   complaining about national origin
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 36 of 242




                                                                           199
 1   May 13th, correct?
 2         A.    Yeah, I didn't -- I didn't follow
 3   with Dr. Bader for this -- this thing.
 4         Q.    Okay.
 5         A.    Do I need to inform, because he's the
 6   chairman and he's -- the hospital or the
 7   program already knew that I made the
 8   complaint, then they should act accordingly.
 9         Q.    So why did you say that you didn't
10   think a formal meeting was necessary?
11         A.    Because I was scared that I will be
12   in problem when the things will go at HR and
13   things.     I don't want to become the focus of
14   attention.       I want to finish my residency
15   without problem.         But this time, because this
16   was going too much, then I objectively -- and
17   I have the objective evidence.              So that's why
18   I made a complaint.
19         Q.    Did you ever make any complaint to HR
20   during your residency program?
21         A.    No.    Oh, I made the complaint to
22   Vinagre, discrimination complaint, and to CEO.
23   So I don't know if that is -- because I was
24   going through the GME policy.
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                                                                           209
 1   want to improve."
 2         Q.    Did you --
 3         A.    And I -- then you feel, oh, why I
 4   waste this half an hour in sleeping; let's do
 5   more work; let's do more concentrate on the
 6   work.
 7         Q.    But did you say in that meeting that
 8   you didn't disagree with the evaluations of
 9   your performance?
10         A.    No, I never said this.           I said I
11   disagree with the evaluations.
12         Q.    And what did you disagree with about
13   the evaluations of your performance?
14         A.    Because I don't think so those are --
15   those are honest evaluations.
16         Q.    You thought that they were honest
17   evaluations?
18         A.    They were not honest.
19         Q.    Okay.     So you thought that all of the
20   attendings who evaluated you negatively, that
21   none of them were being honest?
22                    MS. GOYAL:      Objection.
23         A.    When you will come to this evaluation
24   thing, then I will explain you better, when
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 38 of 242




                                                                           213
 1         Q.    And at that meeting --
 2         A.    Yeah, then they --
 3         Q.    -- then they gave you this
 4   information?
 5         A.    Yes.
 6         Q.    Okay.     So at that meeting, when they
 7   talked to you about the fact that you had the
 8   opportunity to repeat your PGY4 year there,
 9   isn't it true that both Dr. Vinagre and
10   Dr. Bader reiterated that doing that would be
11   a way to allow you to continue in an
12   accredited program and, therefore, to continue
13   to have the possibility to transfer into
14   another program during or at the end of that
15   year?
16         A.    So I didn't see fair chance --
17         Q.    This is not why.
18               The question is, do you -- isn't it
19   true that they told you that in the meeting,
20   yes or no?
21         A.    Yes, they told me.
22         Q.    They did tell you that in the
23   meeting?
24         A.    They told me -- they told me, then I
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 39 of 242




                                                                           214
 1   have to find a PGY5 position somewhere else --
 2         Q.    Okay.     Once you completed the PGY4.
 3         A.    -- and zero credit for my year, which
 4   I already completed that year, zero credit
 5   towards that year.
 6         Q.    So they did explain to you what the
 7   offer was?
 8         A.    Yes.
 9         Q.    And that this was --
10         A.    And I would resign -- they ask me to
11   resign my PGY5 contract, in that meeting, in
12   writing.
13         Q.    And why was it that you decided not
14   to accept that offer?
15         A.    Because that was not -- I was not
16   getting the fair chance, I was not getting the
17   fair opportunity.
18         Q.    So your reason is that it wasn't
19   fair?
20         A.    It was not fair.
21         Q.    Is it anything else?
22         A.    Because they were giving me zero
23   credit.     If they will -- if they will agree --
24   because Bader already told me that, "You
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     Dr. Ashu Garg vs                                                            Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
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1      passed the intervention."                    That is for two
2      weeks.        Even if they say that two weeks, I
3      will give you the credit, then I will consider
4      it being an honest offer.                    But they said that
5      zero -- zero credits for the whole year.                           I --
6      I work very hard in Saint Vincent Hospital.
7      And also to resign my PGY5 contract.                        Why I'm
 8     going to resign the PGY5 contract?
 9            Q.       But you had already repeated your --
10     your PGY3 year at the University of Oklahoma,
11     correct?
12            A.       Correct, correct.
13            Q.       So why wouldn't you just do it again
14     at -- the PGY4 year again at Saint Vincent?
15            A.       There was difference in honesty.
16            Q.       How so?
17            A.       This was dishonest offer, and that
18     was honest offer.
19            Q.       What do you mean by it was a
20     dishonest offer?
21            A.       Because somebody's giving me zero
22     credit where I worked every day, and also when
23     I pass the rotation.                     And if I will get at
24     least two weeks of credits, then that will

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                                                                           220
 1         A.    Yes.
 2         Q.    So your testimony is that you think
 3   that the Saint Vincent radiology residency
 4   should have used 360s from other residents?
 5         A.    Yes.
 6         Q.    Okay.     And you were represented by a
 7   lawyer at this point in time, weren't you,
 8   July 2017?
 9         A.    Correct.
10         Q.    So isn't it true that at the time and
11   in other -- isn't it true that you have
12   previously said that the reason you didn't
13   accept this offer to repeat your PGY4 year was
14   that you thought that there would be no way
15   for you to get a fifth year position?
16         A.    It is a rare find, very rare find, to
17   get the fifth year position because in
18   radiology residency, the residents are already
19   settled in their fifth year.             It's very hard.
20   But I -- I never heard of it before that.                  And
21   also, the thing is zero credits towards all my
22   efforts, and also the warning will continue
23   and they can expel me at any time.
24         Q.    So those conditions also led you to
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                                                                           221
 1   reject that offer?
 2         A.    Condition, yeah, those were looking
 3   not fair to me.        Those were not the fair
 4   offer.     Those were not the fair opportunity,
 5   because he already said before that, "I made
 6   up my own determination.            I will not let you
 7   complete."
 8                    (Pause)
 9   BY MS. SAUNDERS:
10         Q.    In what way do you believe you were
11   retaliated against?          What actions were
12   retaliatory towards you?
13         A.    Dismissal from the program after
14   making the complaint.
15         Q.    What else?
16         A.    Not providing me documents so I can
17   see what actually is going on.              The documents
18   were not provided to me.            And my evaluation
19   was suspended, and it was not showing the full
20   results.      And I -- that is documented in my
21   e-mails as well.         And also -- so it was for
22   people to assess me, and he already -- he
23   already said that, "I make the determination."
24   If he's really following GME process, then he
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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                   222
 1     should not say that.
 2            Q.       Okay.       So going --
 3            A.       He said that, "Let's -- let's do -- I
 4     will try to help you.                     Let's see the type of
 5     people help you."                He already said, "I made a
 6     final determination.                     I will not let you do
 7     it."
 8            Q.       So going back to my question, which
 9     was -- which was, in what ways do you believe
10     you were retaliated against.                    So far you
11     listed two.           You said dismissed from the
12     program, not providing documents.
13                     Anything else?
14            A.       Not providing access to my
15     evaluations, because those were all -- like,
16     there was no evaluation there when I was
17     clicking, clicking every day, and then only
18     one or two.           Mukai was -- later came on that.
19     And also, he said to me --
20            Q.       Who's he?
21            A.       Dr. Bader said to me before the Stage
22     Two appeal meeting that, "I will not let you
23     do radiology.             I make the final determination.
24     I am not going to let you finish the

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     Dr. Ashu Garg vs                                                            Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                      223
 1     radiology.           And I'm not going to do any
 2     settlement here like you had before
 3     previously."
 4            Q.       So I'm asking about ways in which you
5      were retaliated against, so actions that you
6      believe were retaliatory.
7                      So so far you've said dismissal from
8      the program, not providing documents, not
9      providing access to evaluations.                      Anything
10     else?
11            A.       Yeah, my -- and also, he -- through
12     chief resident, he announced that Dr. Garg is
13     not going to be staying in the program.                          That
14     is also violation of GME.                  And the GME Stage
15     Two, Three, and Four appeal was pending.                           Neha
16     Prakash announced all the residents June 21st
17     or June 22 that Ashu Garg will not be in the
18     residency program, so we have to distribute
19     his night float for the remaining year.
20            Q.       And how do you know that that
21     happened?
22            A.       That happened because all the
23     resident -- when I went there to meet
24     Dr. Bader because I was -- on 21st, I got the

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                   224
 1     termination letter.                 22nd, I was significantly
 2     stressed and -- but -- I didn't came for work,
 3     but I came to meet Dr. Bader.                    I came to meet
 4     him, and also then I went inside the resident
 5     room.       Then the resident told me that Neha
 6     just announced.
 7            Q.       So you know that because another
8      resident told you that she said this?
9             A.       Yes, and then I asked Neha.                 She
10     said, "Yes."
11            Q.       And who was the resident that told
12     you that she said this?
13            A.       Ahmed Mohammed.           I think, Ahmed
14     Mohammed or Ghasan.                 I don't know.
15            Q.       And you asked Neha, and she said that
16     she said that?
17            A.       Yeah, she herself confirmed.                  And
18     then I made the -- then I told this thing
19     that, "The GME process is pending, the Stage
20     Two appeal process is still pending, the Stage
21     Three is pending, Stage Four is pending," and,
22     "How you announce that this resident is not
23     going to stay in the program?"                     Either you
24     don't believe in the GME or you don't follow

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
     VHS Acquisition Subsidiary No. 7, et al.
                                                                                   225
 1     or you -- whatever you want.                    That's -- that's
 2     how you want to treat, that is retaliation.
 3            Q.       But I thought that you were listed in
 4     a book as a fifth year.                   It seems totally
 5     inconsistent.
 6            A.       Inconsistent.            So that is done by
 7     program, not by me.                 Ask the program.
 8            Q.       But you were saying that every -- you
9      know, all indications were that you were
10     advancing to a fifth year, but now you're
11     telling me that in June --
12            A.       Yeah.
13            Q.       -- Neha told everyone you weren't.
14            A.       Yes, the truth -- whatever I am
15     saying, that is true under oath.
16            Q.       But -- so did you -- did those
17     things, the fact that you were listed in a --
18     in a listing as a PGY -- did that actually
19     make you think you were going to be advanced?
20            A.       Then I had, like, a hope that I am
21     going to be probably able to continue my PGY5
22     year.       I was already advanced to PGY5, then I
23     will be able to continue as a PGY5 resident.
24     And the department also, in their internal

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 1   copying your file and providing you with
 2   documents.       Is that true?
 3         A.    When I went to the office, Salonee
 4   and Kanzaria was there, and they deny.
 5         Q.    And she gave you documents?
 6         A.    Later on, they -- they were providing
 7   me with documents.         Yes, I received this
 8   document.
 9         Q.    Okay.     And according to the e-mail
10   from Salonee on -- trying to see the date.
11   I'm not seeing the date on that e-mail, but
12   it's right -- it's probably the same day,
13   July 7th.      She e-mailed you and said that she
14   had also, the day before, e-mailed you a copy
15   of your evaluations with comments, the
16   milestones, and your user name and password
17   for the MyEvaluations website and the link to
18   the program manual.
19               Do you see that?
20         A.    Correct.
21         Q.    So why isn't it that you weren't able
22   to retrieve everything from MyEvaluations
23   on that day?
24         A.    I was not able to retrieve
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                                                                           239
 1   everything, that's what I'm saying.                At the
 2   time, many prior records were not coming.
 3   They were -- I was only seeing one or two
 4   coming there.        I don't know.       That's a
 5   question for SVH.
 6         Q.    Well, she also says in here that she
7    already e-mailed you the copy of your
8    evaluations with comments.
9          A.    She sent me some copies of the
10   evaluations, but not all.
11         Q.    But you can't say which ones you were
12   missing?
13         A.    I cannot say which one I am missing
14   because I didn't have access to my e-mails,
15   SVH e-mails.       And also, many documents when I
16   received in June 2018 that I saw for the first
17   time were about my performance.              I never saw
18   those documents before about my performance.
19         Q.    Are you sure you didn't --
20         A.    So why those documents were not
21   provided to me, because everything is related
22   to my performance, and the performance was the
23   real claim that SVH wants to bring it, that
24   this was the performance deficiency.
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                                                                           241
 1         Q.    But isn't it true that Dr. Bader had
 2   already gone over all of your evaluations with
 3   you in these portfolio review meetings?
 4         A.    No.    No.
 5         Q.    Didn't you have access to
 6   MyEvaluations during your entire residency
 7   program?
 8         A.    I had the access, but I never used it
 9   before.
10         Q.    How is that the program's fault, that
11   you just chose not to use it?
12         A.    No, I didn't choose.           Basically, I
13   didn't have the password or anything for
14   those -- my evaluations.
15         Q.    Don't all residents have access to
16   their evaluations during the program; at any
17   moment, they have access to that program?                  You
18   have a user name and password, and you can go
19   on there and look at your evaluations,
20   correct?
21                    MS. GOYAL:      Objection.
22         A.    That's correct.         Yes.
23         Q.    You had that the whole time you were
24   a resident at Saint Vincent Hospital, correct?
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 1                    (Pause)
 2   BY MS. SAUNDERS:
 3         Q.    Do you remember having what are
 4   called portfolio review meetings with
 5   Dr. Bader?
 6         A.    Yes.
 7         Q.    And there were two of them, correct?
 8         A.    One.     Only one I have portfolio
 9   review meeting, in January or February 2017.
10         Q.    Wasn't there one on February 14, 2017
11   and then also on June 21, 2017?
12         A.    No, it was not portfolio -- I have
13   only two letters.         That was not portfolio
14   meeting.      That was termination.          And also,
15   that was giving me those milestone summaries.
16   That's all.
17         Q.    So there is a -- there are -- there's
18   a document that's called Resident Educational
19   Portfolio Review that Dr. Bader fills out.                  So
20   when you say, "That was not given to me,"
21   or -- I'm talking about a meeting.
22         A.    That was not discussed -- that was
23   not given to me during -- on June 21, 2017.
24         Q.    Did you have a meeting on June 21,
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 1   2017 with Dr. Bader and with Dr. Kanzaria
 2   present?
 3         A.     Correct.
 4         Q.     Okay.    And you're denying that that
 5   was a portfolio review meeting?
 6         A.     It was not that.        They have not given
 7   me any copy or anything for that.
 8         Q.     Weren't you asked to sign the
 9   portfolio review meeting form and you refused?
10         A.     No.
11         Q.     You deny that that happened?
12         A.     No, I refused to sign the termination
13   letter.      I -- the portfolio meeting evaluation
14   was not there.
15         Q.     So I'm in the -- it's called
16   Performance Documents.           It's in the small
17   binder.      And I'm going to show you --
18         A.     And only just recently I have seen
19   this portfolio evaluation.
20                    MS. GOYAL:      There's no question.
21                Which Bates stamp number?
22                    MS. SAUNDERS:       2153 and 2154.
23   Okay.      So that's going to be Exhibit 16.
24
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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1                          (Exhibit 16 marked
 2                          for identification)
 3                          MS. SAUNDERS:         And then Exhibit 17
 4     is going to be the next pages, SVH 623 and
 5     624.
 6                          (Exhibit 17 marked
 7                          for identification)
 8     BY MS. SAUNDERS:
 9            Q.       So I'm going to hand you the
10     documents that have been marked Exhibits --
11     Exhibit 16, which is Bastes-stamped SVH 2153
12     through 2154, and Exhibit 17, which has been
13     Bastes-stamped SVH 623 through 624.
14                     And my question to you is, you said
15     you remember a portfolio review meeting in
16     February, correct?
17            A.       Yeah, February.
18            Q.       February 14th?
19            A.       Yes.
20            Q.       And at the end of that meeting, you
21     were asked to sign the form?
22            A.       Yes, I signed the form.
23            Q.       And there's a signature there,
24     correct?

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 1            A.       Correct.
 2            Q.       That's your signature?
 3            A.       Mm-hmm.
 4            Q.       Yes?
 5            A.       Yes.
 6            Q.       Okay.       And that was after attending a
 7     meeting with Dr. Bader and Paulomi Kanzaria,
 8     correct?
 9            A.       Correct.
10            Q.       And then you also attended a resident
11     portfolio review meeting on June 21, 2017 with
12     Dr. Bader and Dr. Kanzaria, correct?
13            A.       That was not portfolio meeting.                    We
14     didn't discuss this portfolio thing.                        We --
15     that was only termination letter and milestone
16     summary, as I remember, because I didn't see
17     this portfolio review -- till very recently I
18     have this document submitted by -- as a
19     document production in this case.                       I have not
20     seen this document before.
21            Q.       So -- and it says here, in
22     Dr. Bader's handwriting, "Dr. Kanzaria
23     present."          I think this says, "This portfolio
24     review, Dr. Garg refused to sign this form as

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1     well as the summary letter."
 2                     Do you see that?
 3            A.       I refused to sign the termination
4      letter.
5             Q.       But you don't remember ever seeing
6      this form?
7             A.       No.
8             Q.       And what, in your own words, do you
9      believe was the purpose of these portfolio
10     review meetings?
11            A.       These portfolio reviews to -- every
12     six monthly to evaluate the residents, what's
13     going on with their training.
14            Q.       And your testimony is that at that
15     first meeting that you had in February 2017,
16     that you -- you thought that everything was
17     going well?
18            A.       Correct.
19            Q.       So there was nothing in that meeting
20     that indicated to you that -- that things were
21     not going well?
22            A.       Yes.
23            Q.       And then out of nowhere, you received
24     the dismissal notice in June; is that your

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 1   to improve."
 2               Do you acknowledge that all those
 3   meetings occurred?
 4         A.    So here's the answer:           When he called
 5   me on this date --
 6         Q.    What date?
 7                    MS. GOYAL:      Which date?
 8         A.    Which date?       Give me a second.
 9   February 23, 2017.
10         Q.    Yeah.
11         A.    So I got a warning letter -- he first
12   handed me a warning letter with different
13   details on it.        There are multiple errors,
14   there are multiple different dates, and things
15   were there.       Then he checked and then he
16   looked, "Oh, this is not -- this is not" --
17   then he ask Dr. Kanzaria to go again and fix
18   the template -- to fix using the template to
19   make the -- look like real.             And I followed
20   Dr. Kanzaria, and Dr. Bader also was following
21   inside his room.
22         Q.    Okay.     So my question is, there is a
23   list of meetings here, and I just read them
24   all off to you.
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                                                                           270
 1         A.    I don't -- I don't --
 2         Q.    Did you attend those meetings or do
 3   you dispute that those meetings occurred?
 4         A.    I dispute some of those meetings.
 5         Q.    Which ones?       I'm not asking -- and
 6   I'm asking you, do you acknowledge that they
 7   occurred?
 8         A.    No.
 9         Q.    So which ones did not occur?
10         A.    12/8 was -- December 8th was not
11   done.
12         Q.    December 8th is not -- so December 8,
13   2016, you deny that you met with Bader?
14         A.    Yes, or I don't remember.
15         Q.    So you deny that, "As part of this
16   meeting we made a decision together," you and
17   Dr. Bader, "to provide you with an additional
18   educational tool...The goal was to have more
19   one-on-one contact with the staff," and you
20   were to seek out and spend an hour with each
21   faculty member?        You deny having a
22   conversation with Dr. Bader about that --
23         A.    Yes.
24         Q.    -- on December 8, 2016?
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 1            A.       Yes.      And we never discussed about
2      Dr. Kataoka.
3             Q.       Did you talk about that you were
4      expected to spend an hour with each faculty
5      member to address their specific performance
6      concerns with you?
7             A.       No.
8             Q.       And did you do that?             Did you try
 9     to --
10            A.       No --
11            Q.       -- talk with them?
12            A.       -- it was not -- it was not told to
13     me on this meeting.                 I'm not sure this meeting
14     from where this note came.
15            Q.       So you deny that that happened?
16            A.       Mm-hmm.
17            Q.       What else do you deny?
18            A.       1/6/17.
19            Q.       What do you deny, that you met with
20     Dr. Mukai or that you met with Dr. Bader?
21            A.       I met with Dr. Mukai for particular
22     concerns.
23            Q.       But you didn't meet with Dr. Bader?
24                     In the next paragraph, it says, on

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1     the same date, "I met with you again to
 2     explore additional educational tools."
 3                     Do you deny that that meeting took
 4     place?
 5            A.       Hold on.
 6                     I don't remember this meeting.
 7                     And this buddy call thing which is
 8     mentioned, the last line, was discussed on
 9     e-mail.
10            Q.       What else do you deny?               What other
11     meetings do you deny took place?
12            A.       I don't remember 2/17.
13            Q.       The meeting with Dr. Bader on 2/17?
14            A.       Yeah.
15            Q.       How about meeting with Dr. Bader,
16     Dr. Midkiff, and Dr. Kanzaria to review in
17     detail a list of cases from Dr. Burd?
18            A.       I don't remember this either.                  I
19     remember only some reading cases where I was
20     asked to review with attendings, so I did
21     that.       But on this date, I don't specifically
22     remember Dr. Midkiff or Kanzaria.
23            Q.       You don't remember this?
24            A.       No.

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1            Q.       Well, are you denying that the
2      meetings took place or you just don't remember
3      them happening?
4             A.       Probably it didn't happen.
5             Q.       Anything else?           Any other meetings
6      that you say didn't happen?
7             A.       No, that's -- that's pretty much.
8             Q.       So if that's true, that these
9      meetings didn't happen, why did you just sign
10     this letter that recited all these meetings
11     that --
12            A.       Because I was not given a chance to
13     read those details.                 I was just asked to sign
14     the letter at that time.
15            Q.       But I thought your earlier testimony
16     was that not only did you read the letter, but
17     you noticed that there were -- the dates were
18     wrong, so you had -- Dr. Bader had
19     Dr. Kanzaria go back and fix some of the
20     dates.
21            A.       Yeah, so they have different dates.
22     When Dr. Kanzaria prepare the same letter with
23     different dates or something, then the dates
24     were different, and other -- the details were

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1     different.           So then he said, no, no, no, go
 2     and fix those and bring the new one.                        Then I
 3     followed Dr. Kanzaria up to her room, and she
 4     pulled up the template, then she put the dates
 5     from there.
 6            Q.       So is your testimony that you think
 7     that these meetings took place on other dates,
 8     possibly, and maybe not the exact date that's
 9     listed in this letter, or are you actually
10     testifying that you -- that these meetings did
11     not take place?
12            A.       These meetings did not take place.
13            Q.       And how do you know that -- sitting
14     here today, five years later, that these
15     meetings did not take place?
16            A.       Because at the time I interviewed
17     after that -- this -- so that particularly
18     concerned me.             I -- I didn't met on those
19     days.       They maybe e-mailed that Bader had
20     asked me to come to his office, but I never --
21     the actual meeting never happened.
22            Q.       And why haven't you raised this
23     earlier in any of your various lawsuits,
24     that -- that the warning summarized meetings

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 1   from the patient, do you admit --
 2         A.    Yeah, so that is unprofessional.
3    So -- but I was applauded for professional.
4    Maybe that -- I don't know, that -- I am
5    professional or not professional.
6          Q.    Did you slap the hand away from a
7    patient?
8          A.    No.
9          Q.    You deny that you did that?
10         A.    No.
11         Q.    You don't deny it?
12         A.    No, I didn't -- I didn't did that.
13         Q.    Did you yell at a patient?
14         A.    No.
15         Q.    So when Gail Scott makes a report to
16   Dr. Bader and Dr. Midkiff about an incident
17   occurring in May 2017 about you slapping a
18   patient's hand away and yelling at him, you
19   deny that?
20         A.    After that, I met the same
21   technician, and the technician told me, "We
22   don't want to go into politics."              I asked,
23   "Why you make the comment?"             The technician
24   said that, "I don't want to go into politics."
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 1         Q.    And is that technician Gail Scott?
2          A.    Yes.
3          Q.    Okay.     How about Pavel Yaginov?           Did
 4   you have --
 5         A.    No, I don't remember who -- by face,
6    I don't know who was it.
7          Q.    Did you have an incident with that
8    person and also another technologist about
9    having interactions with the technologists,
10   asking them about why -- why they were
11   shielding patients?
12         A.    Shielding patient?
13         Q.    Yes.
14         A.    No, I don't.
15         Q.    Putting shields to protect them from
16   radiation or whatever it is?
17         A.    Well, that is a requirement.             Every
18   patient must be treated with appropriate
19   standards, which are --
20         Q.    But you don't remember having a
21   conversation about --
22         A.    No.
23         Q.    -- having a conversation about why --
24         A.    No.
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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1            Q.       -- you were -- why they were
2      shielding patients and whether that was
3      required?
4             A.       No.     Maybe this is -- maybe, I don't
 5     know, these comments come from some other
 6     residents.           I don't know.
 7            Q.       And do you deny on another occasion
8      swatting a patient's hand and instructing the
9      patient to use the other hand?
10            A.       I don't remember.
11            Q.       Are you denying that it happened or
12     you just don't remember, so you might have
13     done it?
14            A.       I don't remember, and -- because I
15     cannot do any unprofessional activity.
16            Q.       Because what?
17            A.       I cannot do any unprofessional
18     activity to the patient that makes the patient
19     uncomfortable.
20            Q.       So you agree that slapping a
21     patient's hand would be unprofessional?
22            A.       Yeah.
23            Q.       But you don't know whether you did
24     that?

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1            A.       Yeah.       And I am applauded for
 2     professional, and I am again repeating it.
 3            Q.       So did you scold the patient and say
 4     "What are you doing?"
 5            A.       I don't remember.            I don't know,
 6     maybe the same thing you will find in another
 7     resident's file, maybe, copied and paste from
 8     there.
 9            Q.       Do you remember having issues in --
10     on your -- I think it's fluoroscopy, is how
11     you say it.
12            A.       Correct.
13            Q.       -- fluoroscopy rotation --
14            A.       Correct.
15            Q.       -- where -- where you got really
16     backed up in fluoroscopy and there were lots
17     of patients --
18            A.       Yes.
19            Q.       -- waiting?
20                          MS. GOYAL:          Wait for her to finish
21     her question.             You're interrupting.             Let her
22     finish.
23     BY MS. SAUNDERS:
24            Q.       And do you deny that you became

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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 1     short-tempered with the patients?
 2            A.       I never become short-tempered with
 3     the patients, but I have a really hard time in
 4     working on the -- it was challenging to work
 5     on the broken machines.
 6            Q.       So if Rachel Markland -- she was a
 7     technologist, correct?
 8            A.       I don't know.
 9            Q.       Do you remember the names of any of
10     the technologists?
11            A.       Maybe I will -- I will recognize by
12     face.
13            Q.       Do you remember the names of any of
14     the technologists?
15            A.       No.
16            Q.       None of them?
17            A.       No, because I -- I didn't work that
18     much for a long period of time.
19            Q.       How about Deb Palan?
20            A.       I can recognize by picture.
21            Q.       Okay.       Well, if the technologist
22     testified that you were short-tempered and
23     annoyed with the patients, would you dispute
24     that, in fluoroscopy?

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     Dr. Ashu Garg vs                                                         Dr. Ashu Garg
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1             A.       I was never being short-tempered with
2      the patient.            Maybe I was struggling with the
3      machine so that the technologist perceive it
4      as, like, short-tempered with the patient, but
5      it was not -- I didn't say anything to the
6      patient or disrespect the patient, anything
7      happen then.            But I may be frustrating and
8      short-tempered with the machines, fluoroscopy
9      machines.          Those are broken machines.
10            Q.       Do you remember a time when you
11     were -- and this is what it says in the
12     document -- where you were scouting the
13     stomach and that you were advancing an NG tube
14     in a patient and that you asked for help to
15     lubricate -- to help lubricate the tube and
16     that the patient told you that it hurt and
17     asked you to stop and you -- and pushed your
18     hand away?           Do you remember that?
19            A.       Nasogastric tube is always
20     discomforting to the patient no matter how
21     much you are skilled, because I worked as a
22     surgeon in India for eight to ten years.                           I
23     did plenty of nasogastric tube that probably
24     nobody can think of.                     So I know each and every

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     Dr. Ashu Garg vs                                                             Dr. Ashu Garg
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 1     time, it's very discomforting.                     Some patients
 2     have discomfort, they say it's a pain.                         Some
 3     patients say this is like discomfort.
 4                     But irrespective, you cannot leave
 5     the nasogastric tube near the trachea when the
 6     patient is hovering.                     You have to either
 7     advance or you have to completely take out.
 8     Now you have to decide what you have to do.                            I
 9     use my clinical sense and my experience in
10     putting the NG tubes.                    So I just advanced it.
11            Q.       And do you remember that
12     Dr. Berberian had to take over --
13            A.       Yes.
14            Q.       -- with that patient and he --
15            A.       Not take over, but he came.                 He came.
16     It was not take over.                    That is written here.
17     It was not take over.
18            Q.       Okay.       Well, if he testifies that it
19     was a takeover, you would dispute that?
20            A.       He was there to help because he was
21     attending, so...
22            Q.       So your milestone evaluation, your
23     resident milestone evaluation, do you remember
24     getting those?

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 1   received a lot of 1s and 2s, some 3s.
 2               And you were aware of that at the
 3   time, correct?
 4         A.    No.    I didn't see those charts during
 5   my residency.        I only got it after my
6    termination.
7          Q.    Well, some of them say that they
8    actually spoke with you about your performance
9    difficulties.
10         A.    No.
11         Q.    So you deny all of that?
12         A.    Yes.
13         Q.    So that's -- so that's my question.
14               So when each one of these residents
15   testifies that -- that your performance was
16   poor and they talked to you about it, you deny
17   that?
18         A.    Yes.
19         Q.    For every single one of them?
20         A.    I have to review again.
21         Q.    Well, which ones do you remember
22   talking about your performance with?
23         A.    I talked to Susana Candia.             She gave
24   me idea about templates and how to --
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 1   basically some change in search pattern.                 I
 2   also talked to Dr. Messersmith, and she gave
 3   me idea about how to -- not to leave the
 4   studies on -- in the row.            But I was doing the
 5   thing which I was used to doing in Oklahoma,
 6   so then I learned that the system in
 7   Saint Vincent is different.
 8         Q.    And who else did you speak with that
 9   you remember about your performance?
10         A.    No one.
11         Q.    So your testimony is that none of
12   them told you that you were having performance
13   difficulties, and none of them offered
14   suggestions for you on how to improve?
15         A.    Correct.      I asked for help from
16   Dr. Mukai to clarify some things, but he send
17   me -- instead, he send me to YouTube video
18   links.
19         Q.    Okay.     And so you acknowledge that he
20   did send you YouTube video links?
21         A.    To help to learn more.           It is not
22   about deficiency.         It is about to learn more.
23         Q.    And it looks -- he did that,
24   actually, after -- he did that in May of 2017,
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 1   including you, and that they went over all the
 2   evaluation comments from the attendings during
 3   the portfolio review meetings, do you deny
 4   that that happened?
 5                    MS. GOYAL:      Objection.      Is there
 6   some testimony that you're referencing that
 7   Dr. Kanzaria testified to this?
 8   BY MS. SAUNDERS:
 9         Q.    Can you answer my question?
10         A.    What Dr. Kanzaria is testifying and
11   what he testified already.
12         Q.    He?    What?
13         A.    What she already testified.
14         Q.    So let's do it this way:            If
15   Dr. Kanzaria and Dr. Bader testified that
16   their practice is that during portfolio review
17   meetings, they go over all of the comments of
18   all the attendings for that period, do you
19   deny that that happened in your portfolio
20   review meeting?
21         A.    Correct.
22                    MS. GOYAL:      Objection.
23   BY MS. SAUNDERS:
24         Q.    You deny that?
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 1   read it.
 2          Q.   They read that out loud to you?
 3          A.   Yes.
 4          Q.   That, you remember?
 5          A.   Yeah, I think they read most of the
 6   things off the termination letter on June 21,
 7   2017.
 8          Q.   So do you deny that Dr. Bader asked
 9   other faculty members to try to help you more
10   and teach you more?
11          A.   I have no firsthand knowledge of
12   this.
13          Q.   Do you deny that different faculty
14   members met with you and reviewed your
15   readings with you to try to help you with your
16   readings?
17          A.   I deny it.       I deny it.      Only the
18   night float reads were cases where I'd go over
19   with the attendings.          Other than those, I have
20   no other sitting or concern, performance issue
21   meeting.
22         Q.    Do you deny that they adjusted your
23   work flow and your schedule to try to help
24   you?
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                                                                           301
 1         A.    It was only -- my work flow was only
2    adjusted before first night float, because I
3    was supposed to do the nuclear medicine
4    rotation and Dr. Bader felt that I need to do
5    ER to get accustomed with the Saint Vincent
6    Hospital, like, working environment.                So
 7   that's why I did -- there was a modification.
 8   Nuclear medicine was changed to ER at that
 9   time.
10         Q.    And do you deny that Dr. Bader, you
11   know, took different steps trying to help you
12   succeed in the program?
13         A.    Every program director should try
14   that.
15         Q.    And do you deny that he did that?
16         A.    So he wrote the recommendation
17   letters and he wrote the American Board of
18   Radiology that I am going to finish my
19   radiology earlier than schedule time, and my
20   schedule date was -- finishing was on
21   September 11, 2018.
22         Q.    And what else, if anything, did
23   Dr. Bader do to try to help you succeed in the
24   program?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 73 of 242




                                                                           304
1    and the settlement agreement despite the fact
2    that there might have been documents produced
3    to you.
4                     MS. SAUNDERS:       So what kinds of
5    limited questions are you going to allow him
6    to answer?
7                     MS. GOYAL:      I don't know.       I don't
8    even know why you need to go down that road.
9                     THE WITNESS:       Because I know --
10                    MS. GOYAL:      There's no question.
11                    THE WITNESS:       Okay.
12   BY MS. SAUNDERS:
13         Q.    Well, you attended the University of
14   Oklahoma program for three years, correct?
15         A.    Correct.
16         Q.    And you received academic credit for
17   two years?
18         A.    Yes.
19         Q.    And you hired a lawyer in your -- the
20   second year of the program there and
21   negotiated a settlement agreement with them?
22         A.    Correct.
23         Q.    And you made accusations of age
24   discrimination against the University of
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 74 of 242




                                                                           305
 1   Oklahoma?
 2         A.    Correct.
 3         Q.    And --
 4         A.    That's why they created the
 5   settlement agreement.
 6         Q.    And in the University of Oklahoma
 7   program, you also received negative
 8   evaluations, didn't you?
 9                    MS. GOYAL:      Objection.      We're not
10   going to get into his performance at Oklahoma
11   because that is outside the bounds of what
12   he's allowed to disclose per the
13   confidentiality and settlement agreement.
14                    MS. SAUNDERS:       So you're not going
15   to allow me to ask any questions about his
16   performance?
17                    MS. GOYAL:      No, unless you want to
18   articulate a reason why you need to ask about
19   it.
20   BY MS. SAUNDERS:
21         Q.    Did you receive a resident milestone
22   evaluation at the University of Oklahoma?
23                    MS. GOYAL:      Objection.
24                    MS. SAUNDERS:       Are you instructing
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   PLAINTIFF EXHIBIT 2
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                     UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

                                      C.A. No. 4:20-cv-40060-DHH



                             DR. ASHU GARG,

                                      Plaintiff,

                                    v.

               VHS ACQUISITION SUBSIDIARY NO. 7 d/b/a

                 SAINT VINCENT HOSPITAL, DAVID BADER

                    JOHN MUKAI, and DOUGLAS BURD,

                                      Defendants



                     DEPOSITION OF DR. DAVID A. BADER, a witness

         called on behalf of the Plaintiff, taken pursuant to

         Notice under the applicable provisions under the

         Federal Rules of Civil Procedure, before Karen

         Cassola Norman, a CER and Notary Public in and for

         the Commonwealth of Massachusetts, at the Rosen Law

         Offices, P.C., 204 Andover Street, Suite 402,

         Andover, Massachusetts, on Tuesday, February 15,

         2022, commencing at 9:58 a.m.

     J&K COURT REPORTING, 12 BUENA VISTA AVE, SALEM, MA 01970

   KC     (978) 825-9171                 FAX (978) 744-6476           KC

   ****************COMPUTER AIDED TRANSCRIPTION**************
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 1      APPEARANCES:

 2

 3            Kavita Goyal, Esq.

 4            Matthew Perry, Esq.

 5            ROSEN LAW OFFICE

 6            204 Andover Street, Suite 204

 7            Andover, Massachusetts 01810

 8                  Counsel on behalf of the Plaintiff.

 9

10            Dianne M. Saunders, Esq.

11            Olivia L. Vehslage, Esq.

12            OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

13            One Boston Place, Suite 3500

14            Boston, Massachusetts 02108

15                  Counsel on behalf of the Defendants.

16

17      Also Present:

18            Dr. Ashu Garg

19

20

21

22

23

24
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 1                                   I-N–D-E-X

 2      WITNESS                        DIRECT    CROSS   REDIRECT   RECROSS

 3      Dr. David A. Bader

 4      (By Ms. Goyal)                   5        ***       ***        ***

 5      (By Ms. Saunders)               **        ***       ***        ***

 6                                   EXHIBITS

 7      NUMBER                                                         PAGE

 8      1     Letter dated October 23, 2017 - Bates Stamp                  104

 9            SVH 000806

10      2     Summary Performance Evaluations Report Date:                 107

11            4/20/2021 - Bates Stamp SVH 000760-SVH 000767

12      3     Summary Performance Evaluations Report Date:                 119

13            7/17/2018 - Bates Stamp SVH 002155-SNH002161

14      4     Summary Performance Evaluations Report Date:                 133

15            6/28/2017 - Bates Stamp SVH 001908

16      5     Letter to File - Bates Stamp SVH 000636 and                  147

17            with attached Letter dated June 21, 2017 -

18            Bates Stamp SVH 000880-000883

19      6     Resident Educational Portfolio Review - Bates                158

20            Stamp SVH 000623-SVH 000624

21      7     Summary Performance Evaluations Report Date:                 172

22            6/28/2017 - Bates Stamp - SVH 001727-SVH 0001732

23      8     Resident Milestone Evaluation: Year-End 2016-                184

24            2017 - Bates Stamp SVH 000443-SVH 000446
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 1                                   EXHIBITS

 2      NUMBER                                                         PAGE

 3      9     Letter dated April 26, 2017 - Bates Stamp                    194

 4            SVH 000001

 5      10    Email Exchange - Bates Stamp SVH 000584-                     225

 6            SVH 000585

 7      11    Letter dated August 30, 2017 - Bates Stamp                   253

 8            SVH 000931-SVH 000933

 9      12    CONFIDENTIAL Letter dated March 22, 2017 -                   264

10            Bates Stamp SVH 002185-SVH 002186

11      13    CONFIDENTIAL Letter dated April 12, 2017 -                   265

12            Bates Stamp SVH 002187-SVH 002188

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 1               requirements?

 2         A     Correct.

 3         Q     But your recollection is that once you provided

 4               that additional information they came onsite

 5               again, and the probation was removed?

 6         A     Correct.

 7         Q     And you believe that was over the six month

 8               period?

 9         A     It was all within a six month period.

10         Q     Okay.   Let’s go back to your responsibilities as

11               the program director for the Radiology Residency

12               Program at Saint Vincent’s Hospital.

13         A     Okay.   That’s a rather broad question, what would

14               you like me to --

15         Q     What are your --

16         A     -- focus us?

17         Q     -- what are your day-to-day responsibilities as

18               the program director of the program?

19         A     So it -- a program director is required for

20               oversight of the program as defined by the ACGME

21               to assure that the program is meeting ACGME

22               requirements.    The requirements are -- there are

23               RRC specific, they’re called, Radiology Residency

24               Review Committee requirements.
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 1         Q     Okay.    And other than the oversight of the

 2               program, what other responsibilities do you have

 3               as a program director?

 4         A     The oversight of the -- of the program

 5               requirements is all inclusive of all elements of

 6               the program.

 7         Q     So what does the oversight entail?

 8         A     Again, it’s a -- it’s a very broad question.         The

 9               program requirements are a 50-page document, but

10               it’s making sure that all components of the

11               training program are maintained.       And there is a

12               wide range and long list of program requirements

13               to attend to.

14         Q     So how do you ensure that all components of the

15               training program are maintained?

16         A     That’s my job.

17         Q     Right, so how do you do your job on a day-to-day

18               basis?

19         A     Again, I would -- I would like to say that it’s

20               such a broad -- it’s such a broad question.         So

21               the --

22         Q     Okay.

23         A     -- I can give -- I can give you an overview and

24               if there’s anything you’d like to ask me
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 83 of 242



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 1               specifically about it, so --

 2         Q     That would be great.      I would love an overview

 3               first.

 4         A     So for -- for example, one -- one component --

 5               one example component would be that Didacta

 6               Conferences are required for the residents.         So I

 7               would make sure that they’re appropriately

 8               provided Didacta Conferences for the right range

 9               of topics and the right frequency for the

10               residents.    That’s one example.

11         Q     Okay.    What else?

12                       MS. SAUNDERS: Objection.

13                       You can answer.

14         Q     What else do you do as the program director         I

15               don’t know if you have a job description but if

16               there was a job description what would it say as

17               the program director for the Radiology Residency

18               Program at Saint Vincent’s Hospital?        I’m really

19               not trying to be difficult.      I’m trying to narrow

20               it down.    I just want to know, what do you do

21               (laughed)?

22                       MS. SAUNDERS: Objection.

23                       MS. GOYAL: (Laughed.)

24                       MS. SAUNDERS: Objection.
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 1                       You can answer.

 2         BY MS. GOYAL:

 3         A     Well you’re not trying to be difficult but you’re

 4               asking me to describe the job description is that

 5               it is the responsibility of the program director

 6               as defined by the ACGME and the RRC to ensure

 7               adherence to all policies and protocols and

 8               requirements of the ACGME as defined to maintain

 9               and to meet accreditation requirements.        And the

10               list is extensive.     So on a daily basis I’m

11               constantly attending to every single aspect, and

12               some of it is very cyclical, some of it is daily,

13               some of it is weekly, some of it is monthly, some

14               of it is quarterly, some of it is annual.        We

15               make sure that we adhere to all elements of the

16               program related to the faculty, related to the

17               wellness of the residents, related to the

18               curriculum.    It’s -- it’s quite extensive and we

19               have a fully accredited Radiology Residency

20               Program without a single citation.       So that’s

21               what I adhere to.

22         Q     Okay.    So what do you do on a daily basis as the

23               program director?

24         A     Again, I believe I’ve already answered it.         I --
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 1               I would attend to any and all elements of the

 2               Residency Program to maintain accreditation.

 3         Q     So what are those elements?

 4                    MS. SAUNDERS: Objection.

 5                    You can answer.

 6         Q     What are the elements of the Residency Program

 7               that you maintain on a daily basis?

 8         A     I’ve mentioned some of them, would you like me to

 9               mention as many as I can possibly think of?

10         Q     Yeah, that would be great.

11         A     On a daily basis I would look at -- I would make

12               sure that all the elements are being maintained

13               on time and in order.

14         Q     So what I asked you is what are those elements?

15               You’ve held this position for almost, I don't

16               know, 15 plus years and I’m just trying to

17               understand what as a program director you do?

18               Not what it says in the ACGME manual, but what --

19               tell me what you do?     If you are at a dinner

20               party right now and I asked you to tell me what

21               you do at work every day, what would you say?

22                    MS. SAUNDERS: Objection.

23                    You can answer.

24         A     I would say my responsibilities for running the
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 1               Radiology Residency Program are for oversight of

 2               all the elements and all the faculty and all the

 3               residents to makes sure that the program is

 4               running properly on a daily basis.

 5         Q     Okay.    And how do you ensure that it runs

 6               properly on a daily basis?

 7                       MS. SAUNDERS: Objection.

 8                       You can answer.

 9         Q     Again, I’m finding your questions extremely broad

10               given the scope of my responsibilities.

11         A     I understand you’re very high up, Dr. Bader, and

12               I understand you have a lot of responsibilities,

13               okay.    I’m just trying to understand what some of

14               them are, other than the fact that they’re --

15               that you are an oversight of this entire program?

16               That doesn’t tell me what you do.

17                       MS. SAUNDERS: Objection.   Counsel, --

18         Q     So --

19                       MS. SAUNDERS: -- if you have specific

20               questions why don’t you ask him --

21                       MS. GOYAL: I’m asking --

22                       MS. SAUNDERS: -- what he’s doing?

23                       MS. GOYAL: -- him what he does everyday --

24                       MS. SAUNDERS: And you’re getting --
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 87 of 242



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 1                    MS. GOYAL: -- at work (laughed).

 2                    MS. SAUNDERS: -- frustrated and asking him

 3               the same --

 4         Q      What do you do -- okay.

 5                    MS. SAUNDERS: -- and now --

 6                    MS. GOYAL: So let’s -- fine.

 7                    MS. SAUNDERS: -- we’re just trying the same

 8               tack over and over again and --

 9                    MS. GOYAL: So -- all right.       I’ll try a

10               different way.

11                    MS. SAUNDERS: If there are different things

12               that you want to know does he do this?        You can

13               say, well, as part of that do you do this?         As

14               part --

15                    MS. GOYAL: Well I don’t even have a general

16               list yet (laughed).

17                    MS. SAUNDERS: Well you do because your

18               client was in the Radiology Residency --

19                    MS. GOYAL: So --

20                    MS. SAUNDERS: -- Program, so you have some

21               idea of what he does.     I mean, and what’s

22               relevant to this case.

23         BY MS. GOYAL:

24         Q     What are your responsibilities towards resident
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 88 of 242



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 1               education and training?

 2         A     Resident -- my responsibilities are to make sure

 3               that the residents are appropriately educated and

 4               trained in all required elements of diagnostic

 5               radiology to meet board eligibility.

 6         Q     And how are some of the ways that you make that

 7               residents are properly trained and educated in

 8               diagnostic radiology?

 9         A     Make sure that they have the appropriate range

10               and scope of clinical experience and didactic

11               experience to help in their preparation.

12         Q     And how do you ensure residents are properly

13               trained and educated for board eligibility?

14         A     I make sure in working with my team that they

15               have a full and comprehensive didactic

16               curriculum, as one example.

17         Q     Who’s on your team?

18         A     My team area all -- all of the faculty members,

19               number one.

20         Q     Oh, I’m sorry, all the faculty members?

21         A     Faculty members.    Faculty, teaching attendings.

22               I also have a program coordinator, which is an

23               ACGME requirement, that I work with on a daily

24               basis.   Coordinate the program activities.        I
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 89 of 242



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 1               activities.    They’ll be elements that I would

 2               delegate to an associate program director for

 3               support to provide the time and input and work

 4               with the residents and the faculty.

 5         Q     So what are some of those resident activities?

 6         A     Teaching, scheduling, review of curricula as some

 7               examples.

 8         Q     Are you also responsible for overseeing the

 9               evaluation of residents?

10         A     What do you mean by overseeing?

11         Q     Are you responsible for -- are you responsible in

12               any way for the evaluation of residents?

13         A     Yes.

14         Q     Okay.   How so?

15         A     I evaluate residents as a -- as a faculty member

16               I evaluate residents as all faculty members do.

17               And then as the program director I review those

18               evaluations as part of evaluation process for

19               residents.

20         Q     When you say review those evaluations, you mean

21               review the evaluations of other faculty members?

22         A     Yes.

23         Q     And you also mentioned that -- I think you

24               mentioned that you’re also -- you also oversee
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 90 of 242



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 1               residency well-being?

 2         A     Well, --

 3                    MS. SAUNDERS: Objection.

 4                    You answer.

 5         A     Oversee -- well resident well-being is an

 6               inherent part of the residency program.

 7         Q     Can you describe a little bit about what that

 8               entails?

 9         A     Yeah, I gave one example before.       So, for

10               example, adherence to the ACGME, you know, limit

11               on duty hours, for example, that’s defined.         And

12               time off between shifts, things like that.

13               Making sure that that’s all adhered to.

14         Q     Other than limit the duty hours and time off

15               between shifts, any other responsibilities that

16               you have with regards to resident well-being?

17                    MS. SAUNDERS: Objection.

18                    You can answer.

19         A     Responsibilities for -- it’s part of our program

20               so we always check in with the residents as to

21               their well-being.

22         Q     When you say check in, do you have conversations

23               with them?

24         A     Uh-huh.    Yes.
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 1         Q     Are those typically in person?

 2         A     Yes.

 3         Q     Do you have any sort of schedule to check in with

 4               residents or is it more ad hoc?

 5         A     Both.

 6         Q     You said -- I believe you testified that as a

 7               faculty member you are responsible for evaluating

 8               residents but you’re also, as a program director,

 9               responsible for reviewing the evaluations that

10               faculty members give of other residents, right?

11               Is that fair to say?

12         A     Yes.

13         Q     Okay.    And are those written evaluations --

14         A     Yes.

15         Q     -- in general?

16                       And can you tell me what those written

17               evaluations are, like what are they -- what are

18               those -- I know there’s a lot of different

19               evaluations so I want to get just a working list

20               of what evaluations are used by the program?

21         A     So the program uses a system called

22               MyEvaluations, which is one word, M-y,

23               Evaluations, which is used throughout the

24               country.    That’s the system, it’s and electronic
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 92 of 242



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 1               made a decision to interview.

 2         Q     Do you recall what materials you reviewed before

 3               interviewing Dr. Garg?

 4         A     We typically would have seen his CV, his prior

 5               experience, his prior training.

 6         Q     And do you recall what Dr. Garg’s prior training

 7               was?

 8         A     I recall that Dr. Garg had significant experience

 9               as a surgeon and some orthopedic surgery, and

10               then was applying to us after completing two

11               years of training at University of Oklahoma.

12         Q     And did you at some point speak with the

13               University of Oklahoma about Dr. Garg?

14         A     Yes.

15         Q     Okay.   Do you recall when that was?

16         A     I don’t recall exactly.      It would have been after

17               we reviewed the material and we’re moving forward

18               on getting more information to make a final

19               decision of whether or not to offer Dr. Garg a

20               position.   We would have had his letters of

21               reference in order to even have that information

22               of who to contact.     So those would have been

23               reviewed.   And then I called the program director

24               who had sent a letter of reference.
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 1         Q     The program director at the University of

 2               Oklahoma?

 3         A     Yes.

 4         Q     And was that Dr. Hiller?

 5         A     Yes.

 6         Q     Did you speak with Dr. Hiller over the phone?

 7         A     Yes.

 8         Q     And what did you discuss with him?

 9         A     We discussed Dr. Garg’s performance at University

10               of Oklahoma and his potential change of --

11               transition to a program in Massachusetts.

12         Q     What did you discuss about Dr. Garg’s

13               performance?

14         A     We discuss -- I typically would have asked what

15               his area of strength -- strengths are.        His

16               opportunity for improvement.      Or why he was

17               leaving the program.     Try to get feedback on

18               assessing his ability to perform at the R-3 level

19               at Saint Vincent Hospital.

20         Q     And what did the program director, Dr. Hiller,

21               tell you about Dr. Garg’s strengths?

22         A     He told me his strengths were his

23               professionalism.

24         Q     Anything else?
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 1         A     Specifically his strengths?

 2         Q     Yes.

 3         A     He highlighted his strengths in his -- and his

 4               willingness to work with others and want to

 5               improve.

 6         Q     Anything else?

 7         A     Not that I recall.

 8         Q     Okay.   Strengths he -- Dr. Hiller told you about

 9               Dr. Garg’s professionalism and his willingness to

10               work with others and improve?

11         A     Yeah, his desire to improve.

12         Q     And did Dr. Hiller answer your question about

13               what his areas of improvement?

14         A     Yes.

15         Q     And what were those?

16         A     Well, he told me that he came with a -- I believe

17               he told he came -- a little bit about his

18               background that I had seen in his CV.        And then

19               he said he started out well in the program.         And

20               then he seemed to fall behind after his first

21               year and was unable to keep up with others.         And

22               he thought it might’ve been due to other

23               distractions.    He was talking about -- mentioned

24               there may have been a family issue in India or
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 1               something, but he said he was trying hard but he

 2               couldn’t seem to keep up and he didn’t think it

 3               had anything to do with his ability to learn.

 4               And that a change of environment -- he thinks he

 5               would do well with a change of environment if he

 6               repeated his R-3 level.      He told me that he had

 7               been there for three years and he felt he needed

 8               -- he would do well coming to a different

 9               environment at the R-3 level.      Those were some of

10               the highlights.

11         Q     So he -- Dr. Hiller told you that Dr. Garg had

12               been there for three years.

13         A     Yes.

14         Q     Did he tell you how many credits Dr. Garg was

15               receiving for his three years?

16         A     He told me he was there for three years and that

17               he was receiving two years of academic credit and

18               -- which is why he thought repeating the third

19               year would be perfect for him.       He didn’t use the

20               word perfect, but he said that would be -- he was

21               answering my question as to how he would

22               transition and function at an R-3 level.

23         Q     Did you ask why he was receiving two years of

24               academic credit even though he had been in the
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 1               applicants?

 2         A     We were happy with Dr. Garg.

 3         Q     And you said you reviewed Dr. Garg’s CV?

 4         A     I would have reviewed his CV, yes.

 5         Q     Were you aware that he was older than some of the

 6               other residents already in the program?

 7         A     Yes.

 8         Q     Is that a concern for you?

 9         A     No.

10         Q     Did you speak with Dr. Hiller about the fact that

11               he was older than other residents?

12         A     No.

13         Q     Did you speak with Dr. Hiller about any concerns

14               that Dr. Garg -- strike that.

15                      Did you speak with Dr. Hiller about whether

16               Dr. Garg go along with faculty at the University

17               of Oklahoma?

18         A     It -- yes, indirectly.     He told me that he had

19               fallen behind his peers and there -- I can’t

20               remember the specifics.      He was -- the -- he was

21               referring to a change of environment, he felt

22               that he would do -- he felt he could potentially

23               thrive in a different environment.       Something --

24               I don’t know, there was a turnover in staff or
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 1               of Dr. Garg’s participation in the Radiology

 2               Residency Program, if you see the months?

 3         A     Yeah, I’m looking at the months.       Yes, at the --

 4               at the time of the -- at the time of his

 5               portfolio review meeting.      The second portfolio

 6               review meeting, yes, September and June.

 7         Q     And is it fair to say that at the bottom of the

 8               chart those are the averages of all of the scores

 9               of the core competencies?

10         A     Yeah, can I just check one thing here.        Yes, that

11               final number on the bottom where it says mean?

12         Q     Yes.

13         A     Yes, that would be -- that would be an average of

14               those categories.

15         Q     And would you look at the averages or --?

16         A     Yes, I look at averages.      Yes.

17         Q     And looking at the averages what -- what score

18               did Dr. -- which core competency did Dr. Garg

19               receive the lowest score on?

20         A     It looks like practice-base learning improvement.

21               Practice-base -- practice-base learning and

22               improvement would be the lowest.

23         Q     What would be the second lowest?

24         A     Clinical judgment.
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 1               at the end for, you know, strengths, weaknesses,

 2               opportunities for improvement, which are all

 3               these pages of comments which are very helpful

 4               and impactful in assessing the resident’s

 5               performance over and above a numerical value.

 6         Q     The numerical values that are generated through

 7               the drop down, is the drop down used by each

 8               faculty member?

 9         A     Yes.

10         Q     Okay.    And once the faculty member chooses a drop

11               down number or score, it’s stuck?

12         A     Yeah.

13         Q     Okay.

14         A     Well, once they finalize the evaluation, --

15         Q     Right.

16         A     -- yes.

17         Q     And you said they also provide comments that you

18               also review that are very helpful?

19         A     More helpful, yes.

20         Q     More helpful.    Okay.

21                       So do you look at the numerical scores at

22               all?

23         A     Yes, --

24         Q     Okay.
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 1         Q     Okay.    You also testified that you would’ve

 2               looked at it for purposes of the -- you would

 3               have looked at the most recent data that would’ve

 4               been available at the time that you had the

 5               meeting.    I believe you’re talking about the term

 6               -- is it correct that you’re talking about the

 7               termination meeting?

 8                       MS. SAUNDERS:   Objection.

 9                       You can answer.

10         A     I’m talking about his final portfolio review

11               meeting.

12         Q     All right.    Is the final portfolio review meeting

13               the same meeting in which you notified him --

14               notified Dr. Garg that he was being terminated

15               from the program?

16         A     Yes.

17                       MS. SAUNDERS:   Objection.

18                       You can answer.

19         Q     I’ll represent to you that, that was on June 21st

20               of 2017, does that sound correct?

21                       MS. SAUNDERS:   Objection.

22                       You can answer.

23         A     It sounds -- it sounds correct, it would’ve been

24               towards the end of the academic year.
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 1               Performance Evaluation for all residents that

 2               complete a program, they need a Summary

 3               Performance Evaluation.      It’s almost the same as

 4               our final performance review which is the Summary

 5               Portfolio Review and then there’s a Summary

 6               Performance Evaluation that goes into every

 7               resident folder for a resident that has

 8               successfully completed the program.        It has to

 9               state that they can practice independently; they

10               completed an entire residency.       That is a summary

11               performance letter I believe is the term that the

12               ACGME uses.    The end of each academic year there

13               has to be a document in the file that shows your

14               performance at the end of the -- the conclusion

15               of that year and your ability to go onto the next

16               year, which is typically our final portfolio

17               review.   It’s a little different for Dr. Garg

18               because he wasn’t -- he wasn’t leaving at the end

19               of that meeting.     He was being terminated in that

20               meeting; wasn’t graduating from the program.

21               That’s why he’s -- he’s not going to have a

22               summary -- he’s going to have a summary

23               performance meeting, but not a summary

24               performance letter as defined by the ACGME.         But
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 1         Q     Sure, this one right here -- it’s right here.

 2         A     Okay.    Thank you.   Okay.

 3                       (Whereupon, Exhibit Number 9, so marked:

 4               Letter dated April 26, 2017 - Bates Stamp

 5               SVH 000001)

 6                       MS. GOYAL: Is this 9?

 7                       COURT REPORTER: Yes.

 8         Q     I’ve provided you a document that’s been marked

 9               as deposition Exhibit 9, do you recognize this

10               document?

11         A     I do.

12         Q     What is it?

13         A     It’s the letter -- it’s a renewal letter of

14               intent given to Dr. Garg.

15         Q     Okay.    And is that your signature at the bottom?

16         A     Yes.

17         Q     What is it dated?

18         A     4-26-17.

19         Q     Is it fair to say that at the time that you

20               signed this you were prepared to continue Dr.

21               Garg’s participation in the Radiology Residency

22               Program at Saint Vincent’s Hospital?

23         A     That was the -- yes.

24         Q     Okay.    So as of April 26th you were prepared to
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 1         Q     Why did you have to sign it on April 26th, 2017?

 2         A     It’s, all program directors signs all renewal

 3               letters.

 4         Q     What does that mean?      They all sign them on that

 5               date?

 6                       MS. SAUNDERS:   Objection.

 7                       You can answer.

 8         A     I don’t know what date they sign them.

 9         Q     Okay, so why is it your understanding that you

10               had to sign this?

11         A     Because that’s the timing of the GME process --

12         Q     Didn’t you say time --

13         A     -- for renewal letters.

14         Q     Didn’t you say the timing of the GME process is

15               four months prior to the end of the program year?

16         A     I don’t know, it’s whatever they -- if they’re

17               running late, they’re running late.        My

18               understanding is that it has to do with potential

19               Visa processing and all these issues, so they

20               have to start -- they start their process early.

21               So these letters, for clarification, are not

22               generated by me.     They’re generated by the

23               graduate medical education office for -- so

24               unless there’s a resident that’s leaving the
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 1         A     This is the timing the GME requires to begin

 2               their processing for the next academic year, so

 3               the reminders are sent out to the programs and

 4               the program directors.

 5         Q     So you don’t know the exact time of the renewal

 6               of the contracts for the GME guidelines?

 7                      MS. SAUNDERS: Objection.

 8                      You can answer.

 9         A     I do not know the exact timing.

10         Q     And your expectations or your understanding was

11               that if Dr. Garg met the expectations of the

12               program in May and June of 2017, that he would

13               have continued in the PGY-5 year?

14                      MS. SAUNDERS:   Objection.

15                      You can answer.

16         A     If Dr. Garg met the expectations of his Stage One

17               and Stage Two Warning letters.

18         Q     He would have continued in the program?

19         A     Yes, that was stipulated in the letter.

20         Q     Do you recall that earlier in the program you

21               agreed that Dr. Garg could complete the program

22               by June of 2018?

23         A     By June of 2018, what year are we talking about.

24               Yes.
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 1         Q     Why did you agree to that?

 2         A     That was by request of Dr. Garg to accommodate

 3               the schedule for him to complete on an academic

 4               cycle.   He had an interest in pursuing fellowship

 5               training.

 6         Q     At the time that you agreed to allow him to

 7               complete the program by June of 2018 would that

 8               have been two months earlier than he would have

 9               normally completed the program?

10                     MS. SAUNDERS:    Objection.

11                     You can answer.

12         A     No.

13         Q     Why not?

14         A     What do you mean by completing the program?

15         Q     Well, he began in September 2016, is that right?

16         A     It -- yes, that’s correct.

17         Q     So he --

18         A     2016, is that what you said?

19         Q     Right.   And he was supposed to be in the program

20               for two years?

21         A     For two -- yes, correct.

22         Q     He would have had one year of PGY-4 year and then

23               completed his final year, his PGY-5, is that

24               right?
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 1         A     Correct.

 2         Q     And when would he have completed his second year?

 3         A     If it -- his second year, if there were no

 4               accommodations made to the schedule then it

 5               would’ve ben exactly two years from when he

 6               started, but he wasn’t -- he wasn’t finishing

 7               early.   He was finishing his requirements on

 8               time, but the schedule was being accommodated to

 9               allow for that.

10         Q     So how was the schedule accommodated?

11         A     I’d have to look exactly how it was accommodated,

12               but there’s -- there’s an ability to utilize some

13               available time, vacation time, and D-Os, and

14               working some additional weekends, for example,

15               while staying withing duty hour rules so that

16               your equivalent training time is the same as all

17               residents in the program, which is a requirement

18               of the program.     And it still meets ACGME

19               requirements for time spent.

20         Q     And you felt comfortable agreeing to accommodate

21               his request and accommodate his schedule so that

22               he could complete the program within -- in less

23               than two years?

24                     MS. SAUNDERS:    Objection.
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 1               April.   I’m sure we have them here for review. I

 2               believe that was April or so.

 3         Q     So you said that you wanted to support Dr. Garg

 4               in his request to accommodate his schedule and

 5               complete the academic year in less than two years

 6               to pursue fellowships.      I mean, weren’t you

 7               concerned that had been on two written warnings,

 8               why allow him to complete the program in less

 9               than two years?

10                     MS. SAUNDERS:    Objection.

11                     You can answer.

12         A     He was not completing the program -- he was

13               completing all program requirements.        He was not

14               being relieved of any requirements of the program

15               --

16         Q     Right, in order for him to complete the

17               requirements in less than two years it required

18               him to essentially work more -- you know, not

19               work, but utilize his vacation time, days off,

20               perhaps work additional weekends.

21         A     Correct.

22         Q     Did you have any concern with agreeing to that

23               when this is someone that you put -- or issued

24               two written warnings to?
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 1                     MS. SAUNDERS:    Objection.

 2                     You can answer.

 3         A     I did have concerns.

 4         Q     Why did you allow -- why did you agree to allow

 5               him to complete the residency requirements in

 6               less than two years when you also put him on two

 7               written warnings?

 8                     MS. SAUNDERS:    Objection.

 9                     You can answer.

10         A     Dr. Garg initially in our -- even when I first

11               interviewed him said he had no interest in

12               fellowship training, that he was dedicated --

13               fully dedicated to the residency.        Once the

14               residency began, he initially that request, I

15               don’t know what changed in his mind of why he

16               wanted to do that, and I met with him to suggest

17               that he concentrate on meeting his core

18               competency requirements rather than fellowship.

19               He felt it was important.      He was very

20               passionate, very professional about it.         Very

21               passionate that he would be dedicated to it and

22               he would fulfill all the responsibilities and

23               that was -- that was his responsibility to make,

24               you know, to have that opportunity.        We weren’t
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 1         Q     Is it fair to say that he would assume -- that

 2               Dr. Garg would assume he’s continuing in the PGY-

 3               5 program when he signed that renewal letter?

 4                       MS. SAUNDERS:   Objection.

 5                       You can answer.

 6         A     I don’t know.

 7         Q     Okay.    When a resident signs the renewal letter

 8               what is your -- what do you believe that resident

 9               understands by signing that renewal letter?

10                       MS. SAUNDERS: Objection --

11         Q     What is your belief?

12                       MS. SAUNDERS: -- you can answer.     Objection.

13               You can answer.

14         A     My belief is that a resident that feels that they

15               are going to successfully complete the

16               requirements of the current academic year will

17               then continue in the next academic year.

18         Q     Right.    And if they’ve been offered an

19               opportunity to continue in their final year, that

20               it would be -- that they would understand that

21               mean that they, at least as of that date, met the

22               expectations to continue with the final year?

23                       MS. SAUNDERS:   Objection.

24                       You can answer.
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 1               is it based on?

 2                     MS. SAUNDERS:    Objection.

 3                     You can answer.

 4         A     It’s based on my -- on my understanding from

 5               employees -- hospital employee, they take very

 6               seriously, HR, any discrimination at a hospital.

 7               They wouldn’t tolerate that for any reason at

 8               all, and I didn’t review it as a resident --

 9               residency specific issue.      I viewed it as an

10               employee issue so that any protections would be

11               in place for Dr. Garg, which is why I contacted

12               HR, which otherwise is not involved in residency

13               -- residency programs directly.

14         Q     What protections are -- did you want to afford to

15               Dr. Garg as an employee?

16         A     I had no idea, that’s why I called HR.

17         Q     Did you talk to her about what protections Dr.

18               Garg was entitled to?

19         A     No, I just asked her what I’m supposed to do.

20         Q     And did Patty ask you to read the email?

21         A     I don’t recall.

22         Q     Did she ask you whether you knew what this was

23               about?

24         A     I would have told her what it was about.
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 1         Q     What did you tell her it was about?

 2         A     I would have told her about the email.

 3         Q     Okay.    So what did you tell her about the email?

 4                       MS. SAUNDERS:   Objection.

 5                       You can answer.

 6         Q     Did you read her the email?

 7         A     I don’t recall, but I certainly would have told

 8               her that I have a resident who has raised a

 9               concern of discrimination?

10         Q     What’s your understanding of what discrimination

11               is?

12         A     Discrimination is improper treatment, in this

13               case of a resident based on something other than

14               objective review of these rereads.

15         Q     And you under -- do you understand that the

16               improper treatment of the resident based on the

17               objective review of the re-read being unlawful?

18                       MS. SAUNDERS:   Objection.

19                       You can answer.

20         A     So, yes, in the sense that to me it was a buzz

21               word.    I don’t -- I didn’t know what he was

22               referring to, but I knew that there were

23               potentially significant implications which is why

24               HR was immediately notified.
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 1               schedule a meeting with HR, did you speak with

 2               him about the discrimination?

 3                     MS. SAUNDERS:    Objection.

 4                     You can answer.

 5         A     I let him know I was concerned enough to contact

 6               HR and set up a meeting and then he said that he

 7               dropped the discrimination comment.        He said he

 8               didn’t want to pursue that.       He’s not -- it

 9               wasn’t discrimination, it was the rereads that he

10               wanted to deal with, which we’ve been deal --

11               which we have been dealing with.

12         Q     You said that you tried to reach out to him

13               within an hour, you responded to him when he

14               used the word discrimination, why did you feel a

15               sense of urgency?

16         A     Because to me that’s a -- a resident that uses

17               that word, there’s significant implications of

18               inappropriate behavior and treatment that needs

19               to be addressed, and that’s beyond the residents

20               -- as an employee of the hospital that’s an H --

21               in my mind that’s first and foremost an HR issue

22               to make sure appropriate steps are taken.         So I

23               looked to HR for guidance.

24         Q     And once Dr. Garg, you believe said, he wanted to
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 1               generates them through the GME office, your

 2               Program Coordinator brings them to you and you

 3               sign them?

 4         A     Yes.

 5         Q     Okay.   Do you have any other involvement other

 6               than signing them when they’re provided to you by

 7               your Program Coordinator?

 8         A     Yes.

 9         Q     Okay.   What is that involvement?

10         A     The other involvement is if there’s a Resident

11               that’s not already determined to not be

12               continuing in the program then they would not be

13               receiving their renewal letter.

14         Q     And if you knew that -- once you learned that

15               some -- a resident may not be receiving a -- once

16               you learn that a resident may not be continuing,

17               would you notify the GME office?

18         A     Yes, of course.

19         Q     Okay.   Have you done that in the past?

20         A     What -- we have done that for if a resident is

21               transferring, for example, if they’re not

22               continuing in the Saint Vincent Hospital for any

23               reason then the -- they wouldn’t be generating

24               that renewal letter for them and beginning the
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 1               training.

 2         Q     And you recall during a determination -- the

 3               meeting in which you notified him he wasn’t

 4               continuing with the program or sometime during

 5               the appeal process, do you recall telling him

 6               that there was no opportunity for him to extend

 7               his program?

 8                      MS. SAUNDERS:   Objection.

 9                      You can answer.

10         A     At Saint Vincent Hospital you’re referring to?

11         Q     Yes.

12         A     Can you be more specific in the question, during

13               what portion of the appeal?

14         Q     I -- I think it -- let me just -- In June 21,

15               2017 Stage Two Warning follow-up Portfolio Review

16               Meeting you say --

17         A     Uh-huh.

18         Q     -- “There is no option to extend your training at

19               Saint Vincent Hospital as was done in your prior

20               program.”

21         A     Uh-huh.

22         Q     Why was there no option to extend his training?

23         A     There was no option be -- I believe I stated this

24               before, because he was functioning at a level
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 1               significantly below the R3 level, which he had

 2               already repeated that year now for a second time.

 3               We were not going to continue him -- we could not

 4               advance him and offer him another opportunity to

 5               continue at another level, below the level for

 6               which he should’ve been progressing.

 7         Q     Could you have given him an opportunity to be at

 8               some other level?

 9                     MS. SAUNDERS:    Objection.

10                     You can answer.

11         A     No.

12         Q     Why not?

13         A     What specific level are you referring to?

14         Q     Well, I’m asking if he -- you said you couldn’t

15               allow him to repeat a year that he already

16               repeated, is that right?

17         A     Correct, that was our decision.

18         Q     So was there any opportunity for him to continue

19               in the program at a lower level --

20                     MS. SAUNDERS:    Objection.

21                     You can answer.

22         Q     -- as a PGY-1 -- a PGY-2 or PGY-3 resident?

23         A     No.   If you’re not only unable to be promoted,

24               but need to be demoted, that’s not typically what
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 1                     Are we done with this?

 2                     MS. GOYAL: I may have to go back to it.

 3                     MS. SAUNDERS: Okay.     I just want to --

 4               because we’re -- she still has it marked

 5               confidential.

 6                     MS. GOYAL: From -- yeah, you can -- it’s no

 7               longer confidential --

 8                     MS. SAUNDERS: Okay.

 9                     MS. GOYAL: -- I’m going to move on to some

10               other documents -- other questions.

11                     MS. SAUNDERS: Okay.     I just don’t want to

12               burden the transcript with that.

13         BY MS. GOYAL:

14         Q     Who was Dr. Garg’s employer?

15                     MS. SAUNDERS:    Objection.

16                     You can answer.

17         A     Saint Vincent Hospital.

18         Q     And you had the authority to hire Dr. Garg as a

19               resident in the Radiology Resident Program at

20               Saint Vincent’s Hospital?

21         A     The authority, yes, I had -- that was my

22               responsibility.

23         Q     And you had the authority and the -- you had the

24               authority to terminate Dr. Garg from the
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 1               Radiology Residency Program at Saint Vincent’s

 2               Hospital, right?

 3         A     I had the authority to recommend termination.

 4         Q     Who did you recommend termination to?

 5         A     The termination -- I make the decision for

 6               termination and then on appeal then there’s a

 7               whole series of faculty members and regimental

 8               education and administrators that have the

 9               opportunity to review the decision, if that’s the

10               resident’s choice.

11         Q     So did you have the authority to make the

12               decision to terminate or did you have the

13               authority to recommend the termination?

14                      MS. SAUNDERS:   Objection.

15                      You can answer.

16         A     I have the authority to make the decision to

17               terminate.

18         Q     And did you consult with anyone at Saint

19               Vincent’s Hospital when you made the decision to

20               terminate?

21                      MS. SAUNDERS:   Objection.

22                      You can answer.

23         A     Yes.

24         Q     Who did you consult with?
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 1               together before we sat together to go over it

 2               with Dr. -- with Dr. Garg.      So she would’ve been

 3               the main person that I would’ve discussed this

 4               with.

 5         Q     What about conversations or how did you consult

 6               with Dr. Kanzaria -- I mean, sorry, Dr. Midkiff

 7               regarding the decision to terminate Dr. Garg from

 8               the program?

 9         A     Dr. Midkiff would’ve been aware from

10               conversations.

11         Q     What kind of conversations?

12         A     Being informed as an Associate Program Director

13               that that that’s the decision that we were

14               making.

15         Q     So he wasn’t consulted in terms of whether to

16               terminate?    He was consulted in terms of letting

17               him know?

18         A     Correct.

19         Q     And who’s on the Clinical Competency Committee?

20         A     That would be Dr. Berberian -- I believe to the

21               best of my recollection, Dr. Berberian, Dr.

22               Kanzaria, Dr. Midkiff, --

23         Q     Okay.   And you said --

24         A     -- and my -- and myself.
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 1         Q     When did you decide that he couldn’t meet the

 2               expectations of the Stage One and Stage Two

 3               Written Warning?

 4                     MS. SAUNDERS:    Objection.

 5                     You can answer.

 6         A     It would have been at the end of the defined

 7               period of the evaluation of that warning letter,

 8               so he would have every opportunity.

 9         Q     So you’re saying that in the second written

10               warning there would have been a period of

11               evaluation.    You would’ve waited until the end of

12               that period of evaluation to make a decision?

13         A     Correct.    That’s when we would have all the --

14               all the feedback.

15                     Do I have that letter here somewhere?        It’s

16               just the follow-up meeting.

17         Q     During the time between -- the time you issued

18               the second written warning and the time you made

19               the decision that he wasn’t able to meet the

20               expectations of the Stage One and Stage Two

21               Written Warning, had you had any conversations

22               with Dr. Garg between those two periods of time?

23                     MS. SAUNDERS:    Objection.

24                     You can answer.
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                         C E R T I F I C A T E


      COMMONWEALTH OF MASSACHUSETTS

      COUNTY OF ESSEX, SS


                 I, KAREN CASSOLA NORMAN, a Professional
            Court Reporter and Notary Public in and for the
            Commonwealth of Massachusetts, do hereby certify
            that the foregoing Deposition of Dr. David A.
            Bader, was taken before me on February 15, 2022.
            The said witness was duly sworn before the
            commencement of his testimony; that the said
            testimony was taken audio graphically by myself
            and then transcribed under my direction. To the
            best of my knowledge, the within transcript is a
            complete, true and accurate record of said
            Deposition.

                 I am not connected by blood or marriage with
            any of the said parties, nor interested directly
            or indirectly in the matter in controversy.


                  IN WITNESS WHEREOF, I have hereunto set my
            hand and Notary Seal this 14th day of March,
            2022.




                        _KAREN CASSOLA NORMAN, Notary Public


                        My Commission Expires:
                        March 17, 2028



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   PLAINTIFF EXHIBIT 3
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                     UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

                                       C.A. No. 4:20-cv-40060-DHH

                             DR. ASHU GARG,

                                             Plaintiff,

                                    v.

                VHS ACQUISITION SUBSIDIARY NO. 7 d/b/a

                 SAINT VINCENT HOSPITAL, DAVID BADER

                     JOHN MUKAI, and DOUGLAS BURD,

                                             Defendants



                           DEPOSITION OF DR. JOHN MUKAI, a

                witness called on behalf of the Plaintiff, taken

                pursuant to Notice under the applicable

                provisions under the Federal Rules of Civil

                Procedure, before Karen Cassola Norman, a CER

                and Notary Public in and for the Commonwealth of

                Massachusetts, at the Rosen Law Offices, P.C.,

                204 Andover Street, Suite 402, Andover,

                Massachusetts, on Wednesday, March 2, 2022,

                commencing at 10:00 a.m.

     J&K COURT REPORTING, 12 BUENA VISTA AVE, SALEM, MA 01970

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    ****************COMPUTER AIDED TRANSCRIPTION*************
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 1       APPEARANCES:

 2

 3             Kavita Goyal, Esq.

 4             Matthew Perry, Esq. (Appearing remotely)

 5             ROSEN LAW OFFICE

 6             204 Andover Street, Suite 204

 7             Andover, Massachusetts 01810

 8                   Counsel on behalf of the Plaintiff.

 9

10             Olivia L. Vehslage, Esq.

11             OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

12             One Boston Place, Suite 3500

13             Boston, Massachusetts 02108

14                   Counsel on behalf of the Defendants.

15

16       Also Present:

17             Dr. Ashu Garg, (Appearing remotely)

18

19

20

21

22

23

24
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 1                                   I-N–D-E-X

 2       WITNESS                       DIRECT    CROSS   REDIRECT   RECROSS

 3       Dr. John Mukai

 4       (By Ms. Goyal)                  6        ***       ***         ***

 5       (By Ms. Saunders)              **        ***       ***         ***

 6                                    EXHIBITS

 7       NUMBER                                                         PAGE

 8       1     Summary Report - Bates Stamped                               61

 9             SVH 000480-SVH 000482

10       2     Email Chain - Bates Stamped                                  84

11             SVH 000554--SVH000556

12       3     Email dated March 1, 2017 -       Bates Stamped              103

13             SVH 000557

14       4     Email dated May 17, 2017 - Bates Stamped                     105

15             SVH 000592

16       5     Resident General Evaluation - Bates Stamped                  134

17             SVH 003371-SVH 003393

18       6     Email dated May 24, 2017 - Bates Stamped                     148

19             SVH 000605

20       7     Email dated June 8, 2017 - Bates Stamped                     163

21             SVH 000625

22

23

24
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 1         A     Correct.

 2         Q     And you carry all those responsibilities?

 3         A     Correct.

 4         Q     So what are some of those responsibilities?

 5         A     The responsibilities at the hospital?

 6         Q     Yes.

 7         A     Well it’s just to cover the department as

 8               directed by my chief.      I have a very focused

 9               role.    My areas of interest are information

10               technology and emergency radiology.        And it’s

11               pretty much, that’s what I do on the -- in the

12               teaching side, and then I cover all the major

13               specialties and the, you know -- well I’ll let

14               you ask me specifically.

15         Q     When you say cover all the major --

16         A     Right.    I kind of pride myself -- I mean I do see

17               CT PET imaging, I do -- which is you know, one

18               whole area of nuclear medicine.       I do all facets

19               of MRI largely.     I do some of the latest CT

20               imaging which is CT coronary and geography -- I’m

21               the only reader.      Things like that.

22         Q     And so I want to make sure I’m clear.        So you

23               have -- you said something about teaching side.

24               So there’s a teaching portion of your job as well
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 1               as a clinical portion; is that what you’re

 2               saying?

 3         A     Yes.    Yeah.

 4         Q     Okay.    So when you were listing CT imaging, MRI,

 5               the latest CT imaging, that’s more of the

 6               clinical side?

 7         A     Yes.

 8         Q     Okay.    And then you -- in conjunction with that

 9               you also --

10         A     Well then -- actually it’s the work product side

11               if you will, to use your terms.       I mean we make -

12               - we do reports on studies in those modalities.

13               So that’s clinical.     Clinical means making those

14               things I suppose is what you would say whereas

15               the teaching is dealing with the residents.

16         Q     Yeah.    And how long have you been dealing with

17               the residents at Saint Vincent?

18         A     Well, since I was there.

19         Q     Okay.

20         A     However long that is.      Probably 2000-ish.

21         Q     And on the teaching side when you’re dealing with

22               residents what are some of your responsibilities?

23         A     My area is very focused.      I make -- basically

24               because of my experience I have a lot of
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 126 of 242



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 1               experience in emergency radiology given that I

 2               set up the department and ran it, the whole

 3               thing.   So I -- pretty much my role is to prepare

 4               the starting residents for emergency radiology

 5               and taking call.

 6         Q     So when you say starting residents, residents who

 7               are in their first year of the program?

 8         A     Correct.    Hm-mm.

 9         Q     Other than the emergency radiology and preparing

10               the first year residents for taking call, what

11               other responsibilities do you have on the

12               teaching side?

13         A     That’s it.    Actually I’m not a formal -- you know

14               there are people -- there’s a -- oh, excuse me

15               for one second.

16         Q     Sure.

17         A     I am very -- I don’t take part in the official

18               academic teaching responsibilities in the

19               department.    I teach the first-year residents

20               emergency radiology and that’s it.        You know I

21               don’t --

22         Q     Other than the first year residents, do you --

23               are you responsible for evaluating any of the

24               residents in their second year programs?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 127 of 242



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 1         A     Yes.    We’ve got -- everybody evaluates.       It’s

 2               part of the process.

 3         Q     So you’re still interacting with residents after

 4               their first year?

 5         A     Yes.

 6         Q     Okay.    In the medical malpractice lawsuit that we

 7               spoke about some time before 1990 --

 8         A     Right.

 9         Q     -- who was it that sued?

10         A     I honestly don’t remem -- I really don’t

11               remember.

12         Q     Was it a patient?

13         A     Oh, yes.    Yeah.   Sure.

14         Q     It was the patient but you don’t recall their

15               name?

16         A     No.

17         Q     Okay.    And you said it was regarding a lung

18               situation?

19         A     It was a lung biopsy, yes.

20         Q     That had a bad outcome?

21         A     Had a bad outcome.

22         Q     Did it result in --

23         A     Actually --

24         Q     -- as a fatality?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 128 of 242



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 1         Q     Yeah.

 2         A     I’m great with pictures in front of me.

 3         Q     Yeah.

 4         A     So -- yeah, something like that.

 5         Q     Okay.    Okay.   And who would you say do you report

 6               to?

 7         A     Be more specific.     In terms of my duties in the

 8               department?

 9         Q     Yes.

10         A     The chief of the department.

11         Q     And that’s --

12         A     Clearly.    Dr. Bader.

13         Q     Dr. Bader.

14         A     Yeah.

15         Q     Okay.    And how often do you interact with Dr.

16               Bader?

17         A     Oh, whenever -- you know it’s a small department

18               and we see each other regularly.       We have a

19               common office area.      I can’t give you specifics,

20               but we -- once a day when we’re there, you know.

21               Something like that.      I could be way off again.

22               I mean, again, I --.

23         Q     Do you go to the hospital every day?

24         A     When I’m assigned at work -- if you’re off --
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 1               yeah, we only cover the hospital.

 2         Q     Right.

 3         A     Right.

 4         Q     Does Saint Vincent Radiology Associates also have

 5               a separate office?

 6         A     No.

 7         Q     Okay.    So their office is in essence the

 8               hospital?

 9         A     Well, let me rephrase that.       We have an

10               administrative office outside --

11         Q     Outside of the --

12         A     -- and Dr. Bader takes care of that because he’s

13               the president of the corporation too.

14         Q     And when you say administrative office outside,

15               do you mean outside the hospital, at a different

16               address?

17         A     Correct.    We have a separate office address, fax,

18               phone.

19         Q     Do you ever go to that administrative office?

20         A     No.

21         Q     Okay.    So when you go to work you’re going to

22               Saint Vincent Hospital?

23         A     Correct.

24         Q     And do you -- in addition to serving as a back-
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 130 of 242



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 1               period of -- I assume --

 2         A     To some extent.     It’s relatively similar.      I mean

 3               you fill out the same kind of things.        Maybe

 4               there’s a general statement about overall -- I

 5               get the forms and I fill them out --

 6         Q     Yes.

 7         A     -- you know.    And I know it’s happened before, I

 8               get the form and that’s about it.

 9         Q     Yeah.    And what is your understanding of what

10               core competencies are?

11         A     You know, again lucky for me, I don’t have to

12               understand this a great detail because it is --

13               well, it is -- it’s not my area but there’s a

14               whole layer of core competencies laid out by the

15               American College or the ABR of what residents are

16               supposed to know.     And how, you know -- I know

17               that, and I know my colleagues would know it very

18               well.

19         Q     When you are asked to complete evaluations, are

20               you asked to complete an evaluation of whether

21               they meet certain core competencies?

22         A     No.    I don’t even -- I just -- I don’t know

23               specifically to be honest with you.        It’s just an

24               evaluation; they ask you questions and you fill
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 1               it out.    Again the core competencies -- those --

 2               that’s the expertise from my colleagues on the

 3               Education Committee.

 4         Q     And have you ever reviewed the core competencies?

 5         A     Yes.    I think so.

 6         Q     When was the last time you probably reviewed

 7               them?

 8         A     Oh geez, I don’t know, maybe six months ago.         I

 9               don’t -- it’s not something that’s a major area

10               of updating.    They’re pretty much standard, you

11               know, areas.    You need to know each modality, you

12               need to know each anatomic region, things like

13               that.

14         Q     And is it fair to say that based on your years of

15               doing this, you understand how to evaluate a

16               resident based on those core competencies?

17                       MS. VEHSLAGE:   Objection.

18         A     Could you say again?

19         Q     Sure.    I know you said --

20         A     I don’t understand.

21         Q     -- you don’t really know the specifics and some

22               of the people on the Education Committee would,

23               but when you’re evaluating someone on a form and

24               if the form asks about a core competency on a
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 132 of 242



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 1         Q     Do you understand what it is?

 2         A     Yes.

 3         Q     Okay.   What is it?

 4         A     Well, it’s a report read by him, and I assume it

 5               must have been -- it must have been he was on a

 6               call.   I think he did do a little of that.        And

 7               I’d marked it an R3 so that’s the sort of --

 8               residents get R2s, R3s commonly.

 9         Q     Okay.

10         A     But the 3 means that it was an obvious -- in my

11               mind a 3 is an obvious finding.       The R2s and 3s

12               mean that it’s -- and again talk to the Education

13               Committee about giving you the specifics, but in

14               my mind an R2 or an R3 is a significant miss --

15               and I could be wrong on this -- where it changes

16               patient therapy if it’s an R2 or 3.        And an R3 is

17               a big one and an R2 is a little one, but they’re

18               both important because patient management is

19               changed.

20         Q     And looking at this document, how do you know

21               that you reviewed it?

22         A     Well, I don’t, except it’s signed by me, so I

23               must have.

24         Q     Okay.
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 1         A     And in fact I gave an R3, so I gave that.

 2         Q     Okay.    So you assigned an R3 to this particular

 3               read?

 4         A     Correct.    That’s correct.

 5         Q     And do you see here on page -- in the middle of

 6               the second page of the document where it says --

 7               I’ll read -- I’ll just read it out loud,

 8               “Critical finding of possibility of intermittent

 9               small bowel volvulus and diffuse mesenteric

10               stranding were discussed by Dr. Garg of her

11               consultation with Dr. Kataoka with Lauren Dwyer,

12               ER service.”

13         A     Yeah.

14         Q     Did I read that correctly?

15         A     I see that, yes.

16         Q     So do you see that Dr. Garg -- from that -- what

17               I just read to you, would that mean that Dr. Garg

18               consulted with Dr. Kataoka --

19                       MS. VEHSLAGE:   Objection.

20         Q     -- regarding this read?

21         A     He put that there.      I can’t say whether that

22               happened or not, but he put that down there.

23         Q     Okay.    Any reason to believe he would put that

24               down there when it wasn’t true?
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 1                       MS. VEHSLAGE:   Objection.

 2         A     I have no idea.     I just can’t say.

 3         Q     And who is Dr. Kataoka?

 4         A     She was with us -- she was a partner in our

 5               group.

 6         Q     Okay.    She’s an attending?

 7         A     Yeah.    I believe -- yes.    Oh yeah.

 8         Q     Okay.    So her consulted -- according to this

 9               document Dr. Garg consulted with an attending --

10         A     Yeah.

11         Q     -- regarding the read --

12         A     Right.

13         Q     -- and then identified what the read said?

14         A     Yeah.

15         Q     And you found that that was incorrect --

16         A     Yeah.

17         Q     -- and you assigned an R3 to Dr. Garg?

18         A     Yes.    Yes.

19                       MS. VEHSLAGE:   Objection.

20         Q     Even though he consulted with an attending?

21                       MS. VEHSLAGE:   Objection.

22         A     I’m sorry, say that again.

23         Q     So even though he consulted with an attending who

24               advised him as to what should be in this finding,
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 1               report.    And you know that’s a summary.       Again

 2               it’s not my area of expertise but --

 3         Q     So do you know what the core competencies are for

 4               the ACGME guidelines?

 5         A     I’ve reviewed them.     I don’t -- I can’t --

 6               couldn’t give it to you from memory.

 7         Q     So you don’t know the list of them?        For example,

 8               medical knowledge is one of them?

 9         A     Sure.    Yeah.

10         Q     Do you know what some of the other ones are?

11         A     You know I’ve been doing this for 30 years and so

12               regardless of what the labels are, you need --

13               it’s really about them becoming competent,

14               functioning radiologists in a critical setting by

15               themselves, that’s one item and the other item is

16               passing their boards.      Those are the two big

17               ones.

18         Q     Right.    Understood.   But you also understand that

19               they need to be evaluated in some way to

20               determine whether they can meet these criterias?

21         A     Yes.

22         Q     And ACGME, my understanding, outlines these core

23               competencies that they need to meet?

24         A     Yes.
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 1         Q     So if the educational committee is the one who

 2               takes the feedback and then figures out how to

 3               communicate that with the residents, do you know

 4               why you’re asked to complete these evaluations?

 5                       MS. VEHSLAGE:   Objection.

 6         A     Can you say that again?

 7         Q     Sure.    You’re saying that you -- it’s not your

 8               area to give them feedback, you assign the rating

 9               and then it goes to the Educational Committee.

10         A     No, it’s not -- say that again.       It’s not --

11         Q     I --

12         A     Just back up and say it again.

13         Q     Sure.    I think you testified that it’s not your

14               area to give them feedback.

15         A     No, that’s not --

16         Q     That’s not correct?

17         A     No, that’s not correct.

18         Q     Okay.    So it is your area to give them feedback?

19         A     We all have the responsibility to grade them on

20               their performance in whatever it is that they’re

21               doing, yes.

22         Q     Right.    So part of your responsibility is to

23               evaluate these residents?

24         A     Yes.
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 137 of 242



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 1         Q     Okay.

 2         A     Fill out the form and send it into Dr. Bader and

 3               the committee.     Yes.

 4         Q     Okay.    And what do you believe is the purpose of

 5               filling out those forms for you?

 6                       MS. VEHSLAGE:     Objection.

 7         A     I can’t -- say that again.

 8         Q     What do you --

 9         A     What’s the purpose?

10         Q     What is your understanding of the purpose of

11               filling out those forms?

12         A     Could you be more specific?

13         Q     Yeah.    Why do you believe you’re asked to fill

14               out these forms?

15                       MS. VEHSLAGE:     Objection.

16         A     Well, it’s kind of like I said before, the whole

17               point of this is so they’re successful in

18               completing the residency and are good

19               radiologists.    The reason we fill out this form

20               is so they understand where any deficiencies that

21               there are so they can improve.         And in fact

22               that’s why it’s even graded, because it has to be

23               broken down.    As I said before, and again I’m not

24               up on the exact definitions but what fascinates
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 1                       THE WITNESS: Sure.   What I meant by that,

 2               it’s amazing.

 3         A     Oh, okay.    I read this page.

 4         Q     Let’s start with the first page.

 5         A     Okay.

 6         Q     So looking at the first page of Deposition

 7               Exhibit 2 --

 8         A     Right.

 9         Q     -- do you recognize this document?

10         A     Well now that you show it to me, yeah, and

11               clearly it’s from me to Dr. Bader.

12         Q     Okay.    Do you recall writing this email to Dr.

13               Bader?

14         A     Not really but now that I see it, I -- it’s

15               refreshing my memory, yes.

16         Q     Sure.    And when is it from?

17         A     February 28, 2017.

18         Q     And is it regarding Dr. Garg?

19         A     Yes.

20         Q     Okay.    I’m going to direct your attention to the

21               middle of the email --

22         A     Yeah.

23         Q     -- where it says, “You should find out the

24               details of why he was let go.”
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 1         A     Yeah.

 2         Q     Do you know why you wrote that?       How did you know

 3               he was let go?

 4         A     That was my sense of what happened because he

 5               left his program.      I honestly -- it was

 6               conjecture.    I don’t know.

 7         Q     So why did you say, I suspect -- “You should find

 8               out the details of why he was let go and I

 9               suspect it was because of this”?

10         A     Well, I’ll tell you, my -- it was complete

11               conjecture on my part because he was doing so

12               poorly and I think I probably assumed he was let

13               go, but I don’t know.

14         Q     So you just wrote that even though you weren’t

15               sure?

16         A     Yeah.

17         Q     Just speculating?

18         A     I think so.    Yeah.    I mean, listen, I cared -- I

19               really did care about him.      I’m surprised that I

20               was -- I mean I remember now -- this refreshes my

21               memory.   I really cared for the man.       He was a

22               good person.    He just didn’t seem to have certain

23               skills that were required, and he looked like --

24               I got a sense he was going to crash and burn.          I
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 1               had no privy to anything that was going on.         Dr.

 2               Bader was very good at keeping everything

 3               confidential because it just -- it creates

 4               unnecessary bias in how everybody looks at

 5               somebody, and he was excellent at that.         So I

 6               mean I just -- I felt very bad for him and I was

 7               hoping -- my sense of the -- because he kept

 8               doing the same -- having the same problems -- he

 9               had the same problems of not seeing something,

10               being shown how to see the thing, still not

11               seeing the thing and then not having any insight

12               that he missed the thing.      So given all that, my

13               own little tiny opinion unrelated -- just my

14               little tiny opinion -- and I’ve been around 30

15               years -- I have a feeling and I care deeply about

16               the residents -- that he wasn’t going to make it.

17               And I felt bad that he was going to crash and

18               burn.    And that’s -- ask me the question again

19               because I think I know why I’m saying this.         You

20               asked me a question?

21         Q     Yeah.    I just asked you why you wrote that he was

22               let go?

23         A     Right.    Because I was feeling bad and I thought

24               he was going to crash and burn and I was hoping
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 141 of 242



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 1               mistake, it’s a big mistake.       The normal response

 2               would be, oh geez, I made a mistake.        How can I

 3               learn?    But it was like, oh yeah, yeah, and go

 4               away.    He didn’t seem to own the mistake.

 5         Q     You also in this email -- take a look at

 6               Deposition Exhibit 2 on page 1 -- you write here

 7               that, “I realize there’s a danger to get on the

 8               bandwagon and see him as a failure as it’s known

 9               and talked about with the technologists and my

10               colleagues so there may be a huge bias here.”

11               What did you mean by that?

12         A     Again, I don’t have -- I did not have any privy

13               to any formal or even any major informal you know

14               assessments of him and again I don’t remember

15               specifics.    It just seemed as though there -- it

16               just seems there -- you know, it just seems there

17               -- he seemed to be traveling with a cloud over

18               him.    There were always people who seemed to be

19               upset with him about one thing or another.         I

20               don’t remember specifics and listen I’m cranking

21               out widgets in my thing here and then I pretty

22               much do that.    There was just a sense that he

23               must not be -- that he’s struggling.        You know

24               you can see --
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 1               I wanted Dr. Bader to know that I thought there

 2               was a serious problem with Dr. Garg being --

 3               having the equipment to be a radiologist.         Having

 4               said that, I didn’t want to trash Dr. Garg and

 5               ruin his chances of succeeding in any way as a

 6               physician and so in fact I said, you know, maybe

 7               he wants to do family practice, you know.

 8         Q     So in your opinion based on this email, you

 9               didn’t believe he could be a radiologist?

10         A     First of all, my opinion is one little piece so

11               the decision for --

12         Q     I’m asking your opinion though.

13         A     Hmm?

14         Q     Your opinion.

15         A     In my opinion?

16         Q     Yes.

17                       MS. VEHSLAGE:   Objection.

18         A     Just tell me again.

19         Q     In your opinion, based on this email --

20         A     Yeah.

21         Q     -- was it your concern that Dr. Garg could not be

22               a radiologist?

23         A     No.    No, I think I was concerned that he did not

24               have the cognitive skills to make it through.          I
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 1         Q     Which in this case would be the entire residency

 2               year?

 3         A     I can’t tell.     Is that what it is?

 4         Q     Well it says 07/01/2016 through June 30th, 2017.

 5         A     Yes.    Yes.   Yes.

 6         Q     And I’ll direct your attention to the fourth page

 7               in this packet.

 8         A     Got it.

 9         Q     Yeah.    It should be Bates stamped 3374.

10         A     Okay.

11         Q     If you look below it says, evaluation completed

12               May 22nd, 2017.       Evaluation period July 1st, 2016

13               through June 30th, 2017.      Did I read that

14               correctly?

15         A     Right.    It’s the same amount of time, right.

16         Q     And the attending is Dr. Mukai?

17         A     Yes.

18         Q     Okay.    So is this -- is it fair to say that this

19               would be your evaluation of Dr. Garg for --

20         A     Yes.

21         Q     -- the evaluation period?

22         A     Yes.

23         Q     And this is a General Evaluation?

24         A     It would seem so from the date, yeah.
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 1         Q     And so looking at the scores that you assigned to

 2               Dr. Garg -- and it continues on to the --

 3         A     Right.

 4         Q     -- next couple of pages -- you see that?

 5         A     Yes.

 6         Q     Okay.    Do you recall assigning Dr. Garg those

 7               scores?

 8         A     Not specifically, but it’s apparently what I did,

 9               yeah.

10         Q     And you believe it to be accurate?

11         A     Should be,    yeah.

12         Q     Okay.    And do you understand what a score of

13               number 4 is?

14         A     Yes.

15         Q     What is it?

16         A     Well, as it says here, very good.

17         Q     Okay.    And a score of number 3?

18         A     Yes.

19         Q     And did you assign Dr. Garg a score of 3

20               anywhere?

21         A     Yes.

22         Q     Okay.    And 3 is a score of what?

23         A     Is passing.

24         Q     Okay.    So overall your general evaluation of Dr.
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 1               I’d have to look at it in more detail.

 2         Q     Spend the time that you need because I want you

 3               to be able to testify about --

 4         A     Right.

 5         Q     -- and answer the question.

 6         A     I just -- I would have trouble doing anything on

 7               here that might ruin the chances of a resident

 8               moving forward even if they were bad.        So I

 9               suspect that these scores are pretty good here

10               and probably I was too -- a little kinder to him

11               than I should have been but --

12         Q     Are you suggesting that these are not accurate

13               scores?

14                       MS. VEHSLAGE:   Objection.

15         A     No.

16         Q     Then?

17         A     I’m suggesting that if it was close to a 2 or a 3

18               I might have given him a 3, and it’s very

19               subjective anyway.      And it’s simply answering

20               each category, sending it to the Education

21               Committee and then they deal with it.        And it was

22               not -- I’m not passing him or failing him.

23         Q     I understand.

24         A     Yeah.
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 1         Q     What is your understanding of what the Education

 2               Committee does with this information?

 3                       MS. VEHSLAGE:   Objection.

 4         A     I have no idea.     No idea.   It’s not my purview.

 5               I don’t go to meetings.      I’m not anywhere near

 6               that.

 7         Q     Is it fair to say that the Education Committee is

 8               expecting you to be truthful and accurate in this

 9               evaluation?

10                       MS. VEHSLAGE:   Objection.

11         A     Yeah.    Yeah.

12         Q     So when you gave him a 4 or a 3, that was what

13               you believed his evaluation to be, correct?

14                       MS. VEHSLAGE:   Objection.

15         A     Within -- say that again.

16         Q     When you assigned him a value of -- whatever

17               numerical value you assigned to him -- you

18               believed that to be an accurate representation of

19               your evaluation of his performance?

20                       MS. VEHSLAGE:   Objection.

21         A     I don’t think accuracy is an effective term

22               because it’s very subjective and somewhat

23               relative.    No I don’t think accuracy applies to a

24               math number being correct.      This is a subjective
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 147 of 242



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 1               assessment of him.

 2         Q     Your subjective assessment?

 3         A     Yeah.    Hm-mm.

 4         Q     Okay.    And you’re objectively assessing him as

 5               satisfactory performing under medical knowledge

 6               under these specific categories?

 7         A     I think -- that’s what I did, yeah.        It says

 8               satisfactory, correct.

 9         Q     And you understand that this then goes to the

10               Education Committee, and though you don’t know

11               what they do with it, you understand that they

12               may look at this and --

13         A     Yes.    Correct.

14         Q     -- for some purpose?

15         A     Right.

16         Q     But you have no idea what that purpose is?

17         A     I know they’re going to evaluate his overall

18               performance, yeah.

19         Q     So they’re looking at how you evaluate him?

20         A     No.    They’re looking at how he is performing.

21               They’re not looking at how I evaluate him.

22         Q     Fair enough.      But they are looking at how he is

23               performing and you’re saying he’s performing

24               satisfactory when it comes to medical knowledge?
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 1                      MS. VEHSLAGE:   Objection.

 2         A     That was my overall conclusion at the end of the

 3               year, feeling bad for him, yes.

 4         Q     Why do you say feeling bad for him?        Are you

 5               saying he didn’t --

 6         A     Because he was horrible.      He couldn’t see

 7               anything and it was very, very painful for me to

 8               see him not be able to succeed, and I think I’m a

 9               fairly kind grader.     In fact I’m surprised that

10               there’s -- that there are even 2s here because I

11               don’t like -- at the end of the year I don’t want

12               to hurt anybody.     It was just like my other thing

13               to Bader saying you know I don’t think he can see

14               things but please don’t -- like keep it in mind,

15               but don’t hurt him.     And I don’t want to hurt the

16               man.   So it’s never -- these go into a huge, a

17               mass of data that is one small piece of how he’s

18               evaluated.    This is one small piece and I’m a

19               tiny piece of that piece.      The overall grade of

20               how he does has to do with a bazillion things

21               that -- God bless Dr. Bader and the Education

22               Committee -- I don’t have to deal with his

23               scores, many other things.      I don’t even know

24               what they are.
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 1         Q     I appreciate that --

 2         A     So--.

 3         Q     -- but I’m asking about you.

 4         A     Yeah.

 5         Q     I’m not asking about the Education Committee.

 6               I’m not asking about what other physicians

 7               evaluate.    I’m asking about you.

 8         A     Right.    Okay.

 9         Q     You completed this evaluation.

10         A     Yes.

11         Q     And you assigned him a four on several categories

12               and a three on several other categories.

13         A     Yes.

14                       MS. VEHSLAGE:   Objection.

15         Q     And I --

16         A     Yes I apparently did.

17         Q     Okay.    And that was accurate?

18                       MS. VEHSLAGE:   Objection.

19         A     Accuracy is a funny term.      Accuracy means that

20               one plus one is two.      This was my subjective

21               evaluation of him.

22         Q     Do you believe your subjective evaluation to be

23               accurate of your understanding of his

24               performance?
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 1                       MS. VEHSLAGE:   Objection.

 2         A     Again, I can’t answer -- accuracy is not a term I

 3               can respond to.

 4         Q     Okay.

 5         A     Like is it accurate that you’re beautiful?         Is

 6               that accurate?     Is that an accurate comment?

 7               It’s a subjective comment.

 8         Q     And I’m asking you when you assigned it a 3 or a

 9               4, were you accurately assigning it a 3 or a 4?

10                       MS. VEHSLAGE:   Objection.

11         A     I would say that I knew that I was putting down a

12               3 and I knew that I was putting down a 4, yeah.

13         Q     Okay.    And when you knew you were putting that

14               down, what did you understand that to mean?

15                       MS. VEHSLAGE:   Objection.

16         A     It was a 3 or a 4.

17         Q     Okay.    And is this your comment here below -- at

18               the end of your scoring on 375 -- 3375?

19         A     Hold on.

20         Q     Evaluation comments --      I’ll read it.    “Very

21               receptive to feedback.      Not sure, sometimes

22               issues discussed remain issues.       But there is

23               progress.    A for effort.”

24         A     That’s --
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                         C E R T I F I C A T E


      COMMONWEALTH OF MASSACHUSETTS

      COUNTY OF ESSEX, SS


                 I, KAREN CASSOLA NORMAN, a Professional
            Court Reporter and Notary Public in and for the
            Commonwealth of Massachusetts, do hereby certify
            that the foregoing Deposition of Dr. John Mukai,
            was taken before me on March 2, 2022. The said
            witness was duly sworn before the commencement of
            his testimony; that the said testimony was taken
            audio graphically by myself and then transcribed
            under my direction. To the best of my knowledge,
            the within transcript is a complete, true and
            accurate record of said Deposition.

                 I am not connected by blood or marriage with
            any of the said parties, nor interested directly
            or indirectly in the matter in controversy.


                  IN WITNESS WHEREOF, I have hereunto set my
            hand and Notary Seal this 20th day of March,
            2022.




                           KAREN CASSOLA NORMAN, Notary Public


                           My Commission Expires:
                           March 17, 2028



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   PLAINTIFF EXHIBIT 4
Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 153 of 242
                                                            Pages:     1-105
                                                         Exhibits:        16

                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                   CIVIL ACTION NO.: 4:20-cv-40060-DHH




          * * * * * * * * * * * * * * *
           DR. ASHU GARG,
                     Plaintiff

           vs.

           VHS ACQUISITION SUBSIDIARY
           NO. 7 d/b/a SAINT VINCENT
           HOSPITAL, DAVID BADER, JOHN
           MUKAI, and DOUGLAS BURD,
                      Defendants
          * * * * * * * * * * * * * * *



                            DEPOSITION of DOUGLAS BURD, a witness

                 called on behalf of the Plaintiff, taken pursuant to

                 the applicable provisions of the Federal Rules of

                 Civil Procedure, before Maria C. Puglisi, Professional

                 Court Reporter and Notary Public in and for the

                 Commonwealth of Massachusetts, at Rosen & Goyal, P.C.,

                 204 Andover Street, Andover, Massachusetts 01810, on

                 Wednesday, March 9, 2022, commencing at 9:00 a.m.




          __________________________________________________________

                              J&K COURT REPORTING
                                12 Buena Vista Avenue
                             Salem, Massachusetts 01970
                                    (978) 825-9171
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                                                                       2

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   ALSO PRESENT

   Dr. Ashu Garg (attended via Zoom)
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                                                                             3

                                  I N D E X

   DEPOSITION OF:                  DIRECT     CROSS    REDIRECT        RECROSS

   DOUGLAS BURD

      (By Ms. Goyal)                  5




                               E X H I B I T S

   No.     Description                                                   Evid

     1     Email from Brian Midkiff dated 11/02/16                         30
     2     Individual Resident Evaluation of Ashu                          32
           Garg completed 01/02/17

     3     CT Exam Report dated 10/29/16                                   45

     4     CT Exam Report dated 11/03/16                                   47

     5     Radiology Exam Report dated 10/29/16                            49

     6     CT Exam Report dated 10/30/16                                   51

     7     CT Exam Report dated 11/03/16                                   54

     8     CT Exam Report dated 10/31/16                                   58

     9     Individual Resident Evaluation of Ashu                          64
           Garg completed 12/08/16

   10      Email from David Bader dated 01/03/17                           71

   11      Email from Ashu Garg dated 03/02/17                             73

   12      Individual Resident Evaluation of Ashu                          76
           Garg completed 04/26/17

   13      Individual Resident Evaluation of Ashu                          84
           Garg completed 05/04/17

   14      Individual Resident Evaluation of Ashu                          87
           Garg completed 06/14/17

   15      Resident Comments - All Evaluations                             97
           dated 06/28/17

   16      Individual Resident Evaluation of Ashu                          98
           Garg completed 08/07/17
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                                                                            16

 1      A     Approximately two years.

 2      Q     And prior to that?

 3      A     Prior to that, I was at Leominster Hospital.

 4      Q     And do you recall how many years you were at

 5            Leominster Hospital?

 6      A     I believe it was just under one year.

 7      Q     And when you first began your employment at Saint

 8            Vincent's Radiological Associates, what was your

 9            position?

10      A     Staff radiologist.

11      Q     Do you still hold that position?

12      A     I do.

13      Q     Has your position changed at all since the initial

14            time?

15      A     No.

16      Q     Have you ever been terminated from a job?

17      A     No.

18      Q     And as a staff radiologist, who do you report to?

19      A     Dr. Bader, who’s the chief of the department.

20      Q     And when you say “department,” you mean the radiology

21            department?

22      A     Yes.

23      Q     And as a staff radiologist, what are your

24            responsibilities?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 157 of 242

                                                                            17

 1      A     I'm responsible for reading various radiologic cases,

 2            overseeing residents, teaching residents.

 3      Q     And how long have you been overseeing and teaching

 4            residents?

 5      A     Since the beginning.

 6      Q     So, the past 14 years?

 7      A     (No audible reply.)

 8      Q     So, you said you've been overseeing and teaching

 9            residents since the beginning.       Is there any

10            particular area or specialty that you teach

11            residents?

12      A     My particular area of interest is neuroradiology and

13            MRI, but I am a general radiologist.        So, I teach

14            general radiology, which is most every modality.

15      Q     And would you consider yourself part of the education

16            committee of the radiology residency program at Saint

17            Vincent's Hospital?

18      A     I don't know what that is.

19      Q     and you said you report to Dr. Bader?

20      A     Correct.

21      Q     How often do you speak with Dr. Bader?

22                         MS. VEHSLAGE:   Objection.    You can answer.

23      A     Several times a week.

24      Q     Is that generally in person?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 158 of 242

                                                                            19

 1      A     Some are.    I actually don't know their specific ages.

 2      Q     And as part of overseeing and teaching residents, do

 3            you evaluate residents, as well?

 4      A     Yes.

 5      Q     And how are they evaluated by you?

 6      A     We have routine forms that are given to us, assigned

 7            to us by the residency coordinator to evaluate a

 8            resident that we may have seen for a certain period

 9            of time in a certain rotation.       For example, someone

10            who was doing MRI for the week of “X” or “Y” and they

11            may want my input of my perception of what they were

12            like for that time frame.

13      Q     And is that because you would have been part of doing

14            the MRIs for that week in particular?

15      A     Correct.    So, I would have been assigned to MRI

16            coverage at some point within that time frame.          So, I

17            would have knowledge and the ability to answer the

18            evaluation.

19      Q     And you said there's forms to evaluate the residents.

20            How do you know when it's time for you to complete a

21            form?

22      A     We get emails.     Well, they're standardized types of

23            evaluations.

24      Q     And who do those emails come from?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 159 of 242

                                                                            22

 1            evaluation, but it's simply over the course of the

 2            time frame.

 3      Q     So, I just want to make sure I understand that.

 4                        When you say it's not specific, you're not

 5            scheduling a meeting to have an evaluation meeting

 6            with the resident.     It's more in the course of

 7            practicing medicine?

 8      A     Correct.

 9      Q     And are you involved with the process of any sort of

10            performance improvement plan of the resident?

11      A     I am not.

12      Q     Do you know who is?

13      A     I believe it's Dr. Bader.

14      Q     Are you part of the clinical competency committee?

15      A     No.

16      Q     Do you know what that is?

17      A     No.

18      Q     But you know you’re not part of it.        Do you know who

19            is part of the clinical competency committee at Saint

20            Vincent's Hospital?

21      A     No.

22      Q     And as part of the evaluations that you complete, the

23            written evaluations or the electronic evaluations

24            complete, do you evaluate a resident’s ability to
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 160 of 242

                                                                            23

 1            meet core competencies?

 2      A     I believe it's implied within the evaluation, how

 3            they're proceeding according to their specific age of

 4            residency that they're in, the level of residency

 5            that they're in.

 6      Q     Do you know what the core competencies are?

 7      A     Not specifically.     It's more of a feeling of where

 8            they should be given their time frame.

 9      Q     When you say “given their time frame,” you mean which

10            year of residency they're in?

11      A     During their level of experience.        For example, it

12            might be common for a beginning first-year to miss a

13            pneumonia on a chest X-ray, but an ending fourth-year

14            should virtually never miss an obvious pneumonia on a

15            chest X-ray, just for a matter of perspective.

16      Q     Using that same example, would it be fair to say the

17            difference between a first-year and a fourth-year is

18            that –- well, let me ask you.

19                        What is the difference between a first-year

20            and a fourth-year that you would expect a first-year

21            to perhaps miss it but rarely to expect a fourth-year

22            to miss it?

23                        MS. VEHSLAGE:    Objection.    You can answer.

24      A     It's really one of experience.       So, you know, a
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 161 of 242

                                                                            24

 1            first-year may have only seen a few pneumonias in his

 2            or her experience, you know, beginning the residency.

 3            But as time goes on, one starts to see more and more

 4            pathology; one starts to see more and more different

 5            types of the appearances of different pathologies,

 6            but the appearances of similar pathologies in

 7            multiple different forms so that as they gain

 8            experience, their ability to detect and to understand

 9            what they're looking at is always increasing.          So,

10            from one year to the next year to the next year,

11            their ability to detect pathology is improving

12            continuously.

13      Q     So, I believe you testified when I asked you about

14            the core competencies that it’s a feeling of where a

15            resident should be, given their time frame?

16      A     Correct.

17      Q     Have you heard the term, though, “core competencies”?

18      A     I think it's something that Dr. Bader uses for his

19            evaluation.    I don't know the specifics of what they

20            are or how many there are or even how he uses them,

21            you know, in his evaluation.

22      Q     I understand you may not know the specifics or the

23            number or how he uses them.       Do you know any of them?

24      A     I mean, I have a feeling for what they should be --
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 162 of 242

                                                                            25

 1            you know, medical knowledge, ability to detect -- you

 2            know, to visualize things on images -- but I don't

 3            know what they specifically are.

 4      Q     So, when you're completing an evaluation, you're

 5            answering the questions that they ask in --

 6      A     Yes.

 7      Q     -– evaluating the resident?

 8                        Are you familiar with the ACGME guidelines?

 9      A     I am not.

10      Q     Not?    Do you know what they are, generally?

11      A     I do not.    I do not know.    Dr. Bader would be the

12            person to answer those questions.

13      Q     And do you know the plaintiff in this case, Dr. Ashu

14            Garg?

15      A     Yes.

16      Q     How do you know him?

17      A     Through the residency.

18      Q     And when did you first hear about Dr. Ashu Garg?

19      A     I don't remember the exact time.        I remember hearing

20            that he was coming over as a third-year resident from

21            another program.     So, it would have been a short time

22            before he arrived.

23      Q     Do you remember who told you that he was coming over

24            as a third-year in the program?
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 163 of 242

                                                                            26

 1      A     I believe it was Dr. Bader.

 2      Q     Did Dr. Bader tell you anything else other than

 3            Dr. Garg was coming in as a third-year in the

 4            program?

 5      A     Nothing; no.

 6      Q     Did you ask Dr. Garg about –- strike that.

 7                        Did you ask Dr. Bader about Dr. Garg's

 8            prior residency?

 9      A     No.

10      Q     Was it unusual for a resident to enter the program in

11            their third year?

12      A     In our experience, we don't get many mid-range

13            entries because we have, for the most part, a fairly

14            stable resident staffing.

15      Q     Do you know why in that particular year there was a

16            vacancy for a mid-entry resident?

17      A     I believe someone had left that would have been, at

18            that point, a third-year.      In other words, there was

19            a gap that needed to be filled.

20      Q     Were you involved with the hiring of Dr. Garg?

21      A     No.

22      Q     And you said other than learning from Dr. Bader that

23            Dr. Garg was coming in as a third-year in the

24            program, you were not told anything else about
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 164 of 242

                                                                            38

 1            reading a CT.     You know, reading X-rays and

 2            ultrasounds or what have you, whether or not it's

 3            during the night or during the day, it's still

 4            reading those cases.

 5                        So, as a third-year, having completed his

 6            third year at another institution, meaning that he

 7            has done three years of radiology under his belt,

 8            that the mistakes that were being made were not

 9            consistent with that level of education.

10      Q     Is it fair to say, though, that when a resident is

11            completing night float, that there's an added level

12            of pressure?

13      A     Absolutely.

14      Q     Why is that?

15      A     They're acting as an independent individual.         They're

16            essentially acting as a radiologist, a fully

17            functioning radiologist.      Of course, all residents

18            have backup at any point.      They can call the

19            attending who's covering at any point, but the point

20            being that when a resident takes night float, they

21            are alone in the hospital and they are fielding

22            questions from various sources, whether they be the

23            emergency room or in-house patients, residents,

24            attendings, technologists; for example, which
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 165 of 242

                                                                            39

 1            examination to perform or how to perform it, various

 2            issues that arise during the course of general

 3            practice.

 4      Q     So, it's fair if a resident hasn't ever completed a

 5            night float, then they may not have acted as a fully

 6            functional radiologist alone in a hospital?

 7                         MS. VEHSLAGE:   Objection.

 8      Q     Is that fair to say?

 9      A     I’m not aware of what he did in his previous program.

10      Q     Did you ask him?

11      A     I did not.

12      Q     So, even though you had these concerns, you didn't

13            have a conversation with him about it?

14      A     No.

15      Q     Why not?

16      A     He was a third-year and he was taking night float.

17            Third-years should have a large font of knowledge of

18            radiology under their belts.       They should have the

19            ability to function in an independent fashion.          And I

20            don't know that it matters whether or not they have

21            or had not, they should still have the ability to do

22            so.   They need to have knowledge; they need to see

23            findings on cases; they need to make clinical

24            decisions as to the importance of those findings and
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 1            to relate those findings to the appropriate

 2            personnel.    So, from my perspective, as a third-year,

 3            he was not where he should have been in terms of his

 4            ability to function.

 5      Q     You said it shouldn't matter whether they have or

 6            have not had this sort of experience.        But you didn't

 7            even know that, whether he did or not, right?

 8                         MS. VEHSLAGE:   Objection.

 9      A     I don't understand the relevance.

10      Q     You don’t understand the relevance –-

11      A     I don't understand what you’re -– I’m not sure what

12            you’re asking.

13      Q     Sure.   You said that what experience level they had

14            shouldn't matter.

15      A     I don’t believe I said that.

16      Q     Let me clarify.     The question I asked you is why not

17            have a conversation with him about the fact that you

18            didn't think he was able to independently function as

19            a third-year.

20      A     I sent in my evaluation.      And I would add that every

21            case that we review that a resident does has an

22            evaluation associated with a level of agreement.          Let

23            me rephrase that.

24                         Every case that we read from a resident is
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 1            evaluated by the attending.       If we agree, we simply

 2            sign off the case as agreeing.       If we don't agree,

 3            there are levels of disagreement, as you may be

 4            aware, that we have sort of gradations of the miss,

 5            if the resident makes a miss, for example.         We call

 6            them R1, R2, R3, R4.      And the resident is encouraged

 7            by Dr. Bader to seek out the attending for any

 8            significant miss that they have or any questions that

 9            they have.    And Dr. Garg has never spoken to me about

10            any single miss, although he's had far away more

11            misses than any resident in my experience.

12      Q     So, I understand your position is Dr. Garg never

13            spoke to you about these misses --

14      A     Correct.

15      Q     -- that you found.

16                         Did you speak to him about them?

17      A     I didn't.    I did not --

18      Q     Why not?

19      A     -- specifically.     In the course of the busy day we --

20            let me rephrase that.      During the night float, I

21            don't think I sought him out to discuss specific

22            misses.    But during the course of the day when we

23            review cases I, of course, go over misses that he had

24            on cases that we're reading out together.         That's
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 1            part of my job, to go over the cases that he's

 2            reading and to evaluate him and to tell him what I

 3            think of what the findings are and what they mean and

 4            what needs to be done, et cetera.

 5      Q     And what do you recall about those conversations?

 6            What do you recall about what Dr. Garg's response

 7            was?

 8      A     My general perception is that there was a very large

 9            number of significant pathologies that were missed,

10            and there were some cases where there were some

11            pathologies that were caught.       But there were some –-

12            a large number of cases that were missed that were of

13            the range of expectation for that level of training

14            such that my concern was that there was a

15            considerable danger in letting him be an independent

16            functioning resident during the course of the

17            evening.

18      Q     And so, what I asked you was, what was Dr. Garg’s

19            response when you had these conversation with him?

20      A     I don't recall his specific response.        I don't recall

21            the specific conversations, to be honest.

22      Q     So, you believe you had these conversations but you

23            have no recollection of what Dr. Garg said in

24            response?
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 1      Q     And when you review the cases each day, you said, do

 2            you assign a rating -- R1, R2, R3 or R4 -- if there

 3            is any disagreement?

 4      A     I do.

 5      Q     And were you aware that Dr. Garg had other attendings

 6            review some of your review of his cases?

 7      A     No.

 8      Q     Would you be surprised to learn that several

 9            attendings disagree with some of the ratings that you

10            issued to Dr. Garg?

11                        MS. VEHSLAGE:    Objection.

12      A     Yes.

13      Q     You'd be surprised?

14      A     Yes.    Well, there are disagreements and there are

15            disagreements.     So, there are large findings and

16            small findings.     Some people may disagree a little

17            bit with maybe a minor finding, but I would be very

18            surprised of any significant changes.

19                                   (Exhibit 3 marked; CT Exam Report

20                                    dated 10/29/16)

21      Q     I’m going to show you a document that's been marked

22            as Deposition Exhibit 3.      When you’ve had a chance to

23            look at it, let me know.

24                        MS. VEHSLAGE:    Take your time.
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 1      A     (Witness reviewing exhibit.)       Okay.

 2      Q     Do you know what this document is that has been

 3            marked as Deposition Exhibit 3?

 4      A     This is a report that I have signed off on from

 5            Dr. Garg.

 6      Q     And do you recall when that was?

 7      A     I don't recall the report but looking at the date,

 8            the date of service was 10/29/16.

 9      Q     And do you see what rating you issued to Dr. Garg?

10      A     I do; R3.

11      Q     And is it your handwriting here on the front page?

12      A     No.

13      Q     The 11/14?

14      A     No.

15      Q     What about in the top right-hand corner?

16      A     Top right-hand corner?       Dr. Candia?

17      Q     That’s not your handwriting?

18      A     No.

19      Q     Would you be surprised to learn that Dr. Candia

20            reviewed this finding and issued an R2 rating?

21                         MS. VEHSLAGE:    Objection.

22      A     Yes.

23      Q     You would be surprised?

24      A     Yes.
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 1      Q     Why would you be surprised?

 2      A     Because it looks like from what I'm saying here, from

 3            my number 3, “There is enhancement noted about the

 4            common duct.    This can be seen with cholangitis.”

 5            And it's not clear to me -- I mean, R2 is a little

 6            bit less worrisome than an R3, but it looks to me

 7            like based on what I'm writing, that a concern for

 8            cholangitis, which is possibly a significant clinical

 9            scenario, would be something that I would give an R3

10            for.   So, yes.

11                        Now, it may very well be that some of the

12            attendings didn't have full understandings of the

13            differences between R2 and R3.       Certainly they would

14            have had -- I've seen that in the past, but certainly

15            they would have no problem distinguishing R1 from R4

16            or, you know, that type of thing.        But sometimes the

17            R2 and R3 tends to be a little bit different.

18                        But nonetheless, based on what I've written

19            here, particularly “There is enhancement about the

20            common duct.    This can be seen with cholangitis,”

21            that's a potential significant clinical finding.

22                                   (Exhibit 4 marked; CT Exam Report

23                                    dated 11/03/16

24      Q     I'm going to show what been marked as Deposition
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 172 of 242

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 1            Exhibit 4.

 2      A     Okay.

 3      Q     When you’ve had a chance to look at it, let me know.

 4                         MS. VEHSLAGE:   Take your time.

 5      A     (Witness reviewing exhibit.)       Okay.   Let’s see.

 6      Q     Do you know what this document is that’s been marked

 7            as Deposition Exhibit 4?

 8      A     Yes.    This is a cervical spine CT examination that I

 9            have overread from Dr. Garg’s preliminary report.

10      Q     And do you recall the time frame in which this case

11            was reviewed?

12      A     I don't recall the specific case but looking at the

13            date, it's 11/3/16.

14      Q     And did you issue a rating to Dr. Garg?

15      A     Yes.    That was an R3.

16      Q     And the handwriting that's on Deposition Exhibit 4,

17            is any of that handwriting yours?

18      Q     Deposition Exhibit 4.      Is any of that handwriting

19            yours?

20      A     I do not believe so; no.

21      Q     Would you be surprised to learn that Dr. Kanzaria

22            reviewed your finding and issued an R2 rating?

23                         MS. VEHSLAGE:   Objection.

24      A     Yes.    I'm reading what Dr. –- if this is
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 1            Dr. Kanzaria’s writing, she said “periapical lucency,

 2            may be abscess” and I wrote in my thing, “Periapical

 3            abscesses are seen about the right posterior

 4            mandible.”    So, she's saying “may be abscess” and I'm

 5            saying that it is an abscess.

 6      Q     So, you have a disagreement and as a result she

 7            assigned a lower --

 8      A     Right.

 9      Q     -– a little less concern with the miss?

10      A     From my point of view, if something may be an abscess

11            -- even if I had said it may be an abscess, you know,

12            that's a significant clinical finding.         Something

13            that may be an abscess, even deferring to the lower

14            finding, is a significant clinical finding.         I don't

15            know the specifics of the case.       I don't remember the

16            case, but I would say that something that may be an

17            abscess would be significant and that the ordering

18            physician or clinician would want to know that.

19                                   (Exhibit 5 marked; Radiology Exam

20                                    Report dated 10/29/16)

21      Q     I’m showing you a document that's been marked as

22            Deposition Exhibit 5. Let me know when you’ve had a

23            chance to look at it.

24      A     (Witness reviewing exhibit.)       Okay.   So, this is
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 1            something that I gave an R3 to and the reviewer gave

 2            an R2 to.

 3      Q     Is it your handwriting that’s on SVH 491 or 492?

 4      A     No.

 5      Q     And would you be surprised to learn that Dr. Kanzaria

 6            assigned an R2 rating for this?

 7                        MS. VEHSLAGE:    Objection.

 8      A     Yes.   As I read this, she's commenting on my sentence

 9            that says, “There may be a left-sided pneumothorax

10            although this may be artifactual.”        And then there's

11            an arrow that points to an R2 which says, “As he

12            said” -- it says, “R2 -- as he said may be

13            artifactual, reviewed with Ashu.”

14                        So, what I'm saying is that there may be a

15            left-sided pneumothorax or it may be artifactual, and

16            that's, again, a clinically significant finding.          So,

17            I believe that the difference here is one of

18            interpretation of what R2 and R3 means, not of the

19            finding.

20      Q     Is it fair to say you're a little bit more harsh

21            than --

22      A     I’m probably a little bit more –- I’m more aware than

23            Dr. Kanzaria was as to the true definitions and

24            distinctions.     In my experience, a lot of the
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 175 of 242

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 1            attendings have some difficulty with the differences

 2            between R2 and R3.

 3                                   (Exhibit 6 marked; CT Exam Report

 4                                    dated 10/30/16

 5      Q     I’m showing you a document that's been marked as

 6            Deposition Exhibit 6.

 7      A     (Witness reviewing exhibit.)       Okay.

 8      Q     Do you know what this document is that's been marked

 9            as Deposition Exhibit 6?

10      A     It's a CT of the brain that's dated 10/30/16.

11      Q     And was this one of the cases that you reviewed?

12      A     Yes.

13      Q     For Dr. Garg?

14      A     Yeah.

15      Q     And do you recall looking at the dates what time

16            frame?

17      A     Well, it was done 10/30/16 and it was reviewed 10/31.

18            So, I imagine that it was done over the evening

19            before midnight and then reviewed the next morning.

20      Q     And this was during Dr. Garg’s first night float?

21      A     If you say so.

22      Q     And is it your handwriting that's on the first or

23            second page of Deposition Exhibit 6?

24      A     I don't see -- no; it’s not, as far as I know.
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 1      Q     And you assigned an R4 rating to Dr. Garg?

 2      A     Yeah.

 3      Q     Would you be surprised to learn that Dr. Prakash

 4            assigned an R2/R3 rating for this finding?

 5                        MS. VEHSLAGE:    Objection.

 6      A     Yes.    I don't even know what an R2/R3 means.       It's

 7            either one or the other.

 8      Q     Again, you issued a harsher rating than the attending

 9            that reviewed this finding?

10                        MS. VEHSLAGE:    Objection.

11      A     It would appear so.

12      Q     Dr. Burd, how is a “may be” -- not looking at that

13            particular deposition exhibit, but I think there are

14            a couple of deposition exhibits that we've talked

15            about where you said you had found that there was --

16            “may be a finding.”     How is a “may be a finding”

17            significant?

18      A     Let's say, for example, that a patient may have a

19            pneumothorax but I can't be 100 percent sure looking

20            at a chest X-ray.     So, a pneumothorax is a collapse

21            of the lung.    Now, if it's an older patient, for

22            example, that may cause difficulty breathing; that

23            may cause hypoxia; they could end up with a heart

24            attack or worse, death, if it should get worse and go
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 1            wasn't mentioned.     These are significant -- and for a

 2            third-year to have missed this finding -- in my

 3            experience, that's not something that a third-year

 4            should miss.

 5      Q     And so, you assigned an R4 rating to this --

 6      A     I did.

 7      Q     –- you were very concerned about it?

 8      A     I was very concerned that this could have had

 9            clinical significance.

10      Q     But the reviewer disagreed?

11      A     The reviewer disagreed.

12      Q     I’m going to show you a document that's been marked

13            as Deposition Exhibit 7.      I believe you testified

14            that, you know, R2, R3, maybe there's not as much of

15            a difference.     But looking at Deposition Exhibit 7 --

16            let me know when you’re ready.

17      A     Okay.

18      Q     Do you recognize this document?

19      A     I recognize this document as being a combination CT

20            brain and facial bone done on 11/03 and overread by

21            me.

22      Q     And you have assigned a rating of an R3 to Dr. Garg?

23      A     I did.

24      Q     And would you be surprised to learn that Dr. Prakash
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                                                                            57

 1            assigned in a grading of R1?

 2                         MS. VEHSLAGE:    Objection.

 3      A     Yes.

 4      Q     That’s a significant difference, R3 and R1?

 5      A     It’s a difference; yes.

 6      Q     Again, you assigned a harsher rating to Dr. Garg than

 7            Dr. Prakash?

 8                         MS. VEHSLAGE:    Objection.

 9      A     (Witness reviewing exhibit.)         Okay, yes.   So, what's

10            going on here is that Dr. Garg mentioned some of the

11            findings in the body of the report but didn't mention

12            them specifically in the impression.         For example --

13      Q     I think there’s a question.       I asked a question of

14            whether --

15      A     No; you didn't ask a question.

16      Q     Yes.   I said you assigned a harsher rating to

17            Dr. Garg –-

18      A     That’s not a question.       That's a statement.

19      Q     I'm asking you.     Did you assign a harsher rating to

20            Dr. Garg than Dr. Prakash?

21                         MS. VEHSLAGE:    Objection.

22      A     This is by Dr. Prakash?       Yes.

23      Q     You did?

24      A     Yes.
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                                                                            58

 1      Q     And it was significantly harsher, because you

 2            assigned an R3 and Dr. Prakash assigned -- or the

 3            reviewer assigned an R1?

 4                         MS. VEHSLAGE:    Objection.

 5      A     It is harsher.

 6                         MS. GOYAL:    I’m going to just take a short

 7            five-minute break.

 8                         MS. VEHSLAGE:    Yes.    That will be great.

 9            Thank you.

10                         (Break taken from 10:17 to 10:25 a.m.)

11                                      (Exhibit 8 marked, CT Exam Report

12                                      dated 10/31/16

13      Q     I’m going to show you a document that's been marked

14            as Deposition Exhibit 8.       Let me know when you've had

15            a chance to look at it.

16      A     Okay.

17                         MS. VEHSLAGE:    Is there a copy for me?

18                         MS. GOYAL:    Oh, yes.    I'm sorry.

19      A     (Witness reviewing exhibit.)         Okay.

20      Q     Do you know what the document that's been marked as

21            Deposition Exhibit 8 is?

22      A     Yes.    This is a CT of the brain dated 10/31/16.

23      Q     And is this one of the cases that you have reviewed

24            for Dr. Garg?
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 1                         MS. VEHSLAGE:   Objection.

 2      A     So, as I explained, sometimes the distinction between

 3            R2 and R3 is not very obvious to the larger attending

 4            staff.   But to answer your question, I assigned what

 5            I felt was in the correct light of the true R3

 6            meaning.

 7      Q     And other attendings disagreed?

 8      A     And the other attendings for this last one said R2/R3

 9            and some -- so, it’s really -- yeah.        So, there's

10            some slight disagreements with other attendings.

11      Q     Would you agree that that could be confusing to a

12            resident –

13                         MS. VEHSLAGE:   Objection.

14      Q     –- for attendings to assign different ratings to

15            their cases?

16      A     I really don’t know.

17      Q     It could be, though?

18      A     I really don’t know.

19      Q     And did you hear that Dr. Garg complained about

20            you --

21                         MS. VEHSLAGE:   Objection.

22      Q     -- in regards to this matter?

23      A     I did hear about it.      I don't remember when I heard

24            about it, though.     I don't recall, because I don't
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 1            think I heard about it until well after it happened.

 2      Q     Some time later that year or --

 3      A     I don't recall.

 4      Q     And how did you hear about this?

 5      A     I think Dr. Bader may have mentioned it to me.

 6      Q     Do you recall what Dr. Bader mentioned to you?

 7      A     I don't, specifically.

 8      Q     Generally?

 9      A     That he was complaining about my readings or he's --

10            I don't remember specifically what was said.

11      Q     Generally, what else do you remember other than

12            Dr. Garg was complaining about his readings?

13      A     That's all I remember.

14      Q     And what did you say in response?

15      A     I stand by my readings.      So, I don't remember any

16            specific conversation, nor was there any issues that

17            were presented to me.

18      Q     What do you mean issues?

19      A     Like “you're being too excessively -- you're being

20            excessively harsh.     You're being excessively --

21            you're coming down too hard on Dr. Garg.”         None of

22            that was ever presented to me.

23      Q     That was not presented to you?

24      A     Correct.
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 1      Q     But you recall Dr. Bader telling you that Dr. Garg –

 2      A     I vaguely recall that Dr. Bader told me that Dr. Garg

 3            was disagreeing.

 4      Q     Was disagreeing with what?

 5      A     With some of my readings.

 6      Q     Did he tell you why he was disagreeing with some of

 7            your readings?

 8      A     No; he did not, to the best of my recollection.

 9      Q     Do you recall whether Dr. Bader or anyone else told

10            you that Dr. Garg was disagreeing with you because

11            some of the other attendings disagreed?

12      A     I don't recall that at all; no.

13      Q     You don't recall, but it’s possible?

14      A     I don't recall at all.

15      Q     So, you just don’t recall?

16      A     I can speculate what's possible and not possible, but

17            I don't recall.

18      Q     Do you know if there's any definitions for what an R2

19            rating is versus an R3?

20      A     I think that from time to time we've had some emails

21            regarding what the definitions are.

22      Q     Who would you receive those emails from?

23      A     Dr. Bader.

24      Q     Do you recall in this instance whether you received
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 1      A     No.

 2      Q     When did you first learn that Dr. Garg was being

 3            terminated from the program?

 4                         MS. VEHSLAGE:   Objection.

 5      A     I’m trying to recall.      I remember being told by

 6            Dr. Bader that they were going through some type of

 7            process of -- but it was towards the end of his year,

 8            so I don't recall when that was.        I'm sorry.

 9      Q     At some point, did you realize that Dr. Garg was no

10            longer in the program?

11      A     Yes.

12      Q     And do you recall when that was?

13      A     When he no longer showed up.       I do remember that

14            there was a question as to whether or not he was

15            going to be continuing as a repeat third-year.          And

16            so, I didn't know what that status was or where that

17            -- you know, where the decision -- where they were in

18            the decision process.      So, I did know that that issue

19            did exist.

20      Q     And how did you learn about that issue?

21      A     I believe from Dr. Bader, as well.

22      Q     Do you recall saying anything to Dr. Bader about

23            that?

24      A     I remember thinking and possibly saying that it was a
     Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 184 of 242

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 1            generous offer to allow him to repeat the third year,

 2            because I felt that he was below a third-year in

 3            functionality.

 4      Q     You believe you expressed that to Dr. Bader?

 5                        MS. VEHSLAGE:    Objection.

 6      A     I believe I do, although I can't recall the specific

 7            conversation.

 8      Q     But generally --

 9      A     But my general impression is yes.

10      Q     And do you recall if Dr. Bader responded to that

11            general impression?

12      A     I think that's when he was saying that he was going

13            through this process of, you know -- I think it also

14            involved the CEO at some point.       I don't know the

15            specifics behind it, only that, you know, they were

16            trying to do the right thing and in terms of making

17            sure that they –- how do I put this -- trying to do

18            the right thing by making sure that they were doing

19            the best thing they could for Dr. Garg as well as for

20            the residency.

21      Q     When your impression was that it was a generous

22            offer, did you ask them why?       Did you ask Dr. Bader

23            why?

24      A     No.
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 1            was that it was a generous offer that Saint Vincent's

 2            Hospital was allowing or offering Dr. Garg the

 3            opportunity to repeat his third year.        Is that a fair

 4            assessment of your testimony, a fair representation

 5            of your testimony?

 6      A     Yes.

 7      Q     And do you know why Dr. Garg said no to that, what

 8            you believed to be a generous offer?

 9      A     I do not.

10      Q     You had no conversations with Dr. Garg about this?

11      A     Correct.

12      Q     Did you have any conversations with Dr. Bader about

13            why Dr. Garg said no?

14      A     I don't recall specifically.       I think he was -- he

15            mentioned it to me and I think we talked about it,

16            but I don't remember what we said and I can't

17            remember any of the specifics.

18      Q     During your 14 years in the program, do you recall

19            any residents entering the program and in their fifth

20            year, or final year, I should say?

21      A     I do not recall.     I don't --

22      Q     Nobody?

23      A     -- believe so.     I don't believe so.

24      Q     Would it be fair to say that it would be difficult
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 1            for a resident to find a new program in their final

 2            year?

 3                         MS. VEHSLAGE:    Objection.

 4      A     I don't have any knowledge of that.

 5                                   (Exhibit 15 marked; Resident

 6                                    Comments - All Evaluations dated

 7                                    6/28/17)

 8      Q     I’m going to show you a document that's been marked

 9            as Deposition Exhibit 15.      And I'm going to direct

10            your attention to the Bates stamp number at the

11            bottom right-hand corner, 3422.       Let me know when

12            you're ready.

13      A     Okay.   I’m on that page.

14      Q     Do you recognize the document that's been marked as

15            Deposition Exhibit 15?       Do you know what it is?

16      A     It looks like it's a summary of comments from various

17            attendings with regards to the -- what I just looked

18            at, which was the full-year general evaluation.

19      Q     Thank you.

20                         And looking at SVH 3422, which is the page

21            that I directed your attention to --

22      A     Yes.

23      Q     –- do you see where it says “Evaluation Comments” and

24            your name, “Dr. Douglas Burd”?
Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 187 of 242

                                                                       105

                     COMMONWEALTH OF MASSACHUSETTS



                  I, Maria C. Puglisi, Professional Court Reporter

      and Notary Public in and for the Commonwealth of

      Massachusetts, do hereby certify that the foregoing

      deposition of DOUGLAS BURD was taken before me on

      Wednesday, March 9, 2022.      The said testimony is a true and

      accurate transcript of my system tapes to the best of my

      knowledge, skill and ability.

                  I am not connected by blood or marriage with any

      of the said parties, nor interested directly or indirectly

      in the matter in controversy.

                  IN WITNESS WHEREOF, I have hereunto set my hand
                           30th day of March, 2022.
      and Notary Seal this _____



                             _________________________________
                             MARIA C. PUGLISI, Notary Public
                             My commission expires: 01/30/2026



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      DOES NOT APPLY TO ANY REPRODUCTION OF THE SAME BY ANY MEANS
      UNLESS UNDER THE DIRECT CONTROL AND/OR DIRECTION OF THE
      CERTIFYING REPORTER.
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   PLAINTIFF EXHIBIT 5
            Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 189 of 242
    Garg vs OU Board of Regents
    Asha Garg, M.D. 06/07/2019                                                       ·

· · · · ·IN THE DISTRICT COURT OF CLEVELAND COUNTY

· · · · · · · · · · ·STATE OF OKLAHOMA

· · ASHA GARG,· · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · )
· · · · · · · · · · · Plaintiff,· · · · )
· · · · · · · · · · · · · · · · · · · · )· Case Number
· · vs.· · · · · · · · · · · · · · · · ·)· CJ-2018-628
· · · · · · · · · · · · · · · · · · · · )
· · STATE OF OKLAHOMA, ex rel.· · · · · )
· · BOARD OF REGENTS of the· · · · · · ·)
· · UNIVERSITY OF OKLAHOMA,· · · · · · ·)
· · · · · · · · · · · · · · · · · · · · )
· · · · · · · · · · · Defendant.· · · · )

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· · · · · · · · · · · · ·*· *· * *
·
· · · · · · · ·DEPOSITION OF ASHA GARG, M.D.
·
· · · · · · · Taken on behalf of the Defendant
·
· · · · · · · · on the 7th day of June, 2019
·
· · · · · · · · · · in Norman, Oklahoma.
·
· · · · · · · · · · · · ·*· *· * *
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· · · · · ·REPORTED BY:· BRENDA PLUMBTREE, C.S.R.


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Garg vs OU Board of Regents
Asha Garg, M.D. 06/07/2019                                                                           Pages 106..109
                                                 Page 106                                                    Page 108
·1· · · A.· ·Worst.· R1 is like just few typographical      ·1· serious, I'm not able to read simple things, then I
·2· mistake.· R2 is like slightly -- you missed little      ·2· should not be going to boards.· And this is the
·3· bit.· You should be little bit more better.· R3, is     ·3· program director is responsibility to present who's
·4· yeah, that is -- that can affect something.· R4 is      ·4· weak or something.· Instead of directing their focus
·5· something that is critical.· You cannot miss it.        ·5· to board exam or interventional radiology fellowship
·6· · · Q.· ·And that's what Dr. Burd was accusing you      ·6· interviews.· They have directed -- they should have
·7· of?                                                     ·7· directed my energy to basic deficiency.· So that's
·8· · · A.· ·Yeah, he basically -- he give me R4 for --     ·8· why on these basis I'm saying this, it was all
·9· for the studies he was not sure of.                     ·9· planned.
10· · · Q.· ·Do you think anybody else at Saint             10· · · Q.· ·So, you -- are you saying you weren't the
11· Vincent's discriminated against you?                    11· one that was looking in to fellowships?
12· · · A.· ·Yes, Badar, Dr. Burd and Mukai.                12· · · A.· ·Correct, yeah.· I was doing intervention
13· · · Q.· ·Anyone else?                                   13· radiology -- so, I -- when I got confirmation from
14· · · A.· ·Anyone else, no.· These are the main           14· Massachusetts program that I will be graduating on
15· person, because they were living together.· But         15· cycle, that is on June 30th, 2018.· Then I further
16· they -- they basically -- I don't know whether this     16· ask one of the chief resident, oh, it's better.
17· is a discrimination or it's a preplanned setup that     17· Since I am graduating on time, let me apply for
18· was basically coming from somewhere else or             18· fellowship, also.
19· something.· Because I Midkiff, I met Dr. Midkiff,       19· · · Because previously I joined and I was supposed
20· Brian Midkiff, and he told me that this was all set     20· to finish on September.· But when they approved it,
21· up like this.· Your -- I ask for resignation, can I     21· then I said that I would like to apply for
22· resign.· He said, no, this was all set up like this.    22· intervention radiology fellowship.· And ask for
23· · · So I don't understand what he mean by all set up    23· their recommendation letters.· And the
24· and why he was saying.· It is unusual for -- to say     24· recommendation letters they gave me on -- based
25· a radiology resident or any student, this was all       25· on -- those were confidential letters, I didn't ask
                                                 Page 107                                                    Page 109
·1· set up like.· This very unusual.                        ·1· them to give me favorable recommendation letters or
·2· · · Q.· ·But you don't know what he meant?              ·2· anything.· They sent those confidential to the
·3· · · A.· ·It means basically it was setup.· It was       ·3· programs.· And based on my credentials, my scores
·4· all planned.                                            ·4· and everything, I got good amount of interview,
·5· · · Q.· ·What was planned?                              ·5· though I applied very late in the -- than usual, the
·6· · · A.· ·My failure, it was planned.                    ·6· applicant apply.· Almost two months later.
·7· · · Q.· ·It was planned by who?                         ·7· · · But I got seven or eight interviews.· And I was
·8· · · A.· ·It was planned by Massachusetts program. I     ·8· doing interviews.· I was doing board -- attending
·9· don't know.· Based upon what feedback they have         ·9· the internal board reviews.· I was going to physics
10· received.· I don't know.                                10· board review course.· I was going to Duke board
11· · · Q.· ·Feedback they received from whom?              11· review course, because I was supposed to take the
12· · · A.· ·I don't know whom.                             12· boards.
13· · · Q.· ·So they just brought you in to fail?           13· · · So if I'm deficiency -- if, for example, if a
14· · · A.· ·It seems like, yeah.· And they have not put    14· patient is on ventilator, he cannot breathe by his
15· any efforts, because they directed me my focus for      15· own.· And I will ask them, oh, run, go to the
16· board preparation.· I was doing board preparations.     16· 100-meter marathon.· Can I do that?
17· They admitted my attendance in board -- all the         17· · · Q.· ·So, before we move on, three doctors
18· board reviews.· Though my examination was not           18· discriminated against you at Saint Vincent?
19· supposed -- I was not eligible for June exam,           19· · · A.· ·Yeah, because of their behaviors.· Yes.
20· because I joined late.                                  20· · · Q.· ·And you were brought in by Saint Vincent,
21· · · I was supposed to take that examination in          21· and you believe set up to fail by Saint Vincent?
22· number 2017.· But they directed my all focus, energy    22· · · A.· ·Yeah, that was -- basically that was
23· and everything.· And they -- they didn't told me        23· something planned.· That's why they were kind of
24· that you're so critical.· Then why am I going to the    24· like mean in their behavior or something.
25· board exams?· No, I first focus -- if I am so           25· · · Q.· ·They brought you in, paid you and hoped you


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Garg vs OU Board of Regents
Asha Garg, M.D. 06/07/2019                                                                           Pages 194..197
                                                 Page 194                                                    Page 196
·1· a PGY-5 position, not being able to continue for        ·1· · · · · · · · · · · CERTIFICATE
·2· PGY-5 at Saint Vincent's?                               ·2· STATE OF OKLAHOMA· ·)
·3· · · A.· ·Yes.· In their letter they said that he has    · · · · · · · · · · · · )· ·SS:
·4· to resign from his current PGY-5 position.· Then he     ·3· OKLAHOMA COUNTY· · ·)
                                                            ·4· · · I, Brenda Plumbtree, Certified Shorthand
·5· is repeat his PGY-4 position.· And then we cannot --
                                                            ·5· Reporter within and for the State of Oklahoma, do
·6· we are not going to give PGY-5 position.                ·6· hereby certify that the above-named ASHA GARG, M.D.
·7· · · Even they -- then they said that we can do this.    ·7· was by me first duly sworn to testify to the truth,
·8· They said that we are not going to help to find         ·8· the whole truth, and nothing but the truth in the
·9· another place to repeat the PGY -- to do the -- to      ·9· case aforesaid; that the above and foregoing
10· do the PGY-5.                                           10· deposition was by me taken in shorthand and
11· · · And the rarity of those PGY-5 position is well      11· thereafter transcribed; that the same is true and
12· known to SVH or any program.· It's really rare,         12· correct; and that it was taken on the 7th day of
                                                            13· June, 2019 at the time of 10:00 A.M. in the City of
13· because all of the radiology residents are set in
                                                            14· Norman, County of Cleveland, State of Oklahoma under
14· PGY-5, nobody -- nobody leaves the program.
                                                            15· the stipulations hereinbefore set out, and that I am
15· · · · · ·MR. TABOR:· I have no further questions.       16· not attorney for or relative of any of said parties
16· · · · · ·MR. MARTIN:· No further questions.             17· or otherwise interested in the event of said action.
17· · · · · ·MR. TABOR:· And Dr. Garg will read and         18· · · IN WITNESS WHEREOF, I have hereunto set my hand
18· sign.                                                   19· and official seal this 17th day of June, 2019.
19· · · · (Deposition concluded/witness excused)            20
20                                                          21
21                                                          22
                                                            23· · · · · · · · ·_____________________________________
22
                                                            · · · · · · · · · ·BRENDA PLUMBTREE, CSR
23                                                          24· · · · · · · · ·Oklahoma Certified Shorthand Reporter
24                                                          · · · · · · · · · ·Certificate No. 01434
25                                                          25· · · · · · · · ·Expires: December 31, 2019
                                                 Page 195                                                    Page 197
·1· · · · · · · · · · · · ·JURAT                            ·1· · · · · · · · · · · ERRATA SHEET
·2· · · I, ASHA GARG, M.D., do hereby state under oath      ·2· · · · · · WITNESS: ASHA GARG, M.D.
·3· that I have read the above and foregoing transcript     ·3· · · · · · DATE:· June 7th, 2019
·4· in its entirety, and that the same is a full, true,     ·4· · · · · · REPORTER:· Brenda Plumbtree, CSR
·5· and correct transcription of my testimony so given
                                                            ·5· NO CORRECTIONS ARE NECESSARY ______
·6· at said time and place, except for the corrections
·7· noted.                                                  ·6· PAGE· LINE· CORRECTION
·8                                                          ·7· ____· ____· ________________________________________
·9· · · · · · · · · · · · ·_____________________________    ·8· ____· ____· ________________________________________
· · · · · · · · · · · · · ·ASHA GARG, M.D.                  ·9· ____· ____· ________________________________________
10                                                          10· ____· ____· ________________________________________
11· · · SUBSCRIBED AND SWORN TO BEFORE ME, the              11· ____· ____· ________________________________________
12· undersigned Notary Public in and for the State of       12· ____· ____· ________________________________________
13· ________________ on this, the ________ day of
                                                            13· ____· ____· ________________________________________
14· ___________________, 2019.
                                                            14· ____· ____· ________________________________________
15
· · · · · · · · · · · · · ·_____________________________    15· ____· ____· ________________________________________
16· · · · · · · · · · · · ·Notary Public                    16· ____· ____· ________________________________________
17                                                          17· ____· ____· ________________________________________
· · My Commission Expires: _____________________________    18· ____· ____· ________________________________________
18                                                          19· ____· ____· ________________________________________
19· · · · · REPORTED BY:· BRENDA PLUMBTREE, CSR             20· ____· ____· ________________________________________
20                                                          21· ____· ____· ________________________________________
21
                                                            22· ____· ____· ________________________________________
22
23                                                          23· ____· ____· ________________________________________
24                                                          24· ____· ____· ________________________________________
25                                                          25· ____· ____· ________________________________________


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   PLAINTIFF EXHIBIT 6
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     Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
     VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022


·1· · · · · · UNITED STATES DISTRICT COURT
·2· · · · ·FOR THE DISTRICT OF MASSACHUSETTS
·3· ·Civil Action No. 4:20-cv-40060-DHH
·4· ·- - - - - - - - - - - - - - - - - - - -x
·5· ·DR. ASHU GARG,
·6· · · · · · · · · Plaintiff,
·7· · · ·v.
·8· ·VHS ACQUISITION SUBSIDIARY NO. 7
·9· ·d/b/a SAINT VINCENT HOSPITAL, DAVID
10· ·BADER, JOHN MUKAI, and DOUGLAS BURD,
11· · · · · · · · · Defendants.
12· ·- - - - - - - - - - - - - - - - - - - -x
13
14· · · DEPOSITION OF JASON ITRI, M.D., Ph.D.
15· · · · · · Conducted Remotely Via Zoom
16· · · · · · · · ·1582 Kendra Street
17· · · · · · ·Charlottesville, Virginia
18· · · · · · · · · August 29, 2022
19· · · · · · · 10:05 a.m. to 5:08 p.m.
20
21· ·Daria L. Romano, RPR, CRR, and Notary Public
22
23
24

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     Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
     VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                               2
·1· ·APPEARANCES VIA ZOOM:
·2
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·5· ·Matthew Perry, Esq.)
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·7· ·Andover, Massachusetts 01810
·8· ·(978) 474-0100
·9· ·kgoyal@rosengoyal.com
10· ·mperry@rosengoyal.com
11· ·Counsel for the Plaintiff.
12
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21
                                                                                                        Case 4:20-cv-40060-NMG Document 101-1 Filed 12/07/22 Page 194 of 242




22· ·ALSO PRESENT VIA ZOOM:
23· ·David Bader
24· ·Ashu Garg

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     VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· · · · · · · · · · ·I N D E X
·2· ·Deposition of:· · · · · · · · · · · · · ·Page
·3· · JASON ITRI, M.D., Ph.D.
·4· · ·Ms. Saunders· · · · · · · · · · · · · · · 6
·5· · ·Ms. Goyal· · · · · · · · · · · · · · · ·254
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·9· ·No.· · · · · · · · · · · · · · · · · · · Page
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12· · · · · · · · ·Consulting Group, LLC
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20· · · · · · · · ·of Individual Milestones
21· · · · · · · · ·Data by External
22· · · · · · · · ·Entities for High Stakes
23· · · · · · · · ·Decisions - A Function
24· · · · · · · · ·for Which they Are not

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   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· · · · · · · · · Designed or Intended
·2· ·Exhibit 6· · · Diagnostic Radiology· · · · · ·102
·3· · · · · · · · · Milestones
·4· ·Exhibit 7· · · The Milestones Guidebook,· · · 110
·5· · · · · · · · · Version 2020
·6· ·Exhibit 8· · · Radiologic Resident· · · · · · 125
·7· · · · · · · · · Education; ACGME
·8· · · · · · · · · Diagnostic Radiology
·9· · · · · · · · · Milestones 2.0:· The Time
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11· · · · · · · · · S18-S26
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13· · · · · · · · · 3323
14· ·Exhibit 10· · ·Saint Vincent Hospital· · · · ·173
15· · · · · · · · · Resident Educational
16· · · · · · · · · Portfolio Review, July 1,
17· · · · · · · · · 2016 to January 31, 2017
18· ·Exhibit 11· · ·Saint Vincent Hospital· · · · ·173
19· · · · · · · · · Resident Educational
20· · · · · · · · · Portfolio Review
21· · · · · · · · · February 1, 2017 to
22· · · · · · · · · June 30, 2017
23· ·Exhibit 12· · ·Letter, August 30, 2017· · · · 216
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25· · · · · · · · · Tara M. Catanzano, MD,

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     VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                               5
·1· · · · · · · · · July 5, 2022
·2· ·Exhibit 14· · ·Article How to Choose an· · · ·257
·3· · · · · · · · · Effective Expert Witness
·4· · · · · · · · · in Lawyer Monthly
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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                            93
·1· ·of SVH 1172.· It's under "Practice-based
·2· ·Learning and Improvement."
·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·They have to consider, under
·5· ·"Systems-based Practice," a learning
·6· ·activity, so the resident is expected to have
·7· ·a learning activity, and the ACGME programs
·8· ·are required to evaluate that as part of
·9· ·their assessment, correct?
10· · · ·A.· ·Yes.
11· · · ·Q.· ·And they're supposed to have some
12· ·scholarly activity, correct?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·And in terms of assessing the
15· ·residents for advancement, isn't it true that
16· ·the responsibility for determining whether or
17· ·not a resident advances through each year and
18· ·ultimately graduates rests with the program
19· ·director?
20· · · ·A.· ·Yes.
21· · · ·Q.· ·And isn't it true that the program
22· ·director's judgment in that regard supersedes
23· ·all interim assessments, including the
24· ·milestone readings?

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                            94
·1· · · ·A.· ·Well, it should include everything.
·2· ·I don't know that I would use the word
·3· ·"supersede," but it should include all the
·4· ·other evaluations, all the other material
·5· ·that they have.
·6· · · ·Q.· ·So if you look at the zip file that
·7· ·I sent you -- give me one moment to find
·8· ·this.
·9· · · · · · · (Pause)
10· ·BY MS. SAUNDERS:
11· · · ·Q.· ·If you look at Exhibit 9 of that zip
12· ·file that I sent.
13· · · · · · · THE STENOGRAPHER:· So this is
14· ·Exhibit 5?
15· · · · · · · MS. SAUNDERS:· Yes.
16· · · · · · · (Exhibit 5 marked
17· · · · · · · for identification)
18· ·BY MS. SAUNDERS:
19· · · ·Q.· ·So it's a May 2022 article from the
20· ·ACGME, and it says, "Use of Individual
21· ·Milestones Data."
22· · · · · ·Did you find that document?
23· · · ·A.· ·Yes.
24· · · · · · · MS. GOYAL:· This is the one that

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                            97
·1· ·ask, if I'm going be to be asked questions
·2· ·about this article, if I could take five
·3· ·minutes to read it.
·4· · · ·Q.· ·Sure.
·5· · · ·A.· ·And then may I include a five-minute
·6· ·bathroom break with that?
·7· · · · · ·Oh, you asked a question so, no, let
·8· ·me wait.
·9· · · · · · · (Pause)
10· · · · · · · (Recess taken 12:30 to 12:32)
11· · · · · · · (Record read)
12· · · ·A.· ·Yes.
13· · · ·Q.· ·And how about the statement "There
14· ·is currently no 'expected' or established
15· ·rate of resident or fellow progression in
16· ·Milestones achievement"?
17· · · ·A.· ·Yes, I agree with that.
18· · · ·Q.· ·So if you look further on page 4 of
19· ·the PDF, it says, at the very top of the
20· ·page, "In the Milestones framework,
21· ·everything else prior to the program
22· ·director's final judgment of readiness or
23· ·non-readiness for unsupervised practice is
24· ·interim; the responsibility for the final

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·1· ·judgment rests with the program director and
·2· ·supersedes all interim assessments, including
·3· ·Milestones ratings."
·4· · · · · ·Do you see that?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·Were you aware that that was the
·7· ·ACGME's position?
·8· · · ·A.· ·I was aware that it was ultimately
·9· ·the program director's decision on promoting
10· ·residents, not these specific words, but
11· ·overall I'm aware of the same concept.
12· · · ·Q.· ·Well, how about the statement that
13· ·the program director's judgment "supersedes
14· ·all interim assessments, including Milestone
15· ·ratings"?
16· · · ·A.· ·I think what they're saying is that
17· ·the program director ultimately decides who
18· ·progresses and who graduates, and that takes
19· ·precedent over things like milestone scores.
20· · · ·Q.· ·And the program, meaning that the
21· ·program director can graduate somebody even
22· ·if on the milestone ratings they're a 1
23· ·across the board and they're in their fifth
24· ·year of residency, correct?

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·1· · · ·A.· ·That's my problem with the word
·2· ·"supersedes" is that you're creating a
·3· ·scenario that's highly unlikely to happen.
·4· · · · · ·So the milestones define
·5· ·competencies for residents that we expect,
·6· ·and when you look at those milestones, we
·7· ·expect residents to have those when they
·8· ·graduate.
·9· · · · · ·So it's not really consistent in
10· ·practice that a program director would
11· ·graduate a resident who could only meet the
12· ·Level 1 on all the milestones.
13· · · ·Q.· ·But we just read the sentence on the
14· ·prior page, on page 3, that says, "There is
15· ·currently no 'expected' or established rate
16· ·of resident or fellow progression in
17· ·Milestones achievement"?
18· · · ·A.· ·That's correct.
19· · · ·Q.· ·But that completely conflicts with
20· ·what you just said.
21· · · ·A.· ·No, it doesn't.
22· · · ·Q.· ·You're saying that the ACGME expects
23· ·that residents graduating, if I understand
24· ·it, are going to reach a Level 5 if they're

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·1· ·communication skills, professionalism and
·2· ·systems-based practice based on the specialty
·3· ·specific Milestones."
·4· · · ·Q.· ·Okay.· But that's not referring to
·5· ·faculty evaluations, is it?· It talks about,
·6· ·right up above, under V.A.2.a, it says, "The
·7· ·faculty must evaluate resident performance in
·8· ·a timely manner," and "document this
·9· ·evaluation at completion of the assignment."
10· · · · · ·There's no -- there's no specific
11· ·statement in there about the -- about the
12· ·ACGME requiring that those evaluations be of
13· ·the resident's performance on the milestones.
14· · · ·A.· ·I disagree with your interpretation.
15· ·I think that whole section is about the
16· ·evaluations that the faculty provide.
17· · · ·Q.· ·And so your testimony is that you
18· ·believe that the ACGME requires that faculty
19· ·evaluations in a diagnostic radiology
20· ·residency program mirror the milestones?
21· · · ·A.· ·I didn't say that.· I didn't say
22· ·requires that it mirrors it.· It should
23· ·include the milestones.· It should include
24· ·competency-based assessment using the

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·1· ·the milestones.· And so my question to you
·2· ·is, you know, why didn't you look at the
·3· ·other elements of the overall comprehensive
·4· ·assessment of residents that was conducted by
·5· ·the Saint Vincent Hospital residency program?
·6· · · ·A.· ·Which elements are you referring to?
·7· · · ·Q.· ·Well, there were, like, a whole
·8· ·bunch of other elements and it's those
·9· ·elements that we've looked at now -- like,
10· ·this will be the third time, if I have to
11· ·call them back up again -- in the program
12· ·requirements.· The in-service exam, the 360s,
13· ·all the other elements, the rereads, the
14· ·whole data that they gained from their reread
15· ·process that they did where they scored
16· ·rereads, and all the other elements of --
17· ·that the ACGME requires diagnostic residency
18· ·programs include in their overall
19· ·comprehensive assessment of residents.
20· · · ·A.· ·So what's problematic for me is that
21· ·everything they seem to rely on was
22· ·subjective, when there were opportunities to
23· ·be more objective.· And I'll give you some
24· ·examples.

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·1· · · · · ·So in terms of volume, for example,
·2· ·that's a good one, it's very easy to derive
·3· ·volume reports and turnaround time reports to
·4· ·substantiate that a resident is slower than
·5· ·average or slower than expected.· It's also
·6· ·pretty important for defining what the goal
·7· ·is.
·8· · · · · ·So if you're going to say a resident
·9· ·is not reading the volume you would expect
10· ·them to read, you should be able to produce
11· ·data and say, "This is how many CTs we expect
12· ·them to read on this rotation.· This is what
13· ·we expect the turnaround time to be.· It
14· ·should be less than 60 minutes for 90 percent
15· ·of the exams."· And nowhere in any of the
16· ·documentation did I see any objective data
17· ·provided.· So that's one example.
18· · · · · ·Another problematic area is in the
19· ·rereads.· I don't know anything about how
20· ·rereads are scored, and there's no
21· ·comparative data that I can see.· And when
22· ·you have a process like that and you're
23· ·trying to map it out to quality, I -- I need
24· ·to know what defines a reread.

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·1· · · · · ·Is it that they're changing one word
·2· ·in the report?· Is it that they're making
·3· ·incidental findings in the report that don't
·4· ·impact patient care?· Or is 50 percent of the
·5· ·report text getting changed because it's not
·6· ·grammatically correct and there's
·7· ·typographical errors?
·8· · · · · ·So it's hard to interpret what a
·9· ·50 percent reread means if I don't know what
10· ·those changes are.
11· · · · · ·When it comes to diagnostic errors,
12· ·again, you know, we have no normalized data.
13· ·We have no objective data.· All we have is
14· ·anecdotal reports.· And, frankly, I didn't
15· ·see a single comment on an error that
16· ·impacted patient care.
17· · · · · ·So I think there's opportunities for
18· ·the Saint Vincent program to provide
19· ·objective data, and I haven't seen any of
20· ·that objective data.
21· · · ·Q.· ·You didn't see it before you
22· ·prepared your report?
23· · · ·A.· ·I have not seen it based on anything
24· ·I've seen so far.

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
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·1· ·testified to this and so did Dr. Bader, you
·2· ·said you reviewed these depositions -- to do
·3· ·the semiannual review of his performance.· So
·4· ·this was the educational portfolio review
·5· ·meeting, and this is the form that was used.
·6· · · · · ·So my question to you is, like, why
·7· ·didn't you look at all of these different
·8· ·metrics that are on this form, many of which,
·9· ·maybe not all, but many of which were
10· ·mandated by the ACGME?· Why didn't you do
11· ·that when you prepared your report?
12· · · ·A.· ·I reviewed these documents, but when
13· ·you look at the reasons why Dr. Garg was
14· ·terminated from the program, I think those
15· ·reasons primarily relied on the faculty
16· ·evaluations and the semiannual milestone
17· ·reviews, so I believe I reviewed the material
18· ·that was important for that decision.
19· · · ·Q.· ·And you're basing that on your
20· ·interpretation of Dr. Garg's termination
21· ·letter?
22· · · ·A.· ·On all the information that was
23· ·provided, including the termination letters,
24· ·yes.

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·1· · · ·Q.· ·But what was your source of
·2· ·information for the reasons why the Saint
·3· ·Vincent Hospital terminated Dr. Garg?
·4· · · ·A.· ·The warning letters.
·5· · · ·Q.· ·And you don't remember that in those
·6· ·warning letters there's a reference to the
·7· ·portfolio review and all the different
·8· ·components that went into that?
·9· · · ·A.· ·I'm sorry.· I don't remember that
10· ·they talked -- I remember the deficiencies
11· ·they talked about in the warning letters.
12· · · ·Q.· ·And your memory is it was focused
13· ·only on faculty reviews?
14· · · ·A.· ·No, it wasn't just focused on that.
15· · · ·Q.· ·It mentioned other things, right?
16· · · ·A.· ·Yeah.· And, again, I'll go back to
17· ·the opportunity to provide objective data
18· ·wasn't there.· So he was deficient in his
19· ·case volume, but I didn't see any objective
20· ·data to make a decision about that.· He was
21· ·dinged about turnaround times.· I didn't see
22· ·any objective data, so I don't have any way
23· ·to make that decision.· So, you know, they --
24· · · ·Q.· ·So because you weren't provided with

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·1· ·the objective data, you decided that the
·2· ·Saint Vincent program didn't have it,
·3· ·correct?
·4· · · ·A.· ·Well, when I inquired about where
·5· ·that data is, Dr. Garg and my attorney said
·6· ·that they weren't provided that information.
·7· · · ·Q.· ·Okay.· What about the fact that
·8· ·Dr. Garg's percentage rank on the in-training
·9· ·exam was 16 percent?· Wasn't that objective
10· ·evidence of his poor performance?
11· · · ·A.· ·Well, I think that depends on his
12· ·preparation for the exam.· So, you know,
13· ·what's problematic about these in-service
14· ·exams is that there are some programs who
15· ·want to score well, they want the residents
16· ·to score well, they get the prior in-service
17· ·exams with the answers and they provide them
18· ·to the residents.· They can go through
19· ·several years of prior questions.· Often
20· ·there's overlap in those questions.· And
21· ·sometimes programs will provide some study
22· ·time and tell the residents, "We want you to
23· ·brush up and do well on this in-service
24· ·exam."· Some programs don't do that.

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·1· · · · · ·So, you know, I think that's a
·2· ·factor to consider on his score, you know, is
·3· ·it a program that provides them the prior
·4· ·in-service scores that they can study and do
·5· ·well, or are they just taking it right off
·6· ·the bat.
·7· · · · · ·And he's a little different in that
·8· ·he comes from a different program, and he's
·9· ·being ranked according to other R3s.· So I'm
10· ·not sure I can make a whole lot out of that
11· ·in-service exam except to say that there
12· ·were, I think, four categories where he was
13· ·at or above average.
14· · · · · ·So I think the potential for his
15· ·knowledge base to be adequate was there.· He
16· ·just wasn't where you would expect for an
17· ·R3-level resident.
18· · · ·Q.· ·How about the fact that Dr. Garg had
19· ·not filled out the procedure log that was
20· ·required by the ACGME or -- and hadn't even
21· ·started the required scholarly project?
22· ·Isn't that objective?· The ACGME requires it,
23· ·he didn't do it?
24· · · ·A.· ·Well, he didn't finish residency.

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·1· ·So, many programs don't require you to do the
·2· ·scholarly project until your fourth year.
·3· ·You know, I don't -- I don't know why the
·4· ·procedure log wasn't kept.· I think he only
·5· ·did one month of procedures.· Those are not
·6· ·reasons to terminate a resident after nine
·7· ·months.· So if you're contending that those
·8· ·facts -- those observations were used to
·9· ·terminate him, I would say that's
10· ·unreasonable.
11· · · ·Q.· ·Isn't he expected to start the
12· ·scholarly project in his fourth year of
13· ·residency?
14· · · · · · · MS. GOYAL:· Objection.
15· · · ·A.· ·I would want them to start by the
16· ·beginning of their fourth year to have enough
17· ·time to do it.
18· · · ·Q.· ·And he was in his fourth year,
19· ·right?
20· · · ·A.· ·He's R3.
21· · · ·Q.· ·He's an R3, but that's a PGY4,
22· ·correct?
23· · · ·A.· ·That's fourth-year residency.
24· · · ·Q.· ·You're a saying a PGY5 year he's

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·1· ·expected to do it?
·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Okay.· So how about on page 12 of
·4· ·your report, you're taking issue with report
·5· ·quality being used as a metric for a
·6· ·resident's improvement.· You said, "As for
·7· ·the other criteria (report quality), which
·8· ·Dr. Bader has incorrectly described as
·9· ·influencing competencies within Medical
10· ·Knowledge, Interpersonal and Communication
11· ·Skills, and Clinical Judgment, this criteria
12· ·is inappropriate to use as a metric for a
13· ·resident's improvement."
14· · · ·A.· ·I'm sorry, you have to clarify.· The
15· ·page of the document or the page at the
16· ·bottom of the document?
17· · · ·Q.· ·I'm talking about your report, page
18· ·12 of your report.· So --
19· · · ·A.· ·That's the PDF page or the bottom
20· ·page.
21· · · ·Q.· ·It's page 12 at the bottom of the
22· ·report, not the PDF.
23· · · ·A.· ·Thank you.
24· · · ·Q.· ·Sorry.· I printed your report, so

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
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·1· ·I'm using the printed version, not the
·2· ·exhibit.
·3· · · ·A.· ·I have the paragraph in front of me.
·4· ·Can you repeat your question?
·5· · · ·Q.· ·Okay.
·6· · · · · · · MS. SAUNDERS:· Can you read back
·7· ·the question, please.
·8· · · · · · · (Record read)
·9· ·BY MS. SAUNDERS:
10· · · ·Q.· ·Do you see that in your report?
11· · · ·A.· ·Yes.
12· · · ·Q.· ·So it's your testimony that report
13· ·quality is not an appropriate metric to use
14· ·for evaluating a resident?
15· · · ·A.· ·I think there's two components to
16· ·that.· I think without knowing more details
17· ·about the process, I don't know what to do
18· ·with the numbers that are provided.· I think
19· ·the second part of that is -- really, what I
20· ·was trying to get at is it shouldn't be used
21· ·as a determinant for termination.
22· · · · · ·Report quality obviously should be
23· ·part of performance improvement and
24· ·residents' improvement and that's an

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·1· ·program, that within, like, two months of his
·2· ·joining, that the faculty became concerned
·3· ·with his ability to take call and then took
·4· ·him off the call schedule?· Were you aware of
·5· ·that?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·And he's expected to take call as
·8· ·a -- in his R3 year, correct?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·And isn't it true that all radiology
11· ·residency programs around the country expect
12· ·their second- and third- and fourth-year
13· ·residents to take call?
14· · · ·A.· ·I don't know what all residency
15· ·programs expect.
16· · · ·Q.· ·Well, at ACGME-accredited ones, it's
17· ·expected by the ACGME, correct?
18· · · ·A.· ·It says it should occur.
19· · · ·Q.· ·Okay.
20· · · ·A.· ·ACGME is a little tricky.· There are
21· ·certain words that they use and that -- the
22· ·"should" means they kind of expect this in
23· ·most cases, but accepting the fact that there
24· ·may be exceptions.

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·1· · · ·A.· ·That's correct.
·2· · · ·Q.· ·So you have a section in your report
·3· ·where you say that Dr. Bader graded Dr. Garg
·4· ·more harshly than other faculty, but because
·5· ·you didn't look at how Dr. Bader evaluated
·6· ·other residents, you can't say one way or
·7· ·another whether Dr. Bader evaluates all
·8· ·residents more harshly, can you?
·9· · · ·A.· ·No, I can't.
10· · · ·Q.· ·And Dr. Bader, as the program
11· ·director, he would have more experience with
12· ·Dr. Garg than the other faculty, correct,
13· ·based on his position as the program
14· ·director?
15· · · ·A.· ·No, I don't think that's correct.
16· · · ·Q.· ·So the fact that Dr. Bader is the
17· ·one who designed the remediation program and
18· ·had meetings with Dr. Garg about the
19· ·remediation program, that wouldn't give him
20· ·any greater insight and information about
21· ·Dr. Garg's performance?
22· · · ·A.· ·Well, he's using feedback from all
23· ·the faculty who worked with him to do that,
24· ·so it's not -- it's very likely that he had

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·1· ·less one-on-one contact with Dr. Garg than
·2· ·some of these other faculty, but he
·3· ·incorporated that information in his
·4· ·decisions on the warning letters for
·5· ·remediation.
·6· · · ·Q.· ·And what are you basing your
·7· ·statement that you think he would have less
·8· ·one-on-one interaction with Dr. Garg?· Based
·9· ·on what are you saying that?
10· · · ·A.· ·Because he's is not working in every
11· ·single rotation every single month.
12· · · ·Q.· ·Well, neither are any of those
13· ·faculty members working in every single
14· ·rotation in every single month.
15· · · ·A.· ·Okay.· So -- so when you're on a
16· ·month of CT, you're working with the same
17· ·faculty members for that whole month, and
18· ·Dr. Bader may not even be on that rotation,
19· ·may not see him for the whole month.· So
20· ·there's some faculty that may see him every
21· ·day for 20 days whereas he doesn't have
22· ·direct one-on-one contact with him.
23· · · ·Q.· ·For those 20 days.· But then when
24· ·Dr. Bader is supervising him for 20 days,

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·1· ·none of the other faculty have direct contact
·2· ·with him for those 20 days either, correct?
·3· · · ·A.· ·He's not working 20 days.
·4· · · · · · · MS. GOYAL:· Objection.
·5· ·BY MS. SAUNDERS:
·6· · · ·Q.· ·Excuse me?
·7· · · ·A.· ·The program director doesn't work
·8· ·clinical five days a week.· They have
·9· ·protected time to be program director.
10· · · · · ·I -- I personally don't know what
11· ·Dr. Bader's role is.· I don't know what
12· ·rotations he's on.
13· · · · · ·But typically, in my experience,
14· ·when residents are evaluated, they have more
15· ·one-on-one time with the individual faculty
16· ·and less so with the residency program
17· ·director.
18· · · · · ·So in my example, my program
19· ·director was a neuroradiologist.· I would
20· ·work with her one day a week on the month I
21· ·was on neuro and then never again for the
22· ·rest of the year.
23· · · · · ·So it would be highly unlikely for
24· ·the program director to spend more one-on-one

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· ·time with the resident than some of the other
·2· ·faculty members.
·3· · · ·Q.· ·So in your report on page 17, if you
·4· ·want to reference that or not, but on page 17
·5· ·of your report you make the statement that
·6· ·"My understanding is that Dr. Garg was
·7· ·provided no credits for his performance in
·8· ·the program."
·9· · · · · ·What is your basis for that?
10· · · ·A.· ·I believe it's in one of the
11· ·documents I was provided.
12· · · ·Q.· ·Isn't it true that he was provided
13· ·academic credit?
14· · · · · · · MS. GOYAL:· Objection.
15· · · ·A.· ·My understanding at this point was
16· ·that he was not provided any credit for those
17· ·nine months.
18· · · ·Q.· ·By Saint Vincent Hospital?
19· · · ·A.· ·Correct.
20· · · ·Q.· ·So -- and your source of information
21· ·from that is what?
22· · · ·A.· ·I don't recall which document.
23· · · ·Q.· ·So if you look at Exhibit 11 in the
24· ·zip file?

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                          227
·1· · · ·Q.· ·He wanted to do interventional
·2· ·radiology?
·3· · · ·A.· ·Yes, that's correct.
·4· · · ·Q.· ·Okay.· So shouldn't a program
·5· ·support a resident who wants to do a
·6· ·fellowship even though at that moment they
·7· ·may be struggling?
·8· · · · · · · MS. GOYAL:· Objection.
·9· · · ·A.· ·Well, I think a program needs to be
10· ·honest about the resident.· I mean, the
11· ·program that's accepting the prospective
12· ·fellow is depending on the residency program
13· ·to be honest about their capabilities,
14· ·otherwise they're in big trouble.
15· · · · · ·Those fellowship programs are highly
16· ·dependent on those fellows.· So I think, yes,
17· ·the program does want to support the
18· ·resident, but at the same time they need to
19· ·be honest about his performance.
20· · · ·Q.· ·And do you believe that the Saint
21· ·Vincent program should have withheld letters
22· ·of reference for Dr. Garg because he was
23· ·struggling?
24· · · ·A.· ·My personal opinion is yes.

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                          228
·1· · · ·Q.· ·Wouldn't that have been the
·2· ·equivalent of not giving him any chance to
·3· ·improve at all?
·4· · · ·A.· ·No, not at all.
·5· · · ·Q.· ·Isn't it possible that Dr. Garg
·6· ·could have improved and then graduated from
·7· ·the program?
·8· · · ·A.· ·Yeah, I mean, that's one of the
·9· ·points I'm trying to make in my report is
10· ·that if he was given more time he could have
11· ·graduated.
12· · · ·Q.· ·Isn't it true that the fellowships,
13· ·they're on a schedule where you have to apply
14· ·so far ahead that if the Saint Vincent
15· ·program had not given him those letters of
16· ·reference, he wouldn't have been able to get
17· ·a fellowship, correct?
18· · · ·A.· ·He would have had to apply the
19· ·following year.
20· · · ·Q.· ·But then it's on a different cycle,
21· ·correct?
22· · · ·A.· ·No, it just means he's out of a job
23· ·for nine months, nine to 12 months, depending
24· ·on -- he just has to wait until the next

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
                                                                                          236
·1· · · ·A.· ·I think it's incredibly problematic
·2· ·that you've got a renewal letter or renewal
·3· ·contract promoting him to PGY5, and a month
·4· ·later you tell him he's terminated.
·5· · · · · ·So, yeah, I think you can't put
·6· ·yourself in that position.· If you have
·7· ·significant concerns that result in
·8· ·termination a month later, I think that
·9· ·contract renewal should have been delayed.                              I
10· ·mean, it's hard to believe that they couldn't
11· ·have executed that later.
12· · · ·Q.· ·But you have no information to base
13· ·that on, that they could have executed that
14· ·later?
15· · · ·A.· ·I don't see why they couldn't have
16· ·executed it on June 29th.
17· · · ·Q.· ·You testified you had no experience
18· ·with contract renewals for diagnostic
19· ·radiology residents?
20· · · ·A.· ·No, but other contracts I have
21· ·experience with.
22· · · ·Q.· ·Wouldn't not giving Dr. Garg a
23· ·renewal letter have been the equivalent of
24· ·not giving him any chance to improve at all?

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· · · ·A.· ·No, it's just saying, "We need to
·2· ·evaluate you further before we commit to
·3· ·another year."· I mean, what happened was
·4· ·they gave him the letter and then they
·5· ·terminated him, so.
·6· · · ·Q.· ·Take a look at your report, and I
·7· ·just want to have you look at Dr. Bader's
·8· ·reference letter, if I can find it here.
·9· · · ·A.· ·It looks like it's Exhibit 9 in my
10· ·report.
11· · · ·Q.· ·Yes, Exhibit 9.· That's it.
12· · · · · ·Have you ever seen a letter from a
13· ·program director like that before?
14· · · · · · · MS. GOYAL:· Objection.
15· · · ·A.· ·Yes.
16· · · ·Q.· ·And you view this as a
17· ·recommendation for the resident?
18· · · ·A.· ·Yes.
19· · · ·Q.· ·He doesn't say anywhere in here that
20· ·he recommends Dr. Garg, does he?
21· · · ·A.· ·No.
22· · · ·Q.· ·Don't they usually say that?
23· · · ·A.· ·Well, I think it's implied.· I mean,
24· ·whether it's a reference or recommendation,

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· ·you're basically supporting his matriculation
·2· ·into fellowship.
·3· · · ·Q.· ·Regardless of the content of the
·4· ·letter?· So you're basing that testimony on
·5· ·just the fact that a letter was written; is
·6· ·that right?
·7· · · ·A.· ·Well, it's part of the process to
·8· ·applying for a fellowship.· You want to have
·9· ·letters from certain people.· One is a
10· ·director, one is someone in the specialty
11· ·you're applying to, that support your
12· ·application for the fellowship.
13· · · ·Q.· ·But your testimony is that you think
14· ·that the fact that the program director wrote
15· ·a letter, even though they don't say that
16· ·they recommend the resident, that you view
17· ·that as a recommendation simply because they
18· ·did write a letter?
19· · · · · · · MS. GOYAL:· Objection.
20· · · ·A.· ·And because it's part of the process
21· ·of him applying for a fellowship.
22· · · ·Q.· ·But even though the letter itself
23· ·doesn't -- doesn't -- doesn't say, "I
24· ·recommend him"?

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   Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
   VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· · · ·A.· ·What I would ask is what is the
·2· ·purpose of the letter if it's not to
·3· ·recommend him?
·4· · · ·Q.· ·Well, it's basically documenting
·5· ·that he's participating in the program.· It's
·6· ·documenting his participation in the program,
·7· ·right?
·8· · · ·A.· ·As a fellowship program director, I
·9· ·don't -- that's not what I want for letters.
10· ·I want letters of recommendation.· So I don't
11· ·agree.
12· · · ·Q.· ·And this you think is a letter of
13· ·recommendation?
14· · · · · · · MS. GOYAL:· Objection.
15· · · ·A.· ·It only talks about the positives,
16· ·so it sure reads like a letter of
17· ·recommendation.
18· · · · · · · (Pause)
19· ·BY MS. SAUNDERS:
20· · · ·Q.· ·So in your report, you have this
21· ·discussion of Dr. Garg's e-mail to Dr. Bader
22· ·where he expresses concerns about Dr. Burd.
23· · · ·A.· ·Are you talking about page 14 or --
24· · · ·Q.· ·I'm trying to find it.· Yeah, it

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     Dr. Ashu Garg vs                                                         Jason Itri, M.D., Ph.D.
     VHS Acquisition Subsidiary No. 7, et al.                                       August 29, 2022
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·1· ·COMMONWEALTH OF MASSACHUSETTS)
·2· ·SUFFOLK, SS.· · · · · · · · ·)
·3
·4· · · ·I, Daria L. Romano, RPR, CRR and Notary
·5· ·Public in and for the Commonwealth of
·6· ·Massachusetts, do hereby certify that there
·7· ·came before me remotely on the 29th day of
·8· ·August, 2022, at 10:05 a.m., the person
·9· ·hereinbefore named, who was duly sworn by me,
10· ·and that such deposition is a true record of
11· ·the testimony given by the witness.
12· · · ·I further certify that I am neither
13· ·related to nor employed by any of the parties
14· ·or counsel to this action, nor am I
15· ·financially interested in the outcome of this
16· ·action.
17· · · ·In witness whereof, I have hereunto set
18· ·my hand and seal this 2nd day of September,
19· ·2022.
20
21· · · · · · · · · · · ·______________________
22· · · · · · · · · · · ·Notary Public
23· · · · · · · · · · · ·My Commission Expires
24· · · · · · · · · · · ·February 5, 2027

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   PLAINTIFF EXHIBIT 7
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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

                                                C.A. No.4:20-cv-40060-DHH


                               DR. ASHU GARG,
                                            Plaintiff
                                     v.

                VHS ACQUISITION SUBSIDIARY NO. 7 d/b/a
                  SAINT VINCENT HOSPITAL, DAVID BADER
                     JOHN MUKAI, and DOUGLAS BURD,
                                          Defendants



                     DEPOSITION OF DR. TARA CATANZANO,

                        APPEARING REMOTELY FROM

                         SUFFIELD, CONNECTICUT

                            September 23, 2022




    Reported by:

    Karen Cassola Norman, CER
    *** Appearing Remotely from Essex County, Massachusetts




    _________________________________________________________


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                                                                                                                    Page 2 of   172
                                                                       REMOTE APPEARANCES:
                                                                            Kavita Goyal, Esq.
                                                                            Matthew Perry, Esq.
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                                                                            ROSEN LAW OFFICE
                                                                            204 Andover Street, Suite 204
                                                                            Andover, Massachusetts 01810
                                                                                       Counsel on behalf of the Plaintiff.
                                                                            Dianne M. Saunders, Esq.
                                                                            OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                            One Boston Place, Suite 3500
                                                                            Boston, Massachusetts 02108
                                                                                 Counsel on behalf of the Defendants.
                                                                       Also Present:
                                                                            Dr. Ashu Garg
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                                I-N–D-E-X

    WITNESS                       DIRECT    CROSS   REDIRECT   RECROSS
    Dr. Tara Catanzano
    (By Ms. Goyal)                   4        **       164
    (By Ms. Saunders)               **       154       ***

                             E-X-H-I-B-I-T-S

    NUMBER                 DESCRIPTION                             PAGE

    Exhibit Premarked
     1   Curriculum Vitae of Dr. Tara Marie Catanzano -    17
         44 pages
     2   Report of Jason N. Itri, MD, PhD of Itri          28
         Consulting Group, LLC - 171 pages
     3   Expert Witness Report Prepared by Tara Catanzano 32
         - 15 pages
     4   Exhibit A to Defendant’s Supplement - three pages 34
     5   Summative Performance Evaluation - one page       37
     6   Summary Performance Evaluations (April 2021) -    39
         eight pages
     7   Summary Performance Evaluation July 2018 - with   42
         missing page 2 - 14 pages
     8   Resident Milestone Evaluation: Year-End 2016-2017 50
         - four pages
     9   Bates SVH 3394-3398 - five pages                  78
    10   Bates SVH 000733-000735 - three pages             102
    11   Termination Letter dated June 21, 2017 - four     102
         pages
    12   Article entitled, Improving the Accuracy of       112
         Mammography: Volume and Outcome Relationships -
         seven pages
    13   Bates SVH 001468 - one page                       136
    14   Bates SVH790-791 - two pages                      153




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 1       Q     Are you, based on your review of the documents you

 2             reviewed in preparing this report, are you aware of

 3             any laterality errors discovered for Dr. Garg?

 4       A     No.

 5       Q     Were there mention of any laterality errors in the

 6             termination letter?

 7       A     No.

 8       Q     What about the written warnings that were issued to

 9             Dr. Garg?

10       A     No.

11       Q     Based on your review of the documents throughout Dr.

12             Garg’s residency program at Saint Vincent's Hospital,

13             would you say it was safe to put him on night float?

14                     MS. SAUNDERS: Objection.

15       A     At which time point?

16       Q     At anytime point, even towards the end --         well,

17             okay.    In your report, you talk about the reread

18             rates, which we'll get to in a moment, during his

19             last night float in early June of 2017, which is the

20             near of his -- the end of the third year, or the end

21             of the time that he was -- right before he was

22             terminated.    Would you agree that it was safe to put

23             him on night float at that time given his performance

24             deficiencies that Saint Vincent Hospital alleges?
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 1                     MS. SAUNDERS: Objection.

 2

 3       A     I think I would have personal concern about doing so.

 4       Q     What about professional concerns?

 5       A     Yes.

 6       Q     So why do you think that Saint Vincent's Hospital

 7             continued to put Dr. Garg on night float?

 8       A     I have no knowledge of why.      You know, it may have

 9             been a staffing issue.      It may have been for him to

10             try to improve his performance or to demonstrate

11             improvement in his performance.

12       Q     Even though it could impact patient safety --

13                     MS. SAUNDERS: Objection.

14       Q     -- according to your report?

15                     MS. SAUNDERS: Objection.

16                     You can answer.

17       A     Yes.

18       Q     So --

19       A     That's a programmatic decision.

20       Q     I’m sorry.

21       A     That’s a programmatic decision.

22       Q     Okay. And you would have disagreed with the program's

23             decision to allow him to be assigned in night float

24             based on your review of the reports?
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 1                    MS. SAUNDERS: Objection.

 2                    You can answer.

 3       A     Yes.

 4       Q     So that's a little strange, right?

 5                    MS. SAUNDERS: Objection.

 6                    You can answer.

 7       A     What is little strange?

 8       Q     The fact that they assigned him night float as late

 9             as June 10th of 2017 when they allegedly have these

10             concerns about his performance?

11                    MS. SAUNDERS: Objection.

12                    You can answer.

13       A     I'm not clear why he would have been put on at that

14             point.

15       Q     What is the difference between, if there is any,

16             reread reports and report revisions?

17       A     Reread -- did you say reread reports and report

18             revisions?

19       Q     Yes. If you agree that there is a difference.

20       A     From -- I assume reread is discrepancy rate. So

21             whether there's agreement or disagreement in the

22             interpretation that was provided as a preliminary

23             report, and revisions are the final over-signed

24             report.
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 1             candidate who they otherwise didn't believe was

 2             performing at the expected level.

 3                    MS. SAUNDERS: Objection.

 4                    You can answer.

 5       A     Yes.

 6       Q     Would you have written a letter of recommendation for

 7             Dr. Garg based on your review of the documents that

 8             you looked at?

 9                    MS. SAUNDERS: Objection.

10                    You can answer.

11       A      No.

12       Q     Why not?

13       A     I don't believe based on the review that I could have

14             been forthcoming with anything positive other than

15             dates of matriculation.

16       Q     Would you be surprised to learn that Dr. Garg

17             interviewed with seven fellowship programs?

18                    MS. SAUNDERS: Objection?

19       A     Not necessarily.

20       Q     But you said in your report that you thought these

21             letters of recommendations had red flags and that

22             they would have required the fellowship to either ask

23             for details, or even choose not to interview the

24             resident, that's how poor you thought these letters
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 1       Q     Would you be surprised to learn that in fact, Dr.

 2             Garg received an offer for an interventional

 3             radiology fellowship at NYU?

 4                    MS. SAUNDERS: Objection.

 5                    You can answer?

 6       A     Yes.

 7       Q     And why does that surprise you?

 8       A     It is an institution with a very good reputation as

 9             one of the premier programs or departments.

10       Q     So if this premiere program at NYU is looking at Dr.

11             Garg’s CV, Dr. Garg’s personal statement and Dr.

12             Garg’s letters of recommendation, would it be fair to

13             say that those letters of recommendation probably

14             played a role in Dr. Garg receiving the fellowship?

15                    MS. SAUNDERS: Objection.

16                    You can answer.

17       A     Not necessarily.     There's also an interview process

18             as part of this.

19       Q     Would you be surprised to learn that Dr. Garg

20             interviewed with UMass Medical?

21                    MS. SAUNDERS: Objection.

22                    You can answer.

23       A     No.

24       Q     Why not?
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 1       A     Generally most programs in the region will interview

 2             local trainees.

 3       Q     So even though your report says that these letters of

 4             recommendation provided sparse information and they

 5             contain glaring flags, you're not surprised that

 6             UMass Medical interview Dr. Garg for a radiology

 7             fellowship program?

 8                    MS. SAUNDERS: Objection.

 9       A     No.

10       Q     How's that?

11       A     He was a resident at a local program. And as I

12             mentioned, programs in the regions tend to interview

13             local trainees.

14       Q     Even if they provide sparse information on a letter

15             of recommendation?

16                    MS. SAUNDERS: Objection.

17                    You can answer.

18       A     Yes.

19       Q     Would you have allowed Dr. Garg to complete his

20             residency training in an expedited fashion if he

21             wasn't performing at the level of his -- if he wasn't

22             performing at his expected level?

23                    MS. SAUNDERS: Objection.

24                    You can answer.
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 1       A     No.

 2       Q     Why not?

 3       A     Because it is required that all rotations be

 4             completed successfully in order to graduate.

 5       Q     Okay, so it wouldn't make sense that if a resident is

 6             not performing at their expected level, that you

 7             would then expedite their training, right?

 8                    MS. SAUNDERS: Objection.

 9                    You can answer.

10       A     Correct.

11       Q     I’m going to ask you to pull up in the Bates stamp

12             document’s folder, it’s Bates SVH 1468.

13       A     Yes.

14       Q     Do you recognize this document?

15       A     Yes.

16       Q     What is it?

17       A     It is a letter from the program director to the ABR

18             outlining a desire of the resident to complete their

19             training on time as opposed to in a delayed fashion

20             or off-cycle.

21       Q     And this program director is Dr. Bader?

22       A     Yes.

23       Q     And the resident is Dr. Garg?

24       A     Correct.
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 1             attempted to give Dr. Garg every opportunity to

 2             improve his performance with the hopes that he could

 3             meet expected levels during the course of his time

 4             with them. And in being supportive of him, I think

 5             that is why the letter was written, so that if he was

 6             able to remediate before any final steps, that he

 7             could graduate on time.

 8       Q     But you said you wouldn't have done that?

 9       A     No.

10       Q     And why not?

11       A     I have a different philosophy.

12       Q     And what philosophy is that?

13       A     I believe in fully supporting the residents, and

14             remediating them, giving them, you know, learning

15             plans and corrective action plans and giving them

16             every opportunity to correct, but I don't think I

17             would have gone as far as asking the ABR to give

18             additional -- to allow graduating on time. I will

19             certainly do that for a resident who is performing

20             well, and I have one in my program now.

21       Q     Because your philosophy would be if a resident is not

22             performing at their expected level that they need

23             more time, not less, is that fair to say?

24                   MS. SAUNDERS: Objection.
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 1                    You can answer.

 2       A     Yes.

 3                    MS. GOYAL: Can we mark this document, Karen, as

 4             Exhibit 13?

 5                    MS. SAUNDERS:     This document meaning that ABR

 6             letter?

 7                    MS. GOYAL: SVH 1468, correct.

 8                    MS. SAUNDERS: Okay.

 9                    (Whereupon, Exhibit Number 13, so marked: Bates

10             SVH 001468 - one page)

11       Q     Why do you think Dr. Bader agreed to expedite Dr.

12             Garg’s training?

13                    MS. SAUNDERS: Objection.

14                    You can answer.

15       A     It was Dr. Garg’s desire to be able to graduate on

16             time so that he would be on-cycle for fellowships.

17             And Dr. Bader was, in my opinion, attempting to be

18             very supportive of him, so that should he be able to

19             remediate, he would be able to do as he desired.

20       Q     Would it be fair to say that Dr. Bader was -- that

21             Dr. Bader wrote this letter because he expected that

22             Dr. Garg would be able to improve and successfully

23             complete his rotations?

24                    MS. SAUNDERS: Objection.
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 1                     MS. SAUNDERS: Objection.

 2       A     No.

 3       Q     Would it be fair for you to comment on whether or not

 4             he was discriminated against on the basis of age?

 5                     MS. SAUNDERS: Objection.

 6                     You can answer.

 7       A     I do not see evidence in my review.

 8       Q     Again, though, were you retained as an expert to

 9             determine whether or not he was discriminated on the

10             basis of his age?

11                     MS. SAUNDERS: Objection.

12                     You can answer.

13       A     No.

14       Q     This resident that you terminated, did you terminate

15             them before the completion of their residency year?

16       A     No, we did not renew their contract for the following

17             year.

18       Q     I believe you wrote in your report, that in your

19             program you tend to provide renewal letters to

20             residents by January of their program year, is that

21             right?

22       A     That is correct.

23       Q     So in the case of the resident that was terminated,

24             did you provide them a renewal of their contract in
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 1             January of that year?

 2       A     We did not.

 3       Q     Okay. Why didn't you provide them a renewal of their

 4             contract in January of that year?

 5       A     The resident was either on a corrective action plan

 6             or probation. I can't remember which exactly at that

 7             point. And we were not sure that they were going to

 8             be continuing in the program.

 9       Q     Was the corrective action plan and/or the probation

10             based on performance concerns?

11       A     Yes.

12       Q     And had that resident improved sufficiently by the

13             end of that residency year, would you have renewed

14             their contract at that time?

15       A     If they had performed -- yes, if they had

16             substantially improved, we would have likely.

17       Q     Have you had -- in your program have you had any

18             other resident who you did not provide a renewal

19             letter in January of their program year?

20       A     There have been a couple of years where it has been a

21             little bit delayed because the letters are all

22             provided to residents in every program around the

23             same time, and there had been delays in the GME

24             office, but not any one specific individual.
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 1       Q     But your position is that for Dr. Garg you still

 2             would have provided the renewal letter?

 3       A     Yes. And I've actually had prior residents under

 4             corrective action plans, who did not receive their

 5             renewal with the remainder of their class, and did

 6             subsequently received their renewal letters and

 7             continued in the program.

 8       Q     And they received their renewal letter later--

 9       A     Yes.

10       Q     -- that same program year?

11                    So you have that option?

12                    MS. SAUNDERS: Objection.

13                    You can answer.

14       A     If they are on a corrective action plan, and it is

15             agreed upon with the GME office, but only to a

16             certain time period because they need their

17             provisional licenses renewed.

18       Q     Other than what we've discussed today is there

19             anything in Dr. Itri’s report that you saw in which

20             you disagree with?

21                    MS. SAUNDERS: Objection.

22       Q     And you can pull it up if you'd like.

23       A     I responded in my letter to things I had concerns in

24             his report about.
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                         C E R T I F I C A T E


    COMMONWEALTH OF MASSACHUSETTS

    COUNTY OF ESSEX, SS


               I, KAREN CASSOLA NORMAN, a Professional Court
          Reporter and Notary Public in and for the
          Commonwealth of Massachusetts, do hereby certify that
          the foregoing Deposition of Dr. Tara Catanzano, was
          taken before me on September 23, 2022. The said
          witness was duly sworn before the commencement of her
          testimony; that the said testimony was taken audio
          graphically by myself and then transcribed under my
          direction. To the best of my knowledge, the within
          transcript is a complete, true and accurate record of
          said Deposition.

               I am not connected by blood or marriage with any
          of the said parties, nor interested directly or
          indirectly in the matter in controversy.


               IN WITNESS WHEREOF, I have hereunto set my hand
          and Notary Seal this 3rd day of October, 2022.




                                                         ____
    _______________________________
                        KAREN CASSOLA NORMAN, Notary Public


                           My Commission Expires:
                           March 17, 2028



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